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                        COMPOSITE
                         EXHIBIT A
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                                                             109
Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                               NS/NP
                                                                                                                              AC
                                                                                                                                     = Not Substantive/Not Privileged
                                                                                                                                     = Attorney Client Comm
Attorney-Client Correspondence –                                                                                              WP     = Work Product
                                                                                                                               JD    = Common interest Privilege
Without NDA/Tolling Agreement Correspondence                                                                                CONF     = Confidential
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CONTROL/BATES NO.    STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                        GENERAL SUBJECT MATTER                   DESIGNATIONS
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FIC 005764-5         PARENT                EMAIL       04/22/2020   Author                      Counsel’s analysis of and recommendations regarding      AC, JD
                                                                                                Travelers’ coverage position, including legal analysis
                                                                    Scott Schmookler (GRSM)
                                                                                                offered in counsel’s professional capacity as attorney
                                                                    Recipients                  and in confidence for the purpose of providing legal
                                                                                                assistance.
                                                                    Ken West (Chubb); Antonio
                                                                    Trotta (Beazley)

CTRL00000785.0001    ATTACHMENT            Letter      04/22/2020   Discourser                  Attachment to discussion with counsel, as detailed in    AC, JD
                                                                                                accompanying correspondence
                                                                    Scott Schmookler (GRSM)

CTRL00000785.0001.   ATTACHMENT            Letter      04/22/2020   Discourser                  Attachment to discussion with counsel, as detailed in    AC, JD
0001                                                                                            accompanying correspondence
                                                                    Scott Schmookler (GRSM)

CTRL00000785.0002    ATTACHMENT            Letter      04/20/2020   Discourser                  Attachment to discussion with counsel, as detailed in    AC, JD
                                                                                                accompanying correspondence
                                                                    Scott Schmookler (GRSM)

CTRL00000786         PARENT                EMAIL       09/25/2019   Author                      Communication from counsel re documentation              AC, JD
                                                                                                necessary to provide legal advice, in counsel’s
                                                                    Scott Schmookler (GRSM)
                                                                                                professional capacity as attorney and in confidence
                                                                    Recipients                  for the purpose of providing legal assistance.
                                                                    Ken West (Chubb); Angela
                                                                    Lee (Beazley)

CTRL00000786.0001    ATTACHMENT            LETTER      09/22/2019   Author                      Communication from counsel re documentation              AC
                                                                                                necessary to provide legal advice, in counsel’s
                                                                    Scott Schmookler (GRSM)
                                                                                                professional capacity as attorney and in confidence
                                                                                                for the purpose of providing legal assistance.

CTRL00000786.0002    ATTACHMENT            PDF         09/22/2019   Discourser                  Communication re documentation necessary to              AC
                                                                                                provide legal advice, in counsel’s professional
                                                                    Scott Schmookler (GRSM)
                                                                                                capacity as attorney and in confidence for the
                                                                                                purpose of providing legal assistance.


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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                                  NS/NP
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Attorney-Client Correspondence –                                                                                                 WP     = Work Product
                                                                                                                                  JD    = Common interest Privilege
Without NDA/Tolling Agreement Correspondence                                                                                   CONF     = Confidential
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                            GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE



CTRL00000796        PARENT                EMAIL       03/13/2020   Author                          Discussion with counsel re legal analysis of Raymond     AC, JD, WP
                                                                                                   James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                                   capacity as attorney and in confidence for the
                                                                   Recipients                      purpose of providing legal assistance.
                                                                   Ken West (Chubb); Antonio
                                                                   Trotta (Beazley); Sarah Riedl
                                                                   Clark (GRSM)

CTRL00000796.0001   ATTACHMENT            PDF         03/13/2020   Author                          Legal analysis of Raymond James’ theory of coverage,     WP
                                                                                                   in counsel’s professional capacity as attorney and in
                                                                   Scott Schmookler (GRSM)
                                                                                                   confidence for the purpose of providing legal
                                                                                                   assistance.

CTRL00000804        PARENT                EMAIL       04/06/2020   Author                          Discussion with counsel re legal analysis of Raymond     AC, JD, WP
                                                                                                   James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                                   capacity as attorney and in confidence for the
                                                                   Recipients                      purpose of providing legal assistance.
                                                                   Ken West (Chubb); Antonio
                                                                   Trotta (Beazley); Sarah Riedl
                                                                   Clark (GRSM)

CTRL00000804.0001   ATTACHMENT            PDF         04/06/2020   Author                          Discussion with counsel re legal analysis of Raymond     WP
                                                                                                   James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                                   capacity as attorney and in confidence for the
                                                                                                   purpose of providing legal assistance.

CTRL00000810        STAND ALONE           EMAIL       09/30/2019   Author                          Communication from counsel re documentation              AC, JD
                                                                                                   necessary to provide legal advice, in counsel’s
                                                                   Scott Schmookler (GRSM)
                                                                                                   professional capacity as attorney and in confidence
                                                                   Recipients                      for the purpose of providing legal assistance.
                                                                   Ken West (Chubb); Angela
                                                                   Lee (Beazley)

CTRL00000811        PARENT                EMAIL       04/20/2020   Author                          Discussion with counsel re legal analysis of Raymond     AC, JD, WP
                                                                                                   James’ theory of coverage, in counsel’s professional
                                                                        Page 2 of 15
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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                                  NS/NP
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Attorney-Client Correspondence –                                                                                                 WP     = Work Product
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Without NDA/Tolling Agreement Correspondence                                                                                   CONF     = Confidential
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                            GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Scott Schmookler (GRSM)         capacity as attorney and in confidence for the
                                                                                                   purpose of providing legal assistance.
                                                                   Recipients
                                                                   Ken West (Chubb); Antonio
                                                                   Trotta (Beazley); Sarah Riedl
                                                                   Clark (GRSM)

CTRL00000811.0001   ATTACHMENT            PDF         04/20/2020   Author                          Discussion with counsel re legal analysis of Raymond     WP
                                                                                                   James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                                   capacity as attorney and in confidence for the
                                                                                                   purpose of providing legal assistance.

CTRL00000832        STAND ALONE           EMAIL       09/26/2019   Author                          Communication from counsel re documentation              AC, JD
                                                                                                   necessary to provide legal advice, in counsel’s
                                                                   Ken West (Chubb)
                                                                                                   professional capacity as attorney and in confidence
                                                                   Recipients
                                                                                                   for the purpose of providing legal assistance.
                                                                   Scott Schmookler (GRSM);
                                                                   Angela Lee (Beazley)

CTRL00000837        STAND ALONE           EMAIL       09/30/2019   Author                          Communication from counsel re documentation              AC, JD
                                                                                                   necessary to provide legal advice, in counsel’s
                                                                   Angela Lee (Beazley)
                                                                                                   professional capacity as attorney and in confidence
                                                                   Recipients
                                                                                                   for the purpose of providing legal assistance.
                                                                   Scott Schmookler (GRSM);
                                                                   Ken West (Chubb)

CTRL00000840        STAND ALONE           EMAIL       03/10/2020   Author                          Discussion with counsel re legal analysis of Raymond     AC, JD
                                                                                                   James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                                   capacity as attorney and in confidence for the
                                                                   Recipients                      purpose of providing legal assistance.
                                                                   Ken West (Chubb); Antonio
                                                                   Trotta (Beazley)

CTRL00000868        STAND ALONE           EMAIL       02/04/2019   Author                          Discussion with counsel re communications with excess    AC, JD
                                                                                                   insurers and legal analysis of Raymond James’ theory
                                                                   Scott Schmookler (GRSM)
                                                                                                   of coverage, in counsel’s professional capacity as

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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                               NS/NP
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                         GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Recipients                   attorney and in confidence for the purpose of
                                                                                                providing legal assistance.
                                                                   Ken West (Chubb)

CTRL00000873        PARENT                EMAIL       03/18/2020   Author                       Discussion with counsel re legal analysis of Raymond     AC, WP, JD
                                                                                                James’ theory of coverage and communications with
                                                                   Scott Schmookler (GRSM)
                                                                                                excess insurers, in counsel’s professional capacity as
                                                                   Recipients                   attorney and in confidence for the purpose of
                                                                                                providing legal assistance.
                                                                   Ken West (Chubb); Sarah
                                                                   Riedl Clark (GRSM)

CTRL00000873.0001   ATTACHMENT            PDF         03/18/2020   Author                       Discussion with counsel re legal analysis of Raymond     AC, WP, JD
                                                                                                James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                                capacity as attorney and in confidence for the
                                                                                                purpose of providing legal assistance.

CTRL00000873.0002   ATTACHMENT            WORD        03/18/2020   Author                       Discussion with counsel re legal analysis of Raymond     AC, WP, JD
                                                                                                James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                                capacity as attorney and in confidence for the
                                                                                                purpose of providing legal assistance.

CTRL00000875        PARENT                EMAIL       09/22/2019   Author                       Discussion with counsel re legal analysis of Raymond     AC, JD
                                                                                                James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                                capacity as attorney and in confidence for the
                                                                   Recipients                   purpose of providing legal assistance.
                                                                   Ken West (Chubb); Angela
                                                                   Lee (Beazley); Sarah Riedl
                                                                   Clark (GRSM)

CTRL00000875.0001   ATTACHMENT            WORD        09/22/2019   Author                       Discussion with counsel re legal analysis of Raymond     AC, JD
                                                                                                James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                                capacity as attorney and in confidence for the
                                                                                                purpose of providing legal assistance.
                                                                                                Discussion with counsel re legal analysis of Raymond
CTRL00000875.0002   ATTACHMENT            WORD        09/22/2019   Discourser                                                                            AC, JD
                                                                                                James’ theory of coverage, in counsel’s professional

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REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                              NS/NP
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Attorney-Client Correspondence –                                                                                             WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                        GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Scott Schmookler (GRSM)     capacity as attorney and in confidence for the
                                                                                               purpose of providing legal assistance.
CTRL00000876        STAND ALONE           EMAIL       03/13/2020   Author                      Discussion with counsel re legal analysis of Raymond     AC, WP JD
                                                                                               James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                               capacity as attorney and in confidence for the
                                                                   Recipients                  purpose of providing legal assistance.
                                                                   Ken West (Chubb); Antonio
                                                                   Trotta (Beazley)

CTRL00000882        STAND ALONE           EMAIL       01/03/2019   Author                      Communication seeking legal advice re Raymond            AC, JD
                                                                                               James' theory of coverage and communications with
                                                                   Ken West (Chubb)
                                                                                               excess insurers, in counsel’s professional capacity as
                                                                   Recipients                  attorney and in confidence for the purpose of seeking
                                                                                               legal assistance.
                                                                   Scott Schmookler (GRSM)

CTRL00000887        STAND ALONE           Email       12/12/2018   Author                      Communication seeking legal advice re Raymond            AC, JD
                                                                                               James’ theory of coverage and communications with
                                                                   Ken West (Chubb)
                                                                                               excess insurers, in counsel’s professional capacity as
                                                                   Recipients                  attorney and in confidence for the purpose of seeking
                                                                                               legal assistance.
                                                                   Scott Schmookler (GRSM)




CTRL00000894        STAND ALONE           Email       06/29/2018   Author                      Communication seeking legal advice re Raymond            AC, JD
                                                                                               James’ theory of coverage and communications with
                                                                   Ken West (Chubb)
                                                                                               excess insurers, in counsel’s professional capacity as
                                                                   Recipients                  attorney and in confidence for the purpose of seeking
                                                                                               legal assistance.
                                                                   Scott Schmookler (GRSM)




FIC 005830-4        STAND ALONE           Email       05/22/2018   Author                      Communication seeking legal advice re Raymond            AC, JD
                                                                                               James’ theory of coverage and communications with

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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                            NS/NP
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Attorney-Client Correspondence –                                                                                           WP     = Work Product
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Without NDA/Tolling Agreement Correspondence                                                                             CONF     = Confidential
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                      GENERAL SUBJECT MATTER                   DESIGNATIONS
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                                                                   Ken West (Chubb)          excess insurers, in counsel’s professional capacity as
                                                                                             attorney and in confidence for the purpose of seeking
                                                                   Recipients
                                                                                             legal assistance.
                                                                   Scott Schmookler (GRSM)



CTRL00000820        PARENT                EMAIL       11/29/2019   Author                    Discussion with counsel re legal analysis of Raymond     AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                             capacity as attorney and in confidence for the
                                                                   Recipients                purpose of providing legal assistance.
                                                                   Ken West (Chubb)

CTRL00000820.0001   ATTACHMENT            PDF         08/02/2019   Discourser                Discussion with counsel re legal analysis of Raymond     AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                             capacity as attorney and in confidence for the
                                                                                             purpose of providing legal assistance.
                                                                                             Communication seeking legal advice re Raymond
CTRL00000823        PARENT                EMAIL       11/19/2019   Author                                                                             AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)          capacity as attorney and in confidence for the
                                                                                             purpose of seeking legal assistance.
                                                                   Recipients
                                                                   Scott Schmookler (GRSM)
                                                                                             Communication seeking legal advice re Raymond
CTRL00000823.0001   ATTACHMENT            PDF         11/19/2019   Discourser                                                                         AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)          capacity as attorney and in confidence for the
                                                                                             purpose of seeking legal assistance.
CTRL00000824.0002   ATTACHMENT            .htm        04/22/2020   Discourser                Attachment to discussion with counsel, as detailed in    AC
                                                                                             accompanying correspondence
                                                                   Ken West (Chubb)

CTRL00000825        PARENT                EMAIL       11/08/2018   Author                    Communication from counsel re documentation              AC
                                                                                             necessary to provide legal advice, in counsel’s
                                                                   Cynthia Pena (Chubb)
                                                                   Recipients

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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                              NS/NP
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Attorney-Client Correspondence –                                                                                             WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                        GENERAL SUBJECT MATTER                   DESIGNATIONS
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                                                                   Ken West (Chubb);           professional capacity as attorney and in confidence
                                                                   Christopher Arehart         for the purpose of providing legal assistance.
                                                                   (Chubb); Scott Schmookler
                                                                   (GRSM)

CTRL00000825.0001   ATTACHMENT            EXCEL       11/08/2018   Author                      Communication from counsel re documentation              AC
                                                                                               necessary to provide legal advice, in counsel’s
                                                                   Cynthia Pena (Chubb)
                                                                                               professional capacity as attorney and in confidence
                                                                                               for the purpose of providing legal assistance.

CTRL00000826        STAND ALONE           EMAIL       11/07/2018   Author                      Communication from counsel re documentation              AC
                                                                                               necessary to provide legal advice, in counsel’s
                                                                   Cynthia Pena (Chubb)
                                                                                               professional capacity as attorney and in confidence
                                                                   Recipients
                                                                                               for the purpose of providing legal assistance.
                                                                   Ken West (Chubb);
                                                                   Christopher Arehart
                                                                   (Chubb); Scott Schmookler
                                                                   (GRSM)

CTRL00000829        STAND ALONE           EMAIL       04/20/2020   Author                      Discussion with counsel re legal analysis of Raymond     AC, WP
                                                                                               James’ theory of coverage, in counsel’s professional
                                                                   Hilary Hoffman (Chubb)
                                                                                               capacity as attorney and in confidence for the
                                                                   Recipients                  purpose of providing legal assistance.
                                                                   Ken West (Chubb); Scott
                                                                   Schmookler (GRSM)

CTRL00000836        STAND ALONE           EMAIL       04/20/2020   Author                      Discussion with counsel re legal analysis of Raymond     AC, WP
                                                                                               James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                               capacity as attorney and in confidence for the
                                                                   Recipients                  purpose of providing legal assistance.
                                                                   Ken West (Chubb); Hilary
                                                                   Hoffman (Chubb)

CTRL00000839        STAND ALONE           EMAIL       04/20/2020   Author                      Discussion with counsel re legal analysis of Raymond     AC, WP
                                                                                               James’ theory of coverage, in counsel’s professional
                                                                   Hilary Hoffman (Chubb)

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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                            NS/NP
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Attorney-Client Correspondence –                                                                                           WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                      GENERAL SUBJECT MATTER                   DESIGNATIONS
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                                                                   Recipients                capacity as attorney and in confidence for the
                                                                                             purpose of providing legal assistance.
                                                                   Ken West (Chubb); Scott
                                                                   Schmookler (GRSM)

CTRL00000841        STAND ALONE           EMAIL       04/20/2020   Author                    Communication seeking legal advice re Raymond            AC, WP
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                             capacity as attorney and in confidence for the
                                                                   Recipients                purpose of seeking legal assistance.
                                                                   Hilary Hoffman (Chubb);
                                                                   Scott Schmookler (GRSM)

CTRL00000842        STAND ALONE           EMAIL       06/11/2019   Author                    Communication seeking legal advice re Raymond            AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                             capacity as attorney and in confidence for the
                                                                   Recipients                purpose of seeking legal assistance.
                                                                   Scott Schmookler (GRSM)

CTRL00000843        STAND ALONE           EMAIL       04/17/2020   Author                    Communication seeking legal advice re Raymond            AC, WP
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Hilary Hoffman (Chubb)
                                                                                             capacity as attorney and in confidence for the
                                                                   Recipients                purpose of seeking legal assistance.
                                                                   Ken West (Chubb); Scott
                                                                   Schmookler (GRSM)

CTRL00000844        STAND ALONE           EMAIL       03/16/2018   Author                    Discuss engagement of counsel in confidence for the      AC
                                                                                             purpose of providing legal assistance.
                                                                   Scott Schmookler (GRSM)
                                                                   Recipients
                                                                   Ken West (Chubb)

CTRL00000845        PARENT                EMAIL       03/01/2019   Author                    Discussion with counsel re legal analysis of Raymond     AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)



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REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                            NS/NP
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Attorney-Client Correspondence –                                                                                           WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                      GENERAL SUBJECT MATTER                   DESIGNATIONS
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                                                                   Recipients                capacity as attorney and in confidence for the
                                                                                             purpose of providing legal assistance.
                                                                   Ken West (Chubb)

CTRL00000845.0001   ATTACHMENT            EMAIL       02/27/2019   Discourser                Discussion with counsel re legal analysis of Raymond     AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                             capacity as attorney and in confidence for the
                                                                                             purpose of providing legal assistance.

FIC 005955-8        STAND ALONE           Email       05/22/2018   Author                    Communication seeking legal advice re Raymond            AC, JD
                                                                                             James’ theory of coverage and communications with
                                                                   Scott Schmookler (GRSM)
                                                                                             excess insurers, in counsel’s professional capacity as
                                                                   Recipients                attorney and in confidence for the purpose of seeking
                                                                                             legal assistance.
                                                                   Ken West (Chubb)

CTRL00000941        STAND ALONE           Email       12/12/2018   Author                    Communication seeking legal advice re Raymond            AC, JD
                                                                                             James’ theory of coverage and communications with
                                                                   Scott Schmookler (GRSM)
                                                                                             excess insurers, in counsel’s professional capacity as
                                                                   Recipients                attorney and in confidence for the purpose of seeking
                                                                                             legal assistance.
                                                                   Ken West (Chubb)

CTRL00000965        STAND ALONE           Email       03/23/2018   Author                    Communication seeking legal advice re Raymond            AC, JD
                                                                                             James’ theory of coverage and communications with
                                                                   Ken West (Chubb)
                                                                                             excess insurers, in counsel’s professional capacity as
                                                                   Recipients                attorney and in confidence for the purpose of seeking
                                                                                             legal assistance.
                                                                   Scott Schmookler (GRSM)




FIC 005955-8        STAND ALONE           Email       05/22/2018   Author                    Communication seeking legal advice re Raymond            AC, JD
                                                                                             James’ theory of coverage and communications with
                                                                   Scott Schmookler (GRSM)
                                                                                             excess insurers, in counsel’s professional capacity as
                                                                   Recipients                attorney and in confidence for the purpose of seeking
                                                                                             legal assistance.
                                                                   Ken West (Chubb)

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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                             NS/NP
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Attorney-Client Correspondence –                                                                                            WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                       GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE



CTRL00000905        STAND ALONE           Email       03/26/2018   Author                     Common interest discussion re Raymond James claim,       AC, JD
                                                                                              among counsel serving in a professional capacity as
                                                                   Tracey Archbold (GAIC)
                                                                                              counsel and for the purpose of responding to matters
                                                                   Recipients                 of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Ken West (Chubb)


CTRL00000864        STAND ALONE           EMAIL       04/20/2020   Author                     Discussion with counsel re legal analysis of Raymond     AC, WP
                                                                                              James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                              capacity as attorney and in confidence for the
                                                                   Recipients                 purpose of providing legal assistance.
                                                                   Ken West (Chubb)

FIC 005824-6        STAND ALONE           EMAIL       10/31/2018   Author                     Discussion with counsel re legal analysis of Raymond     AC
                                                                                              James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                              capacity as attorney and in confidence for the
                                                                   Recipients                 purpose of providing legal assistance.
                                                                   Ken West (Chubb)

CTRL00000872        STAND ALONE           EMAIL       09/10/2018   Author                     Discussion with counsel re legal analysis of Raymond     AC
                                                                                              James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                              capacity as attorney and in confidence for the
                                                                   Recipients                 purpose of providing legal assistance.
                                                                   Ken West (Chubb); Sarah
                                                                   Riedl Clark (GRSM)

CTRL00000874        STAND ALONE           EMAIL       03/23/2018   Author                     Discussion with counsel re legal analysis of Raymond     AC
                                                                                              James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                              capacity as attorney and in confidence for the
                                                                   Recipients                 purpose of providing legal assistance.
                                                                   Ken West (Chubb)



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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                            NS/NP
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                                                                                                                                  = Attorney Client Comm
Attorney-Client Correspondence –                                                                                           WP     = Work Product
                                                                                                                            JD    = Common interest Privilege
Without NDA/Tolling Agreement Correspondence                                                                             CONF     = Confidential
                                                                                                                            CP    = Confidential/Proprietary

CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                      GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE



CTRL00000877        PARENT                EMAIL       01/28/2019   Author                    Discussion with counsel re legal analysis of Raymond     AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                             capacity as attorney and in confidence for the
                                                                   Recipients                purpose of providing legal assistance.
                                                                   Ken West (Chubb); Sarah
                                                                   Riedl Clark (GRSM)

CTRL00000877.0001   ATTACHMENT            WORD        01/28/2019   Author                    Discussion with counsel re legal analysis of Raymond     AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                             capacity as attorney and in confidence for the
                                                                                             purpose of providing legal assistance.

CTRL00000878        STAND ALONE           EMAIL       04/18/2018   Author                    Discussion with counsel re legal analysis of Raymond     AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                             capacity as attorney and in confidence for the
                                                                   Recipients                purpose of providing legal assistance.
                                                                   Ken West (Chubb);

CTRL00000879        STAND ALONE           EMAIL       03/01/2019   Author                    Discussion with counsel re legal analysis of Raymond     AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Scott Schmookler (GRSM)
                                                                                             capacity as attorney and in confidence for the
                                                                   Recipients                purpose of providing legal assistance.
                                                                   Ken West (Chubb);

FIC 005827          PARENT                Email       04/18/2018   Author                    Discuss documentation for Raymond James claim            AC
                                                                                             necessary to render legal advice
                                                                   Ken West (Chubb)
                                                                   Recipients
                                                                   Scott Schmookler (GRSM)



CTRL00000881.0001   ATTACHMENT            PDF         04/17/2018   Discourser                Attachment to discussion with counsel, as detailed in    AC
                                                                                             accompanying correspondence

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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                            NS/NP
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Attorney-Client Correspondence –                                                                                           WP     = Work Product
                                                                                                                            JD    = Common interest Privilege
Without NDA/Tolling Agreement Correspondence                                                                             CONF     = Confidential
                                                                                                                            CP    = Confidential/Proprietary

CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                      GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Ken West (Chubb)

CTRL00000881.0002   ATTACHMENT            PDF         05/16/2016   Discourser                Attachment to discussion with counsel, as detailed in    AC
                                                                                             accompanying correspondence
                                                                   Ken West (Chubb)

CTRL00000881.0003   ATTACHMENT            PDF         05/16/2016   Discourser                Attachment to discussion with counsel, as detailed in    AC
                                                                                             accompanying correspondence
                                                                   Ken West (Chubb)

CTRL00000884        PARENT                Email       06/12/2019   Author                    Communication seeking legal advice re Raymond            AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                             capacity as attorney and in confidence for the
                                                                   Recipients                purpose of seeking legal assistance.
                                                                   Scott Schmookler (GRSM)



CTRL00000884.0001   ATTACHMENT            PDF         06/12/2019   Discourser                Communication seeking legal advice re Raymond            AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                             capacity as attorney and in confidence for the
                                                                                             purpose of seeking legal assistance.



CTRL00000885        PARENT                Email       06/12/2019   Author                    Communication seeking legal advice re Raymond            AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                             capacity as attorney and in confidence for the
                                                                   Recipients                purpose of seeking legal assistance.
                                                                   Scott Schmookler (GRSM)



CTRL00000885.0001   ATTACHMENT            PDF         06/12/2019   Discourser                Communication seeking legal advice re Raymond            AC
                                                                                             James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                             capacity as attorney and in confidence for the
                                                                                             purpose of seeking legal assistance.


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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                             NS/NP
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Attorney-Client Correspondence –                                                                                            WP     = Work Product
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Without NDA/Tolling Agreement Correspondence                                                                              CONF     = Confidential
                                                                                                                             CP    = Confidential/Proprietary

CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                       GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE




CTRL00000886.0002   ATTACHMENT            .htm        04/10/2019   Discourser                 Attachment to discussion with counsel, as detailed in    AC
                                                                                              accompanying correspondence
                                                                   Ken West (Chubb)

CTRL00000888        STAND ALONE           Email       06/28/2018   Author                     Communication seeking legal advice re Raymond            AC
                                                                                              James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                              capacity as attorney and in confidence for the
                                                                   Recipients                 purpose of seeking legal assistance.
                                                                   Scott Schmookler (GRSM)



CTRL00000889        STAND ALONE           Email       01/29/2019   Author                     Communication seeking legal advice re Raymond            AC
                                                                                              James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                              capacity as attorney and in confidence for the
                                                                   Recipients                 purpose of providing legal assistance.
                                                                   Scott Schmookler (GRSM);
                                                                   Sarah Riedl Clark (GRSM)



CTRL00000890        STAND ALONE           Email       12/18/2018   Author                     Communication seeking legal advice re Raymond            AC
                                                                                              James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                              capacity as attorney and in confidence for the
                                                                   Recipients                 purpose of providing legal assistance.
                                                                   Scott Schmookler (GRSM);
                                                                   Sarah Riedl Clark (GRSM)



CTRL00000892        STAND ALONE           Email       01/29/2019   Author                     Communication seeking legal advice re Raymond            AC
                                                                                              James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                              capacity as attorney and in confidence for the
                                                                   Recipients                 purpose of seeking legal assistance.


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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                              NS/NP
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Attorney-Client Correspondence –                                                                                             WP     = Work Product
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Without NDA/Tolling Agreement Correspondence                                                                               CONF     = Confidential
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                        GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Scott Schmookler (GRSM);
                                                                   Sarah Riedl Clark (GRSM)



CTRL00000893        STAND ALONE           Email       06/22/2018   Author                      Communication seeking legal advice re Raymond            AC
                                                                                               James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                               capacity as attorney and in confidence for the
                                                                   Recipients                  purpose of seeking legal assistance.
                                                                   Scott Schmookler (GRSM);
                                                                   Sarah Riedl Clark (GRSM);
                                                                   Jonas Harger (GRSM)



CTRL00000936        STAND ALONE           Email       11/19/2020   Author                      Communication seeking legal advice re Raymond            AC
                                                                                               James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                               capacity as attorney and in confidence for the
                                                                   Recipients                  purpose of seeking legal assistance.
                                                                   Sarah Riedl Clark (GRSM)

FIC 007827          STAND ALONE           Email       04/17/2020   Author                      Communication seeking legal advice re Raymond            AC, WP
                                                                                               James’ theory of coverage, advice provided in
                                                                   Ken West (Chubb)
                                                                                               counsel’s professional capacity as attorney and in
                                                                   Recipients                  confidence for the purpose of providing legal
                                                                                               assistance.
                                                                   Norm Rafsol (Chubb)


FIC 007828          STAND ALONE           Email       10/17/2019   Author                      Communication seeking legal advice re Raymond            AC, WP
                                                                                               James’ theory of coverage, advice provided in
                                                                   Hilary Hoffman (Chubb)
                                                                                               counsel’s professional capacity as attorney and in
                                                                   Recipients                  confidence for the purpose of providing legal
                                                                                               assistance.
                                                                   Ken West (Chubb)




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REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                           NS/NP
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Attorney-Client Correspondence –                                                                                          WP     = Work Product
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Without NDA/Tolling Agreement Correspondence                                                                            CONF     = Confidential
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                     GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE



FIC 007829          STAND ALONE           Email       03/03/2020   Author                   Discussion with counsel re legal analysis of Raymond     AC, WP
                                                                                            James’ theory of coverage, in counsel’s professional
                                                                   Ken West (Chubb)
                                                                                            capacity as attorney and in confidence for the
                                                                   Recipients               purpose of providing legal assistance.
                                                                   Sanford Victor (Marsh)

FIC 007841          STAND ALONE           Email       04/17/2020   Author                   Communication seeking legal advice re Raymond            AC, WP
                                                                                            James’ theory of coverage, advice provided in
                                                                   Norm Rafsol (Chubb)
                                                                                            counsel’s professional capacity as attorney and in
                                                                   Recipients               confidence for the purpose of providing legal
                                                                                            assistance.
                                                                   Ken West (Chubb)




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REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                                NS/NP
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Market Communications – Without NDA/Tolling Agreement Correspondence                                                           WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                           GENERAL SUBJECT MATTER                  DESIGNATIONS
                       OR ATTACHMENT         TYPE



CTRL00000899        STAND ALONE           Email       10/24/2018   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                   Recipients                     of common interest.
                                                                   Ken West (Chubb); Matthew
                                                                   Kalin (Travelers); Jason
                                                                   O’Brien (Beazley); Stephen
                                                                   Dratch (GAIC); Tracey
                                                                   Archbold (GAIC); Sarah
                                                                   Riedl Clark (GRSM)

CTRL00000900        PARENT                Email       04/16/2020   Author                         Common interest discussion re Raymond James claim,      AC, WP, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                   Recipients                     of common interest.
                                                                   Ryan Weeks (Travelers); Ken
                                                                   West (Chubb); Stephen
                                                                   Dratch (GAIC); Sarah Riedl
                                                                   Clark (GRSM); Antonio Trotta
                                                                   (Beazley)



CTRL00000900.0001   ATTACHMENT            PDF         04/16/2020   Author                         Common interest discussion re Raymond James claim,      AC, WP, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                                                  of common interest.




CTRL00000901        PARENT                Email       04/29/2019   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                   Recipients                     of common interest.


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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                                NS/NP
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Market Communications – Without NDA/Tolling Agreement Correspondence                                                           WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                           GENERAL SUBJECT MATTER                  DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Jason O’Brien (Beazley); Ken
                                                                   West (Chubb); Stephen
                                                                   Dratch (GAIC); Sarah Riedl
                                                                   Clark (GRSM); Matthew
                                                                   Kalin (Travelers)

CTRL00000901.0001   ATTACHMENT            PDF         04/29/2019   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                                                  of common interest..



CTRL00000903        PARENT                Email       06/27/2018   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                   Recipients                     of common interest..
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Stephen
                                                                   Dratch (GAIC); Sarah Riedl
                                                                   Clark (GRSM); Jason O’Brien
                                                                   (Beazley); Tracey Archbold
                                                                   (GAIC)



CTRL00000903.0001   ATTACHMENT            WORD        06/25/2018   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                                                  of common interest..



CTRL00000903.0002   ATTACHMENT            WORD        06/27/2018   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                                                  of common interest..

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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                                NS/NP
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Market Communications – Without NDA/Tolling Agreement Correspondence                                                           WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                           GENERAL SUBJECT MATTER                  DESIGNATIONS
                       OR ATTACHMENT         TYPE




CTRL00000910        STAND ALONE           Email       12/20/2019   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Angela Lee (Beazley)
                                                                                                  counsel and for the purpose of responding to matters
                                                                   Recipients                     of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Ken West (Chubb); Sarah
                                                                   Riedl Clark (GRSM); Stephen
                                                                   Dratch (GAIC); Ryan Weeks
                                                                   (Travelers); Tracey Archbold
                                                                   (Travelers)



CTRL00000911        STAND ALONE           Email       12/20/2019   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Ryan Weeks (Travelers)
                                                                                                  counsel and for the purpose of responding to matters
                                                                   Recipients                     of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Ken West (Chubb); Sarah
                                                                   Riedl Clark (GRSM); Angela
                                                                   Lee (Beazley); Stephen
                                                                   Dratch (GAIC); Tracey
                                                                   Archbold (GAIC)

CTRL00000912        STAND ALONE           Email       12/19/2018   Author                         Common interest communication re Raymond James’         AC, JD
                                                                                                  theory of coverage, among counsel serving in
                                                                   Matthew Kalin (Travelers)
                                                                                                  professional capacity as counsel and for the purpose
                                                                   Recipients                     of responding to matters of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Ken West (Chubb); Sarah
                                                                   Riedl Clark (GRSM); Jason
                                                                   O’Brien (Beazley); Stephen



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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                               NS/NP
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Market Communications – Without NDA/Tolling Agreement Correspondence                                                          WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                         GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Dratch (GAIC); Tracey
                                                                   Archbold (GAIC)

CTRL00000914        STAND ALONE           Email       06/29/2018   Author                       Common interest communication re Raymond James’          AC, JD
                                                                                                theory of coverage, among counsel serving in
                                                                   Matthew Kalin (Travelers)
                                                                                                professional capacity as counsel and for the purpose
                                                                   Recipients                   of responding to matters of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Ken West (Chubb); Sarah
                                                                   Riedl Clark (GRSM); Jason
                                                                   O’Brien (Beazley); Stephen
                                                                   Dratch (GAIC); Tracey
                                                                   Archbold (GAIC)

CTRL00000922        PARENT                Email       04/29/2019   Author                       Common interest discussion re Raymond James claim,       AC, JD
                                                                                                among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                counsel and for the purpose of responding to matters
                                                                   Recipients                   of common interest.
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Stephen
                                                                   Dratch (GAIC)

CTRL00000922.0001   ATTACHMENT            Letter      04/29/2019   Discourser                   Attachment to discussion with counsel, as detailed in    AC, JD
                                                                                                accompanying correspondence.
                                                                   Scott Schmookler (GRSM)

CTRL00000923        STAND ALONE           Email       04/30/2019   Author                       Common interest discussion re Raymond James claim,       AC, JD
                                                                                                among counsel serving in a professional capacity as
                                                                   Matthew Kalin (Travelers)
                                                                                                counsel and for the purpose of responding to matters
                                                                   Recipients                   of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Stephen



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REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                                NS/NP
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Market Communications – Without NDA/Tolling Agreement Correspondence                                                           WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                           GENERAL SUBJECT MATTER                  DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Dratch (GAIC); Sarah Riedl
                                                                   Clark (GRSM)

CTRL00000928        STAND ALONE           Email       12/20/2019   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                   Recipients                     of common interest.
                                                                   Stephen Dratch (GAIC);
                                                                   Ryan Weeks (Travelers); Ken
                                                                   West (Chubb); Angela Lee
                                                                   (Beazley); Sarah Riedl Clark
                                                                   (GRSM); Tracey Archbold
                                                                   (GAIC)

CTRL00000931        STAND ALONE           Email       12/20/2019   Author                         Common interest communication re Raymond James’         AC, JD
                                                                                                  theory of coverage, among counsel serving in
                                                                   Stephen Dratch (GAIC)
                                                                                                  professional capacity as counsel and for the purpose
                                                                   Recipients                     of responding to matters of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Ryan Weeks (Travelers); Ken
                                                                   West (Chubb); Angela Lee
                                                                   (Beazley); Tracey Archbold
                                                                   (GAIC); Sarah Riedl Clark
                                                                   (GRSM)

CTRL00000932        STAND ALONE           Email       12/19/2019   Author                         Common interest discussion re Raymond James claim,      AC, JD
                                                                                                  among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                  counsel and for the purpose of responding to matters
                                                                   Recipients                     of common interest.
                                                                   Stephen Dratch (GAIC);
                                                                   Ryan Weeks (Travelers); Ken
                                                                   West (Chubb); Angela Lee
                                                                   (Beazley); Sarah Riedl Clark
                                                                   (GRSM)


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REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                               NS/NP
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Market Communications – Without NDA/Tolling Agreement Correspondence                                                          WP     = Work Product
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CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                          GENERAL SUBJECT MATTER                  DESIGNATIONS
                       OR ATTACHMENT         TYPE



CTRL00000933        STAND ALONE           Email       12/19/2019   Author                        Common interest discussion re Raymond James claim,      AC, JD
                                                                                                 among counsel serving in a professional capacity as
                                                                   Stephen Dratch (GAIC)
                                                                                                 counsel and for the purpose of responding to matters
                                                                   Recipients                    of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Ryan Weeks (Travelers); Ken
                                                                   West (Chubb); Angela Lee
                                                                   (Beazley); Tracey Archbold
                                                                   (GAIC); Sarah Riedl Clark
                                                                   (GRSM)

CTRL00000934        STAND ALONE           Email       12/19/2019   Author                        Common interest discussion re Raymond James claim,      AC, JD
                                                                                                 among counsel serving in a professional capacity as
                                                                   Angela Lee (Beazley)
                                                                                                 counsel and for the purpose of responding to matters
                                                                   Recipients                    of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Ryan Weeks (Travelers); Ken
                                                                   West (Chubb); Stephen
                                                                   Dratch (GAIC); Sarah Riedl
                                                                   Clark (GRSM)

FIC 005898-9        PARENT                Email       05/22/2019   Author                        Common interest discussion re Raymond James claim,      AC, JD
                                                                                                 among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                 counsel and for the purpose of responding to matters
                                                                   Recipients                    of common interest.
                                                                   Stephen Dratch (GAIC);
                                                                   Tracey Archbold (GAIC);
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Sarah
                                                                   Riedl Clark (GRSM); Kelly
                                                                   Collins (GRSM)




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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                               NS/NP
                                                                                                                              AC
                                                                                                                                     = Not Substantive/Not Privileged
                                                                                                                                     = Attorney Client Comm
Market Communications – Without NDA/Tolling Agreement Correspondence                                                          WP     = Work Product
                                                                                                                               JD    = Common interest Privilege
                                                                                                                            CONF     = Confidential
                                                                                                                               CP    = Confidential/Proprietary

CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                         GENERAL SUBJECT MATTER                   DESIGNATIONS
                       OR ATTACHMENT         TYPE



CTRL00000935.0001   ATTACHMENT            Letter      05/22/2019   Discourser                   Attachment to discussion with counsel, as detailed in    AC, JD
                                                                                                accompanying correspondence
                                                                   Scott Schmookler (GRSM)

FIC 005901-2        PARENT                Email       05/07/2018   Author                       Common interest discussion re Raymond James claim,       AC, JD
                                                                                                among counsel serving in a professional capacity as
                                                                   Matthew Kalin (Travelers)
                                                                                                counsel and for the purpose of responding to matters
                                                                   Recipients                   of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Stephen Dratch (GAIC);
                                                                   Tracey Archbold (GAIC);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley)

CTRL00000944        PARENT                Email       06/22/2018   Author                       Common interest discussion re additional                 AC, JD
                                                                                                documentation for Raymond James claim necessary
                                                                   Scott Schmookler (GRSM)
                                                                                                to render legal advice, among counsel serving in
                                                                   Recipients                   professional capacity as counsel and for the purpose
                                                                                                of responding to matters of common interest.
                                                                   Stephen Dratch (GAIC);
                                                                   Tracey Archbold (GAIC);
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Sarah
                                                                   Riedl Clark (GRSM)

CTRL00000944.0001   ATTACHMENT            LETTER      06/22/2019   Author                       Common interest discussion re additional                 AC, JD
                                                                                                documentation for Raymond James claim necessary
                                                                   Scott Schmookler (GRSM)
                                                                                                to render legal advice, among counsel serving in
                                                                                                professional capacity as counsel and for the purpose
                                                                                                of responding to matters of common interest.

CTRL00000945        STAND ALONE           Email       01/08/2019   Author                       Common interest communication re Raymond James’          AC, JD
                                                                                                theory of coverage, among counsel serving in
                                                                   Scott Schmookler (GRSM)
                                                                                                professional capacity as counsel and for the purpose
                                                                   Recipients                   of responding to matters of common interest.

                                                                       Page 7 of 11
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                                                           109
Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                              NS/NP
                                                                                                                             AC
                                                                                                                                    = Not Substantive/Not Privileged
                                                                                                                                    = Attorney Client Comm
Market Communications – Without NDA/Tolling Agreement Correspondence                                                         WP     = Work Product
                                                                                                                              JD    = Common interest Privilege
                                                                                                                           CONF     = Confidential
                                                                                                                              CP    = Confidential/Proprietary

CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                         GENERAL SUBJECT MATTER                  DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Stephen Dratch (GAIC);
                                                                   Tracey Archbold (GAIC);
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Sarah
                                                                   Riedl Clark (GRSM); Marc
                                                                   Rindner (Beazley)

FIC 005931          STAND ALONE           Email       03/13/2019   Author                       Common interest communication re Raymond James’         AC, JD
                                                                                                theory of coverage, among counsel serving in
                                                                   Scott Schmookler (GRSM)
                                                                                                professional capacity as counsel and for the purpose
                                                                   Recipients                   of responding to matters of common interest.
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Stephen
                                                                   Dratch (GAIC); Tracey
                                                                   Archbold (GAIC)

CTRL00000948        STAND ALONE           Email       04/29/2019   Author                       Common interest communication re Raymond James’         AC, JD
                                                                                                theory of coverage, among counsel serving in
                                                                   Scott Schmookler (GRSM)
                                                                                                professional capacity as counsel and for the purpose
                                                                   Recipients                   of responding to matters of common interest.
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Stephen
                                                                   Dratch (GAIC); Sarah Riedl
                                                                   Clark (GRSM)

FIC 005937-8        STAND ALONE           Email       03/13/2019   Author                       Common interest communication re Raymond James’         AC, JD
                                                                                                theory of coverage, among counsel serving in
                                                                   Matthew Kalin (Travelers)
                                                                                                professional capacity as counsel and for the purpose
                                                                   Recipients                   of responding to matters of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Stephen Dratch (GAIC);
                                                                   Tracey Archbold (GAIC);

                                                                       Page 8 of 11
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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                              NS/NP
                                                                                                                             AC
                                                                                                                                    = Not Substantive/Not Privileged
                                                                                                                                    = Attorney Client Comm
Market Communications – Without NDA/Tolling Agreement Correspondence                                                         WP     = Work Product
                                                                                                                              JD    = Common interest Privilege
                                                                                                                           CONF     = Confidential
                                                                                                                              CP    = Confidential/Proprietary

CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                         GENERAL SUBJECT MATTER                  DESIGNATIONS
                       OR ATTACHMENT         TYPE


                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Sarah
                                                                   Riedl Clark (GRSM)

FIC 005953-4        STAND ALONE           Email       05/07/2018   Author                       Common interest discussion re Raymond James claim,      AC, JD
                                                                                                among counsel serving in a professional capacity as
                                                                   Stephen Dratch (GAIC)
                                                                                                counsel and for the purpose of responding to matters
                                                                   Recipients                   of common interest.
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Scott
                                                                   Schmookler (GRSM) Tracey
                                                                   Archbold (GAIC); Sarah
                                                                   Riedl Clark (GRSM)

CTRL00000956        STAND ALONE           Email       06/26/2018   Author                       Common interest discussion re Raymond James claim,      AC, JD
                                                                                                among counsel serving in a professional capacity as
                                                                   Matthew Kalin (Travelers)
                                                                                                counsel and for the purpose of responding to matters
                                                                   Recipients                   of common interest..
                                                                   Scott Schmookler (GRSM);
                                                                   Stephen Dratch (GAIC); Ken
                                                                   West (Chubb); Jason
                                                                   O’Brien (Beazley); Tracey
                                                                   Archbold (GAIC) Sarah
                                                                   Riedl Clark (GRSM)

CTRL00000957        STAND ALONE           Email       01/07/2019   Author                       Common interest discussion re Raymond James claim,      AC, JD
                                                                                                among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                counsel and for the purpose of responding to matters
                                                                   Recipients                   of common interest.
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Stephen
                                                                   Dratch (GAIC); Sarah Riedl
                                                                   Clark (GRSM); Tracey
                                                                   Archbold (GAIC)

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Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                              NS/NP
                                                                                                                             AC
                                                                                                                                    = Not Substantive/Not Privileged
                                                                                                                                    = Attorney Client Comm
Market Communications – Without NDA/Tolling Agreement Correspondence                                                         WP     = Work Product
                                                                                                                              JD    = Common interest Privilege
                                                                                                                           CONF     = Confidential
                                                                                                                              CP    = Confidential/Proprietary

CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                         GENERAL SUBJECT MATTER                  DESIGNATIONS
                       OR ATTACHMENT         TYPE



CTRL00000958        STAND ALONE           Email       12/18/2018   Author                       Common interest discussion re Raymond James claim,      AC, JD
                                                                                                among counsel serving in a professional capacity as
                                                                   Matthew Kalin (Travelers)
                                                                                                counsel and for the purpose of responding to matters
                                                                   Recipients                   of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Stephen Dratch (GAIC); Ken
                                                                   West (Chubb); Jason
                                                                   O’Brien (Beazley); Tracey
                                                                   Archbold (GAIC) Sarah
                                                                   Riedl Clark (GRSM)

CTRL00000959        STAND ALONE           Email       06/29/2018   Author                       Common interest discussion re Raymond James claim,      AC, JD
                                                                                                among counsel serving in a professional capacity as
                                                                   Scott Schmookler (GRSM)
                                                                                                counsel and for the purpose of responding to matters
                                                                   Recipients                   of common interest.
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb); Jason
                                                                   O’Brien (Beazley); Stephen
                                                                   Dratch (GAIC); Sarah Riedl
                                                                   Clark (GRSM); Tracey
                                                                   Archbold (GAIC)

FIC 005968-9        STAND ALONE           Email       05/22/2019   Author                       Common interest communication re Raymond James’         AC, JD
                                                                                                theory of coverage, among counsel serving in
                                                                   Matthew Kalin (Travelers)
                                                                                                professional capacity as counsel and for the purpose
                                                                   Recipients                   of responding to matters of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Stephen Dratch (GAIC); Ken
                                                                   West (Chubb); Jason
                                                                   O’Brien (Beazley); Tracey
                                                                   Archbold (GAIC) Sarah
                                                                   Riedl Clark (GRSM); Kelly
                                                                   Collins (GRSM)



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                                                           109
Raymond James (CGPROF 1211057)

REVISED INSURER’S PRIVILEGE AND REDACTION LOG                                                                                NS/NP
                                                                                                                               AC
                                                                                                                                      = Not Substantive/Not Privileged
                                                                                                                                      = Attorney Client Comm
Market Communications – Without NDA/Tolling Agreement Correspondence                                                           WP     = Work Product
                                                                                                                                JD    = Common interest Privilege
                                                                                                                             CONF     = Confidential
                                                                                                                                CP    = Confidential/Proprietary

CONTROL/BATES NO.   STAND-ALONE, PARENT    DOCUMENT       DATE                  PARTIES                           GENERAL SUBJECT MATTER                  DESIGNATIONS
                       OR ATTACHMENT         TYPE



CTRL00000962        STAND ALONE           Email       04/29/2019   Author                         Common interest communication re Raymond James’         AC, JD
                                                                                                  theory of coverage, among counsel serving in
                                                                   Matthew Kalin (Travelers)
                                                                                                  professional capacity as counsel and for the purpose
                                                                   Recipients                     of responding to matters of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Stephen Dratch (GAIC); Ken
                                                                   West (Chubb); Jason
                                                                   O’Brien (Beazley)

CTRL00000966        STAND ALONE           Email       12/11/2018   Author                         Common interest communication re Raymond James’         AC, JD
                                                                                                  theory of coverage, among counsel serving in
                                                                   Ken West (Chubb)
                                                                                                  professional capacity as counsel and for the purpose
                                                                   Recipients                     of responding to matters of common interest.
                                                                   Scott Schmookler (GRSM);
                                                                   Stephen Dratch (GAIC);
                                                                   Matthew Kalin (Travelers);
                                                                   Jason O’Brien (Beazley);
                                                                   Tracey Archbold (Travelers);
                                                                   Marc Rinder (Beazley);
                                                                   Sarah Riedl Clark (GRSM)

FIC 007780-2        STAND ALONE           Email       02/15/2019   Author                         Common interest communication re Raymond James’         AC, JD
                                                                                                  theory of coverage, among counsel serving in
                                                                   Scott Schmookler (GRSM)
                                                                                                  professional capacity as counsel and for the purpose
                                                                   Recipients                     of responding to matters of common interest.
                                                                   Jason O’Brien (Beazley);
                                                                   Tracey Archbold (GAIC);
                                                                   Stephen Dratch (GAIC);
                                                                   Matthew Kalin (Travelers);
                                                                   Ken West (Chubb)




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                                                     Travelers' Casualty and Surety Company of America's Third Amended Privilege Log
                                                                                          109
                                                                                Case No.: 8:20-cv-21707-UU
                                                                                                           March 4, 2021

Control Number   Attachment     Bates Begin   Bates End   Sort Date/Time   Email Subject     File Name         Email From         Email To           Email CC             Author       Brief Description   Treatment of     Privilege Reason
                 Control                                                                                                                                                                                   Document
                 Number(s)
MPD_00000211                                              3/23/17 10:20    RE: Raymond                         Kalin,Matthew C West, Kenneth M Kalin,Matthew C                         Email regarding     Withhold -       Common Interest
                                                                           James                               (mkalin@travelers (kwest@chubb.co (mkalin@travelers                     confidentiality     Privileged
                                                                                                               .com)             m)              .com)                                 agreement.

MPD_00000542     MPD_00000543   TRAVELERS_ TRAVELERS_0 3/6/18 8:10         FW: Raymond       RJ Confidentiality Kalin,Matthew Cjo'brien@wileyrei Kalin,Matthew C Ana M. Asack          Email regarding     Produce - with   Common Interest
                                00004393   0004406                         James Fidelity    and Non-Waiver (mkalin@travelers  n.com; West,       (mkalin@travelers                    confidentiality     Redactions
                                                                           Claim:            Agreement          .com)          Kenneth M          .com)                                agreement.
                                                                           Confidentiality   (2.22.18).docx                    (kwest@chubb.co
                                                                           and Non-Waiver                                      m); Archbold,
                                                                           Agreement                                           Tracey
                                                                                                                               (tarchbold@gaig.c
                                                                                                                               om)
MPD_00000214     MPD_00000215                             3/7/18 11:31     Voice Mail (35    2027197464 (35    2027197464      Kalin,Matthew C                                         Email regarding     Withhold -       Common Interest
                                                                           seconds)          seconds) Voice                    (mkalin@travelers                                       confidentiality     Privileged
                                                                                             Mail.mp3                          .com)                                                   agreement.
MPD_00000238                                              3/19/18 14:09    Raymond James                       West, Kenneth M O'Brien, Jason                                          Email regarding     Withhold -       Common Interest
                                                                                                               (kwest@chubb.co (jo'brien@wileyrei                                      confidentiality     Privileged
                                                                                                               m)              n.com); Archbold,                                       agreement.
                                                                                                                               Tracey
                                                                                                                               (tarchbold@gaig.c
                                                                                                                               om);
                                                                                                                               Kalin,Matthew C
                                                                                                                               (mkalin@travelers
                                                                                                                               .com)

MPD_00000262     MPD_00000263                             3/22/18 8:34     Raymond James:    Revised           Scott Schmookler jo'brien@wileyrei kenneth.west@ch                      Email regarding     Withhold -       Common Interest
                                                                           Revised NDA       Confidentiality   (sschmookler@grs n.com;            ubb.com; Sarah                       confidentiality     Privileged
                                                                                             Agreement.docx    m.com)           Kalin,Matthew C Riedl                                  agreement.
                                                                                                                                (mkalin@travelers (sriedl@grsm.com
                                                                                                                                .com); Archbold, )
                                                                                                                                Tracey
                                                                                                                                (tarchbold@GAIG.
                                                                                                                                COM)
                                                                                                                                (tarchbold@gaig.c
                                                                                                                                om)

MPD_00000249     MPD_00000250                             3/25/18 10:46    RE: Raymond       Revised           Kalin,Matthew C Archbold, Tracey      kenneth.west@ch Kalin,Matthew C   Email regarding     Withhold -       Common Interest
                                                                           James: Revised    Confidentiality   (mkalin@travelers (tarchbold@gaig.c   ubb.com; Sarah                    confidentiality     Privileged
                                                                           NDA               Agreement.docx    .com)             om); Scott          Riedl                             agreement.
                                                                                                                                 Schmookler          (sriedl@grsm.com
                                                                                                                                 (sschmookler@grs    ); Kalin,Matthew C
                                                                                                                                 m.com);             (mkalin@travelers
                                                                                                                                 jo'brien@wileyrei   .com)
                                                                                                                                 n.com

MPD_00000213                                              3/27/18 13:59    RE: Raymond                         Kalin,Matthew C Archbold, Tracey      kenneth.west@ch                   Email regarding     Withhold -       Common Interest
                                                                           James: Revised                      (mkalin@travelers (tarchbold@gaig.c   ubb.com; Sarah                    confidentiality     Privileged
                                                                           NDA                                 .com)             om); Scott          Riedl                             agreement.
                                                                                                                                 Schmookler          (sriedl@grsm.com
                                                                                                                                 (sschmookler@grs    ); Kalin,Matthew C
                                                                                                                                 m.com);             (mkalin@travelers
                                                                                                                                 jo'brien@wileyrei   .com)
                                                                                                                                 n.com




                                                                                                               1 of 30
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                                                 Travelers' Casualty and Surety Company of America's Third Amended Privilege Log
                                                                                      109
                                                                            Case No.: 8:20-cv-21707-UU
                                                                                                       March 4, 2021

MPD_00000253                                           3/27/18 14:01   RE: Raymond                        O'Brien, Jason     Kalin,Matthew C     kenneth.west@ch                Email regarding   Withhold -       Common Interest
                                                                       James: Revised                     (jo'brien@wileyrei (mkalin@travelers   ubb.com; Sarah                 confidentiality   Privileged
                                                                       NDA                                n.com)             .com); Archbold,    Riedl                          agreement.
                                                                                                                             Tracey              (sriedl@grsm.com
                                                                                                                             (tarchbold@gaig.c   )
                                                                                                                             om); Scott
                                                                                                                             Schmookler
                                                                                                                             (sschmookler@grs
                                                                                                                             m.com)

MPD_00000246                                           3/28/18 10:25   FW: Raymond                        Archbold, Tracey Kalin,Matthew C                                      Email regarding   Withhold -       Common Interest
                                                                       James: Revised                     (tarchbold@gaig.c (mkalin@travelers                                   confidentiality   Privileged
                                                                       NDA                                om)               .com)                                               agreement.

MPD_00000268                                           3/28/18 11:44   Re: Raymond                        Scott Schmookler Kalin,Matthew C                                      Email regarding   Withhold -       Common Interest
                                                                       James: Revised                     (sschmookler@grs (mkalin@travelers                                    confidentiality   Privileged
                                                                       NDA                                m.com)           .com); Scott                                         agreement.
                                                                                                                           Schmookler
                                                                                                                           (sschmookler@grs
                                                                                                                           m.com)
MPD_00000251   MPD_00000252                            3/29/18 9:54    Re: Raymond                        Scott Schmookler West, Kenneth M Sarah Riedl                          Email regarding   Withhold -       Common Interest
                                                                       James: Revised                     (sschmookler@grs (kwest@chubb.co (sriedl@grsm.com                     confidentiality   Privileged
                                                                       NDA                                m.com)           m); O'Brien, Jason )                                 agreement.
                                                                                                                           (jo'brien@wileyrei
                                                                                                                           n.com);
                                                                                                                           Kalin,Matthew C
                                                                                                                           (mkalin@travelers
                                                                                                                           .com); Archbold,
                                                                                                                           Tracey
                                                                                                                           (tarchbold@gaig.c
                                                                                                                           om); Scott
                                                                                                                           Schmookler
                                                                                                                           (sschmookler@grs
                                                                                                                           m.com)




MPD_00000544   MPD_00000545;   TRAVELERS_ TRAVELERS_0 4/6/18 8:40      FW: Raymond       CMM Redline 04- Kalin,Matthew C     Scott Schmookler Kalin,Matthew C Kalin,Matthew C   Email regarding   Produce - with   Common Interest
               MPD_00000546    00004407   0004423                      James             05-2018.docx;   (mkalin@travelers   (sschmookler@grs (mkalin@travelers                 confidentiality   Redactions
                                                                       Confidentiality   CMM Redline 04- .com)               m.com); West,      .com)                           agreement.
                                                                       Agreement         05-2018.pdf                         Kenneth M
                                                                                                                             (kwest@chubb.co
                                                                                                                             m); Archbold,
                                                                                                                             Tracey
                                                                                                                             (tarchbold@gaig.c
                                                                                                                             om); Sarah Riedl
                                                                                                                             (sriedl@grsm.com
                                                                                                                             ); O'Brien, Jason
                                                                                                                             (jo'brien@wileyrei
                                                                                                                             n.com)




MPD_00000217   MPD_00000218                            4/6/18 9:27     Voice Mail (27    3129806779 (27   3129806779         Kalin,Matthew C                                    Email regarding   Withhold -       Common Interest
                                                                       seconds)          seconds) Voice                      (mkalin@travelers                                  confidentiality   Privileged
                                                                                         Mail.mp3                            .com)                                              agreement.




                                                                                                          2 of 30
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                                      Travelers' Casualty and Surety Company of America's Third Amended Privilege Log
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MPD_00000574     TRAVELERS_ TRAVELERS_0 4/9/18 11:39    Re: Raymond          Scott Schmookler Jason O'Brien          kwest@chubb.co       Email regarding   Produce - with   Common Interest
                 00004806   0004809                     James                (sschmookler@grs (jo'brien@wileyrei     m; Sarah Riedl       confidentiality   Redactions
                                                        Confidentiality      m.com)           n.com); Stephen        (sriedl@grsm.com     agreement.
                                                        Agreement                             Dratch                 )
                                                                                              (sdratch@njcouns
                                                                                              el.com); Tracey A.
                                                                                              Archbold
                                                                                              (tarchbold@gaic.c
                                                                                              om);
                                                                                              Kalin,Matthew C
                                                                                              (mkalin@travelers
                                                                                              .com)

MPD_00000576     TRAVELERS_ TRAVELERS_0 4/9/18 13:41    RE: Raymond          Kalin,Matthew C Scott Schmookler        kwest@chubb.co       Email regarding   Produce - with   Common Interest
                 00004813   0004816                     James                (mkalin@travelers (sschmookler@grs      m; Sarah Riedl       confidentiality   Redactions
                                                        Confidentiality      .com)             m.com); Jason         (sriedl@grsm.com     agreement.
                                                        Agreement                              O'Brien               ); Kalin,Matthew C
                                                                                               (jo'brien@wileyrei    (mkalin@travelers
                                                                                               n.com); Stephen       .com)
                                                                                               Dratch
                                                                                               (sdratch@njcouns
                                                                                               el.com); Tracey A.
                                                                                               Archbold
                                                                                               (tarchbold@gaic.c
                                                                                               om)


MPD_00000569     TRAVELERS_ TRAVELERS_0 4/10/18 11:37   RE: Raymond          Stephen Dratch   Scott Schmookler       kwest@chubb.co       Email regarding   Produce - with   Common Interest
                 00004785   0004790                     James                (sdratch@njcouns (sschmookler@grs       m; Sarah Riedl       confidentiality   Redactions
                                                        Confidentiality      el.com)          m.com); Jason          (sriedl@grsm.com     agreement.
                                                        Agreement                             O'Brien                )
                                                                                              (jo'brien@wileyrei
                                                                                              n.com); Tracey A.
                                                                                              Archbold
                                                                                              (tarchbold@gaic.c
                                                                                              om);
                                                                                              Kalin,Matthew C
                                                                                              (mkalin@travelers
                                                                                              .com)


MPD_00000233                             4/11/18 9:26   RE: Raymond          O'Brien, Jason     Scott Schmookler     kwest@chubb.co       Email regarding   Withhold -       Common Interest
                                                        James                (jo'brien@wileyrei (sschmookler@grs     m; Sarah Riedl       confidentiality   Privileged
                                                        Confidentiality      n.com)             m.com); Stephen      (sriedl@grsm.com     agreement.
                                                        Agreement                               Dratch               )
                                                                                                (sdratch@njcouns
                                                                                                el.com); Tracey A.
                                                                                                Archbold
                                                                                                (tarchbold@gaic.c
                                                                                                om);
                                                                                                Kalin,Matthew C
                                                                                                (mkalin@travelers
                                                                                                .com)




                                                                             3 of 30
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                                                                                      109
                                                                            Case No.: 8:20-cv-21707-UU
                                                                                             March 4, 2021

MPD_00000269   MPD_00000270                4/18/18 9:54    Raymond James:      Revised            Scott Schmookler   Kalin,Matthew C      kenneth.west@ch Kalin,Matthew C   Email regarding   Withhold -   Common Interest
                                                           Revised             Confidentiality    (sschmookler@grs   (mkalin@travelers    ubb.com; Sarah                    confidentiality   Privileged
                                                           Confidentiality     Agreement          m.com)             .com);               Riedl                             agreement.
                                                           Agreement           (4.13.18 SRR).docx                    jo'brien@wileyrei    (sriedl@grsm.com
                                                                                                                     n.com; Stephen       )
                                                                                                                     Dratch
                                                                                                                     (sdratch@njcouns
                                                                                                                     el.com); Archbold,
                                                                                                                     Tracey
                                                                                                                     (tarchbold@GAIG.
                                                                                                                     COM)
                                                                                                                     (tarchbold@gaig.c
                                                                                                                     om)

MPD_00000651   MPD_00000652                4/18/18 10:11   FW: Raymond       [redacted].docx     Kalin,Matthew C     Mekler,Kevin M       Kalin,Matthew C Kalin,Matthew C   Email regarding   Withhold -   Common
                                                           James: [redacted]                     (mkalin@travelers   (kmekler@traveler    (mkalin@travelers                 confidentiality   Privileged   Interest;Work
                                                                                                 .com)               s.com)               .com)                             agreement.                     Product
MPD_00000650                               4/23/18 6:59    RE: Raymond                           Mekler,Kevin M      Kalin,Matthew C                                        Email regarding   Withhold -   Common
                                                           James: [redacted]                     (kmekler@traveler   (mkalin@travelers                                      confidentiality   Privileged   Interest;Work
                                                                                                 s.com)              .com)                                                  agreement.                     Product
MPD_00000273                               4/23/18 9:16    RE: Raymond                           Kalin,Matthew C     Scott Schmookler     kenneth.west@ch                   Email regarding   Withhold -   Common Interest
                                                           James: Revised                        (mkalin@travelers   (sschmookler@grs     ubb.com; Sarah                    confidentiality   Privileged
                                                           Confidentiality                       .com)               m.com);              Riedl                             agreement.
                                                           Agreement                                                 jo'brien@wileyrei    (sriedl@grsm.com
                                                                                                                     n.com; Stephen       ); Kalin,Matthew C
                                                                                                                     Dratch               (mkalin@travelers
                                                                                                                     (sdratch@njcouns     .com)
                                                                                                                     el.com); Archbold,
                                                                                                                     Tracey
                                                                                                                     (tarchbold@GAIG.
                                                                                                                     COM)
                                                                                                                     (tarchbold@gaig.c
                                                                                                                     om)


MPD_00000231   MPD_00000232                4/24/18 9:14    RE: Raymond         Revised           O'Brien, Jason     Scott Schmookler      kenneth.west@ch Kalin,Matthew C   Email regarding   Withhold -   Common Interest
                                                           James: Revised      Confidentiality   (jo'brien@wileyrei (sschmookler@grs      ubb.com; Sarah                    confidentiality   Privileged
                                                           Confidentiality     Agreement (WR     n.com)             m.com);               Riedl                             agreement.
                                                           Agreement           Comments 4-24-                       Kalin,Matthew C       (sriedl@grsm.com
                                                                               18).DOCX                             (mkalin@travelers     )
                                                                                                                    .com); Stephen
                                                                                                                    Dratch
                                                                                                                    (sdratch@njcouns
                                                                                                                    el.com); Archbold,
                                                                                                                    Tracey
                                                                                                                    (tarchbold@GAIG.
                                                                                                                    COM)
                                                                                                                    (tarchbold@gaig.c
                                                                                                                    om)




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MPD_00000551   MPD_00000552;   TRAVELERS_ TRAVELERS_0 5/7/18 15:18     FW:                  NERA Report.pdf; Kalin,Matthew C Scott Schmookler Kalin,Matthew C Kazi, Mikhail   Email regarding     Produce - with   Common Interest
               MPD_00000553    00004430   0004637                      Confidentiality      Raymond James (mkalin@travelers (sschmookler@grs (mkalin@travelers                confidentiality     Redactions
                                                                       Agreement            Proof of Loss.pdf .com)          m.com);            .com)                         agreement.
                                                                                                                             kwest@chubb.co
                                                                                                                             m; O'Brien, Jason
                                                                                                                             (jo'brien@wileyrei
                                                                                                                             n.com); Archbold,
                                                                                                                             Tracey
                                                                                                                             (tarchbold@gaig.c
                                                                                                                             om); Stephen
                                                                                                                             Dratch
                                                                                                                             (sdratch@njcouns
                                                                                                                             el.com); Sarah
                                                                                                                             Riedl
                                                                                                                             (sriedl@grsm.com
                                                                                                                             )




MPD_00000042   MPD_00000043;                           5/29/18 19:59   Raymond James        [redacted]       Kalin,Matthew C bheld@mpdlegal.c Kalin,Matthew C                 Email forwarding a Withhold -        Attorney Client
               MPD_00000044                                                                                  (mkalin@travelers om             (mkalin@travelers               copy of the NERA Privileged          Communication
                                                                                                             .com)                            .com)                           Report and
                                                                                                                                                                              Raymond James'
                                                                                                                                                                              Proof of Loss.
                                                                                                                                                                              Discussion of the
                                                                                                                                                                              SEC Federal Court
                                                                                                                                                                              Case 1:16-cv-
                                                                                                                                                                              21301 and the
                                                                                                                                                                              testimony
                                                                                                                                                                              transcripts and
                                                                                                                                                                              declarations.


MPD_00000084                                           5/30/18 11:31   RE: Raymond                           Kalin,Matthew C Cheryl L. Soltis    Kalin,Matthew C              Discussion       Withhold -          Attorney Client
                                                                       James Financial,                      (mkalin@travelers (csoltis@mpdlegal (mkalin@travelers            regarding the    Privileged          Communication
                                                                       Inc.: Raymond                         .com)             .com)             .com)                        claim number and
                                                                       James Financial,                                                                                       billing.
                                                                       Inc. - MPD File no.
                                                                       118189
MPD_00000083                                           5/30/18 11:41   RE: Raymond                           Cheryl L. Soltis  Kalin,Matthew C                                Discussion       Withhold -          Attorney Client
                                                                       James Financial,                      (csoltis@mpdlegal (mkalin@travelers                              regarding the    Privileged          Communication
                                                                       Inc.: Raymond                         .com)             .com)                                          claim number and
                                                                       James Financial,                                                                                       billing.
                                                                       Inc. - MPD File no.
                                                                       118189
MPD_00000168   MPD_00000169;                           6/4/18 17:40    RE: Raymond         [redacted]        Kalin,Matthew C Brandon Held       Kalin,Matthew C               Email providing     Withhold -       Attorney Client
               MPD_00000170;                                           James Financial,                      (mkalin@travelers (bheld@mpdlegal. (mkalin@travelers             the Chubb Primary   Privileged       Communication
               MPD_00000171                                            Inc. -: Raymond                       .com)             com)             .com)                         Bond and
                                                                       James                                                                                                  Travelers' Excess
                                                                                                                                                                              Bond.
MPD_00000148   MPD_00000149                            6/5/18 16:16    Raymond James        [redacted]       Cheryl L. Soltis  Kalin,Matthew C                                Email providing     Withhold -       Attorney Client
                                                                       Financial, Inc. -:                    (csoltis@mpdlegal (mkalin@travelers                              MPD Invoice for     Privileged       Communication
                                                                       [redacted]                            .com)             .com)                                          May 2018




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MPD_00000051   MPD_00000052                            6/8/18 10:18    RE: Raymond           [redacted]      Kalin,Matthew C bheld@mpdlegal.c Kalin,Matthew C       Email providing a Withhold -             Attorney Client
                                                                       James                                 (mkalin@travelers om             (mkalin@travelers     copy of the Joel    Privileged           Communication
                                                                                                             .com)                            .com)                 Burstein SEC depo
                                                                                                                                                                    that was filed as
                                                                                                                                                                    part of a filing in
                                                                                                                                                                    the SEC Federal
                                                                                                                                                                    Court Case 1:16-cv-
                                                                                                                                                                    21301.

MPD_00000175   MPD_00000176                            6/8/18 11:58    Raymond James         [redacted]      Kalin,Matthew C smills@mpdlegal.c Kalin,Matthew C      Email providing         Withhold -       Attorney Client
                                                                                                             (mkalin@travelers om              (mkalin@travelers    Travelers formal        Privileged       Communication
                                                                                                             .com)                             .com)                retention letter to
                                                                                                                                                                    MPD and
                                                                                                                                                                    requesting a
                                                                                                                                                                    budget.
MPD_00000053                                           6/8/18 12:20    Raymond James                         Kalin,Matthew C bheld@mpdlegal.c Kalin,Matthew C       Email advising that     Withhold -       Attorney Client
                                                                                                             (mkalin@travelers om             (mkalin@travelers     MPD would be            Privileged       Communication
                                                                                                             .com)                            .com); Luong,Hung     receiving a
                                                                                                                                              T                     separate email
                                                                                                                                              (hluong@travelers     with a link to
                                                                                                                                              .com)                 Travelers' claim
                                                                                                                                                                    file documents.
MPD_00000004   MPD_00000005;                           6/8/18 12:41    RE: Raymond           [redacted]      Luong,Hung T      bheld@mpdlegal.c Kalin,Matthew C     Email providing         Withhold -       Attorney Client
               MPD_00000006                                            James - Claim #                       (Travelers)       om               (mkalin@travelers   link to Travelers'      Privileged       Communication
                                                                       T1606665                                                                 .com)               claim file
                                                                                                                                                                    documents for
                                                                                                                                                                    download.
MPD_00000150   MPD_00000151                            6/8/18 16:26    RE: Raymond           [redacted]      Kalin,Matthew C Ryan J. Weeks     Kalin,Matthew C      Email exchange          Withhold -       Attorney Client
                                                                       James Financial,                      (mkalin@travelers (rweeks@mpdlega (mkalin@travelers    addressing the          Privileged       Communication
                                                                       Inc. -: [redacted]                    .com)             l.com)          .com)                layers of
                                                                                                                                                                    insurance, the
                                                                                                                                                                    initial notice letter
                                                                                                                                                                    from the
                                                                                                                                                                    insurance broker,
                                                                                                                                                                    and the other
                                                                                                                                                                    insurance policies.

MPD_00000048                                           6/11/18 15:39   Raymond James                         Ryan J. Weeks   Mekler,Kevin M    Kalin,Matthew C      Email providing         Withhold -       Attorney Client
                                                                       Financial, Inc. -:                    (rweeks@mpdlega (kmekler@traveler (mkalin@travelers    MPD's initial           Privileged       Communication
                                                                       [redacted]                            l.com)          s.com)            .com); Seth Mills    budget.
                                                                                                                                               (smills@mpdlegal.
                                                                                                                                               com); Brandon
                                                                                                                                               Held
                                                                                                                                               (bheld@mpdlegal.
                                                                                                                                               com)

MPD_00000555                   TRAVELERS_ TRAVELERS_0 6/14/18 8:34     RE: Confidentiality                   Kalin,Matthew C Scott Schmookler Kalin,Matthew C       Email regarding         Produce - with   Common Interest
                               00004640   0004641                      Agreement                             (mkalin@travelers (sschmookler@grs (mkalin@travelers   confidentiality         Redactions
                                                                                                             .com)             m.com)           .com)               agreement.

MPD_00000568   MPD_00000568    TRAVELERS_ TRAVELERS_0 6/14/18 8:57     RE: Confidentiality RE: Confidentiality Scott Schmookler Kalin,Matthew C                     Email regarding         Produce - with   Common Interest
                               00004782   0004784                      Agreement           Agreement           (sschmookler@grs (mkalin@travelers                   confidentiality         Redactions
                                                                                                               m.com)           .com)                               agreement.




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MPD_00000063   MPD_00000064                           6/18/18 11:55   RE: Raymond           [redacted]        Kalin,Matthew C Brandon Held       Kalin,Matthew C                    Email addressing Withhold -         Attorney Client
               thru                                                   James Financial,                        (mkalin@travelers (bheld@mpdlegal. (mkalin@travelers                  insurance agent's Privileged        Communication
               MPD_00000069                                           Inc. -:                                 .com)             com)             .com)                              notice to Travelers
                                                                                                                                                                                    and the other
                                                                                                                                                                                    insurers and
                                                                                                                                                                                    questions about
                                                                                                                                                                                    link to Travelers'
                                                                                                                                                                                    claim file
                                                                                                                                                                                    documents.


MPD_00000560                  TRAVELERS_ TRAVELERS_0 6/21/18 12:32    RE: Confidentiality                     Kalin,Matthew C Scott Schmookler Kalin,Matthew C                      Email regarding    Produce - with   Common Interest
                              00004761   0004763                      Agreement                               (mkalin@travelers (sschmookler@grs (mkalin@travelers                  confidentiality    Redactions
                                                                                                              .com)             m.com)           .com)                              agreement.

MPD_00000561                  TRAVELERS_ TRAVELERS_0 6/21/18 13:03    RE: Confidentiality                     Scott Schmookler Kalin,Matthew C                                      Email regarding    Produce - with   Common Interest
                              00004764   0004766                      Agreement                               (sschmookler@grs (mkalin@travelers                                    confidentiality    Redactions
                                                                                                              m.com)           .com)                                                agreement.

MPD_00000605                                          6/21/18 14:14   Raymond James                           Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M                        Email discussing   Withhold -       Attorney Client
                                                                      Financial, Inc. -:                      (rweeks@mpdlega (mkalin@travelers (kmekler@traveler                   documents to       Privileged       Communication
                                                                      [redacted]                              l.com)          .com)             s.com); Seth Mills                  request from
                                                                                                                                                (smills@mpdlegal.                   Raymond James.
                                                                                                                                                com)

MPD_00000049   MPD_00000050                           6/22/18 12:21   Raymond James         [redacted]        Cheryl L. Soltis  Kalin,Matthew C Mekler,Kevin M                      Email providing  Withhold -         Attorney Client
                                                                      Financial, Inc. -:                      (csoltis@mpdlegal (mkalin@travelers (kmekler@traveler                 letter about     Privileged         Communication
                                                                      Raymond James                           .com)             .com)             s.com); Seth Mills                source documents
                                                                      Financial, Inc. -                                                           (smills@mpdlegal.                 MPD reviewed.
                                                                      Claim no.                                                                   com); Ryan J.
                                                                      T1606665 -                                                                  Weeks
                                                                      [redacted]                                                                  (rweeks@mpdlega
                                                                                                                                                  l.com)

MPD_00000630   MPD_00000631   TRAVELERS_ TRAVELERS_0 6/22/18 16:46    FW: Raymond           Raymond James Kalin,Matthew C        Mekler,Kevin M     Kalin,Matthew C Sarah Riedl     Email attaching    Produce - with   Attorney Client
                              00005053   0005057                      James: Ltr            Ltr re           (mkalin@travelers   (kmekler@traveler (mkalin@travelers                and discussing     Redactions       Communication
                                                                      requesting            Documentation.do .com)               s.com); Seth Mills .com)                           Schmookler's draft
                                                                      Documentation         cx                                   (smills@mpdlegal.                                  letter to Raymond
                                                                                                                                 com); Ryan J.                                      James requesting
                                                                                                                                 Weeks                                              additional
                                                                                                                                 (rweeks@mpdlega                                    information.
                                                                                                                                 l.com)

MPD_00000602   MPD_00000603                           6/25/18 9:26    Raymond James         [redacted].docx   Seth Mills        Kalin,Matthew C Ryan J. Weeks     Sarah Riedl       Email converying Withhold -         Attorney Client
                                                                      Financial, Inc. -:                      (smills@mpdlegal. (mkalin@travelers (rweeks@mpdlega                   redline version of Privileged       Communication
                                                                                                              com)              .com);            l.com)                            Proposed Letter
                                                                                                                                Mekler,Kevin M                                      Requesting
                                                                                                                                (kmekler@traveler                                   Additional
                                                                                                                                s.com)                                              Materials from
                                                                                                                                                                                    Raymond James.




MPD_00000615   MPD_00000616                           6/25/18 10:31   RE: Raymond           [redacted].docx   Kalin,Matthew C Seth Mills            Ryan J. Weeks     Sarah Riedl   Email regarding    Withhold -       Attorney Client
                                                                      James Financial,                        (mkalin@travelers (smills@mpdlegal.   (rweeks@mpdlega                 draft letter       Privileged       Communication
                                                                      Inc. -:                                 .com)             com);               l.com);                         requesting
                                                                                                                                Mekler,Kevin M      Kalin,Matthew C                 documents from
                                                                                                                                (kmekler@traveler   (mkalin@travelers               Raymond James.
                                                                                                                                s.com)              .com)




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MPD_00000617                                           6/25/18 14:50   RE: Raymond                          Ryan J. Weeks   Kalin,Matthew C                         Email regarding      Withhold -   Attorney Client
                                                                       James Financial,                     (rweeks@mpdlega (mkalin@travelers                       draft letter         Privileged   Communication
                                                                       Inc. -:                              l.com)          .com); Seth Mills                       requesting
                                                                                                                            (smills@mpdlegal.                       documents from
                                                                                                                            com);                                   Raymond James.
                                                                                                                            Mekler,Kevin M
                                                                                                                            (kmekler@traveler
                                                                                                                            s.com)

MPD_00000087                                           6/28/18 12:22   RE: Raymond                          Kalin,Matthew C Seth Mills          Kalin,Matthew C     Email discussing Withhold -       Attorney Client
                                                                       James: [redacted]                    (mkalin@travelers (smills@mpdlegal. (mkalin@travelers   strategy for the    Privileged    Communication
                                                                                                            .com)             com); Ryan J.     .com)               insurer group call,
                                                                                                                              Weeks                                 the revised letter
                                                                                                                              (rweeks@mpdlega                       on the document
                                                                                                                              l.com)                                requests to
                                                                                                                                                                    Raymond James,
                                                                                                                                                                    and thoughts on
                                                                                                                                                                    the draft letter.


MPD_00000633                   TRAVELERS_ TRAVELERS_0 6/28/18 12:22    RE: Raymond                          Kalin,Matthew C Seth Mills          Kalin,Matthew C     Email discussing Produce - with   Attorney Client
                               00005062   0005064                      James: Revised                       (mkalin@travelers (smills@mpdlegal. (mkalin@travelers   Schmookler's         Redactions   Communication
                                                                       Letter                               .com)             com); Ryan J.     .com)               revised draft letter
                                                                                                                              Weeks                                 to Raymond James
                                                                                                                              (rweeks@mpdlega                       requesting
                                                                                                                              l.com)                                additional
                                                                                                                                                                    information.

MPD_00000197                                           7/13/18 9:47    Raymond James                        Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M          Email providing      Withhold -   Attorney Client
                                                                       Financial, Inc. -:                   (rweeks@mpdlega (mkalin@travelers (kmekler@traveler     link to public       Privileged   Communication
                                                                       [redacted]                           l.com)          .com)             s.com); Seth Mills    record Jay Peak
                                                                                                                                              (smills@mpdlegal.     documents from
                                                                                                                                              com)                  the State of
                                                                                                                                                                    Vermont.
MPD_00000101   MPD_00000102;                           7/13/18 10:22   Raymond James        [redacted]      Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M          Email providing      Withhold -   Attorney Client
               MPD_00000103                                            Financial, Inc. -:                   (rweeks@mpdlega (mkalin@travelers (kmekler@traveler     information about    Privileged   Communication
                                                                       [redacted]                           l.com)          .com)             s.com); Seth Mills    strategy for
                                                                                                                                              (smills@mpdlegal.     completing public
                                                                                                                                              com)                  records request to
                                                                                                                                                                    the SEC.

MPD_00000122   MPD_00000123                            8/6/18 11:47    FW:               [redacted]         Kalin,Matthew C Ryan J. Weeks       Seth Mills          Email providing      Withhold -   Attorney Client
                                                                       Acknowledgement                      (mkalin@travelers (rweeks@mpdlega (smills@mpdlegal.     the SEC's            Privileged   Communication
                                                                       Letter [redacted]                    .com)             l.com)            com);               acknowledgment
                                                                                                                                                Mekler,Kevin M      letter to Travelers'
                                                                                                                                                (kmekler@traveler   FOIA request.
                                                                                                                                                s.com);
                                                                                                                                                Kalin,Matthew C
                                                                                                                                                (mkalin@travelers
                                                                                                                                                .com)
MPD_00000077                                           8/13/18 12:07   RE: [redacted]                       Kalin, Matthew C Seth Mills                             Email chain         Withhold -    Attorney Client
                                                                                                            (mkalin@travelers (smills@mpdlegal.                     discussing strategy Privileged    Communication
                                                                                                            .com)             com); Ryan J.                         for the SEC's
                                                                                                                              Weeks                                 denial of
                                                                                                                              (rweeks@mpdlega                       Travelers' FOIA
                                                                                                                              l.com);                               request.
                                                                                                                              Mekler,Kevin M
                                                                                                                              (kmekler@traveler
                                                                                                                              s.com)




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MPD_00000666   MPD_00000667;   TRAVELERS_ TRAVELERS_0 8/15/18 10:54    RE: Raymond          (DRAFT) FOIA       Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M       Ryan J. Weeks;   Email regarding     Produce - with   Attorney Client
               MPD_00000668    00005124   0005130                      James Financial,     Appeal.docx; 18-   (rweeks@mpdlega (mkalin@travelers (kmekler@traveler webbd             draft SEC FOIA      Redactions       Communication
                                                                       Inc. -: 18-02717-    02717-FOIA (Jay    l.com)          .com)             s.com); Seth Mills                  appeal letter.
                                                                       FOIA (Jay Peak,      Peak, Inc.).pdf                                      (smills@mpdlegal.
                                                                       Inc.)                                                                     com);
                                                                                                                                                 Mekler,Kevin M
                                                                                                                                                 (kmekler@traveler
                                                                                                                                                 s.com)

MPD_00000695   MPD_00000696;   TRAVELERS_ TRAVELERS_0 8/16/18 14:02    FW: Raymond          (DRAFT) FOIA       Kalin,Matthew C Sondak,Robyn L. Kalin,Matthew C Ryan J. Weeks;        Email regarding     Produce - with   Attorney Client
               MPD_00000697    00005973   0005979                      James Financial,     Appeal.docx; 18-   (mkalin@travelers (rsondak@traveler (mkalin@travelers webbd           SEC FOIA Appeal     Redactions       Communication
                                                                       Inc. -: 18-02717-    02717-FOIA (Jay    .com)             s.com)            .com)                             letter.                              Work Product
                                                                       FOIA (Jay Peak,      Peak, Inc.).pdf
                                                                       Inc.)
MPD_00000699                   TRAVELERS_ TRAVELERS_0 8/16/18 14:49    RE: Raymond                             Sondak,Robyn L. Kalin,Matthew C                                       Email regarding     Produce - with   Attorney Client
                               00005985   0005989                      James Financial,                        (rsondak@traveler (mkalin@travelers                                   SEC FOIA Appeal     Redactions       Communication
                                                                       Inc. -: 18-02717-                       s.com)            .com)                                               letter.                              Work Product
                                                                       FOIA (Jay Peak,
                                                                       Inc.)
MPD_00000698                   TRAVELERS_ TRAVELERS_0 8/16/18 15:13    FW: Raymond                             Kalin,Matthew C Mekler,Kevin M      Kalin,Matthew C                   Email regarding     Produce - with   Attorney Client
                               00005980   0005984                      James Financial,                        (mkalin@travelers (kmekler@traveler (mkalin@travelers                 SEC FOIA Appeal     Redactions       Communication
                                                                       Inc. -: 18-02717-                       .com)             s.com)            .com)                             letter.                              Work Product
                                                                       FOIA (Jay Peak,
                                                                       Inc.)
MPD_00000669                   TRAVELERS_ TRAVELERS_0 8/16/18 15:30    RE: Raymond                             Kalin,Matthew C Ryan J. Weeks     Mekler,Kevin M                      Email regarding     Produce - with   Attorney Client
                               00005131   0005135                      James Financial,                        (mkalin@travelers (rweeks@mpdlega (kmekler@traveler                   draft SEC FOIA      Redactions       Communication
                                                                       Inc. -: 18-02717-                       .com)             l.com)          s.com); Seth Mills                  appeal letter.
                                                                       FOIA (Jay Peak,                                                           (smills@mpdlegal.
                                                                       Inc.)                                                                     com);
                                                                                                                                                 Kalin,Matthew C
                                                                                                                                                 (mkalin@travelers
                                                                                                                                                 .com)

MPD_00000670                   TRAVELERS_ TRAVELERS_0 8/16/18 15:33    RE: Raymond                             Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M                        Email regarding     Produce - with   Attorney Client
                               00005136   0005140                      James Financial,                        (rweeks@mpdlega (mkalin@travelers (kmekler@traveler                   draft SEC FOIA      Redactions       Communication
                                                                       Inc. -: 18-02717-                       l.com)          .com)             s.com); Seth Mills                  appeal letter.
                                                                       FOIA (Jay Peak,                                                           (smills@mpdlegal.
                                                                       Inc.)                                                                     com)

MPD_00000075                                           8/16/18 16:16   RE: Raymond                             Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M                        Email chain         Withhold -       Attorney Client
                                                                       James Financial,                        (rweeks@mpdlega (mkalin@travelers (kmekler@traveler                   discussing the      Privileged       Communication
                                                                       Inc. -: [redacted]                      l.com)          .com)             s.com); Seth Mills                  submission of the
                                                                                                                                                 (smills@mpdlegal.                   appeal to the
                                                                                                                                                 com)                                SEC's denial of
                                                                                                                                                                                     Travelers' FOIA
                                                                                                                                                                                     request.
MPD_00000661   MPD_00000662    TRAVELERS_ TRAVELERS_0 8/17/18 11:04    FW: APPEAL      APPEAL          Kalin,Matthew C Ryan J. Weeks                 Kalin,Matthew C webbd           Email regarding     Produce - with   Attorney Client
                               00005115   0005116                      Acknowledgement Acknowledgement (mkalin@travelers (rweeks@mpdlega             (mkalin@travelers               SEC FOIA Appeal     Redactions       Communication
                                                                       Letter          Letter.pdf      .com)             l.com); Seth Mills          .com);                          letter.
                                                                                                                         (smills@mpdlegal.           Mekler,Kevin M
                                                                                                                         com)                        (kmekler@traveler
                                                                                                                                                     s.com)




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MPD_00000061   MPD_00000062                            8/22/18 15:11    FW: Raymond       [redacted]         Kalin,Matthew C Seth Mills            Kalin,Matthew C      Email providing     Withhold -    Attorney Client
                                                                        James: [redacted]                    (mkalin@travelers (smills@mpdlegal.   (mkalin@travelers    Scott               Privileged    Communication
                                                                                                             .com)             com); Ryan J.       .com);               Schmookler's July
                                                                                                                               Weeks               Mekler,Kevin M       2, 2018 letter and
                                                                                                                               (rweeks@mpdlega     (kmekler@traveler    information about
                                                                                                                               l.com)              s.com)               the call with Jason
                                                                                                                                                                        Mazer.


MPD_00000182   MPD_00000183;                           9/7/18 11:41     Raymond James        [redacted]      Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M             Email providing    Withhold -     Attorney Client
               MPD_00000184                                             Financial, Inc. -:                   (rweeks@mpdlega (mkalin@travelers (kmekler@traveler        information about Privileged      Communication
                                                                        [redacted]                           l.com)          .com)             s.com); Seth Mills       the SEC filing a
                                                                                                                                               (smills@mpdlegal.        complaint against
                                                                                                                                               com)                     Joel Burstein, the
                                                                                                                                                                        related consent
                                                                                                                                                                        Final Judgment,
                                                                                                                                                                        and strategy
                                                                                                                                                                        related to SEC's
                                                                                                                                                                        denial of
                                                                                                                                                                        Travelers' FOIA
                                                                                                                                                                        request.


MPD_00000180   MPD_00000181                            9/11/18 14:41    RE: Raymond          [redacted]      Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M             Email providing      Withhold -   Attorney Client
                                                                        James Financial,                     (rweeks@mpdlega (mkalin@travelers (kmekler@traveler        the SEC's letter     Privileged   Communication
                                                                        Inc. -: [redacted]                   l.com)          .com)             s.com); Seth Mills       response to the
                                                                                                                                               (smills@mpdlegal.        Travelers' FOIA
                                                                                                                                               com)                     request and the
                                                                                                                                                                        7(A) exemption.
MPD_00000115   MPD_00000116                            9/20/18 9:49     RE: Raymond          [redacted]      Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M             Email providing      Withhold -   Attorney Client
                                                                        James Financial,                     (rweeks@mpdlega (mkalin@travelers (kmekler@traveler        the consent Final    Privileged   Communication
                                                                        Inc. -: [redacted]                   l.com)          .com)             s.com); Seth Mills       Judgment in the
                                                                                                                                               (smills@mpdlegal.        SEC's case against
                                                                                                                                               com)                     Joel Burstein.

MPD_00000664                   TRAVELERS_ TRAVELERS_0 10/15/18 9:34     FW: Raymond                          Kalin,Matthew C Seth Mills            Kalin,Matthew C      Email regarding  Produce - with   Attorney Client
                               00005120   0005121                       James                                (mkalin@travelers (smills@mpdlegal.   (mkalin@travelers    requests for     Redactions       Communication
                                                                                                             .com)             com); Ryan J.       .com);               additional
                                                                                                                               Weeks               Mekler,Kevin M       information from
                                                                                                                               (rweeks@mpdlega     (kmekler@traveler    Raymond James.
                                                                                                                               l.com)              s.com)
MPD_00000172   MPD_00000173;                           10/22/18 16:06   RE: Raymond          [redacted]      Ryan J. Weeks     Kalin,Matthew C     Mekler,Kevin M       Email providing      Withhold -   Attorney Client
               MPD_00000174                                             James Financial,                     (rweeks@mpdlega (mkalin@travelers     (kmekler@traveler    the Receiver's       Privileged   Communication
                                                                        Inc. -: [redacted]                   l.com)            .com)               s.com); Seth Mills   Motion to
                                                                                                                                                   (smills@mpdlegal.    Approve
                                                                                                                                                   com)                 Settlement with
                                                                                                                                                                        Ariel Quiros and
                                                                                                                                                                        Order granting the
                                                                                                                                                                        same and
                                                                                                                                                                        discussion of
                                                                                                                                                                        settlement.
MPD_00000619                                           10/22/18 17:30   RE: Raymond                          Seth Mills        Kalin,Matthew C Mekler,Kevin M           Email discussing     Withhold -   Attorney Client
                                                                        James Financial,                     (smills@mpdlegal. (mkalin@travelers (kmekler@traveler      Quiros' settlement   Privileged   Communication
                                                                        Inc. -: [redacted]                   com)              .com)             s.com); Ryan J.        with the Receiver.
                                                                                                                                                 Weeks
                                                                                                                                                 (rweeks@mpdlega
                                                                                                                                                 l.com)




                                                                                                            10 of 30
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MPD_00000078                             11/1/18 11:58    RE: Raymond                               Kalin,Matthew C Ryan J. Weeks         Seth Mills                            Email exchange     Withhold -       Attorney Client
                                                          James Financial,                          (mkalin@travelers (rweeks@mpdlega     (smills@mpdlegal.                     about a revised    Privileged       Communication
                                                          Inc. -: [redacted]                        .com)             l.com);             com);                                 MPD budget.
                                                                                                                      Mekler,Kevin M      Kalin,Matthew C
                                                                                                                      (kmekler@traveler   (mkalin@travelers
                                                                                                                      s.com)              .com)
MPD_00000618                             11/2/18 9:30     RE: Raymond                               Kalin,Matthew C Cheryl L. Soltis      Ryan J. Weeks                         Email regarding    Withhold -       Attorney Client
                                                          James Financial,                          (mkalin@travelers (csoltis@mpdlegal   (rweeks@mpdlega                       client budget      Privileged       Communication
                                                          Inc. -: [redacted]                        .com)             .com)               l.com);                               request.
                                                                                                                                          Kalin,Matthew C
                                                                                                                                          (mkalin@travelers
                                                                                                                                          .com)
MPD_00000001                             11/5/18 9:36                          6.22.18 letter                                                                                   Letter about     Withhold -         Attorney Client
                                                                               from MPD                                                                                         source documents Privileged         Communication
                                                                               [redacted].pdf                                                                                   MPD reviewed
                                                                                                                                                                                located on a
                                                                                                                                                                                thumb drive.

MPD_00000016                             11/20/18 8:38    Raymond James                             Kalin,Matthew C Ryan J. Weeks     Kalin,Matthew C                           Email requesting Withhold -         Attorney Client
                                                                                                    (mkalin@travelers (rweeks@mpdlega (mkalin@travelers                         status of        Privileged         Communication
                                                                                                    .com)             l.com)          .com);                                    document review.
                                                                                                                                      Mekler,Kevin M
                                                                                                                                      (kmekler@traveler
                                                                                                                                      s.com); Seth Mills
                                                                                                                                      (smills@mpdlegal.
                                                                                                                                      com)

MPD_00000015                             11/20/18 9:12    RE: Raymond                               Kalin,Matthew C Ryan J. Weeks     Mekler,Kevin M                            Email exchange    Withhold -        Attorney Client
                                                          James Financial,                          (mkalin@travelers (rweeks@mpdlega (kmekler@traveler                         discussing MPD's Privileged         Communication
                                                          Inc. -: Raymond                           .com)             l.com)          s.com); Seth Mills                        internal
                                                          James                                                                       (smills@mpdlegal.                         impressions about
                                                                                                                                      com);                                     the documents
                                                                                                                                      Kalin,Matthew C                           Raymond James
                                                                                                                                      (mkalin@travelers                         produced and
                                                                                                                                      .com)                                     MPD's review and
                                                                                                                                                                                thoughts re same.


MPD_00000637     TRAVELERS_ TRAVELERS_0 12/18/18 16:11    RE: Raymond                               Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M                              Email discussing   Produce - with   Attorney Client
                 00005073   0005076                       James Financial,                          (rweeks@mpdlega (mkalin@travelers (kmekler@traveler                         Schmookler's       Redactions       Communication
                                                          Inc. -: Raymond                           l.com)          .com); Seth Mills s.com)                                    proposed ESI
                                                          James: Proposed                                           (smills@mpdlegal.                                           searches
                                                          ESI Searches                                              com)

MPD_00000283                             12/19/18 13:11                        Raymond James                                                                  Kalin,Matthew C   Memo addressing Withhold -          Work Product
                                                                               [redacted].docx                                                                                  recap of events  Privileged
                                                                                                                                                                                through
                                                                                                                                                                                December 2018
                                                                                                                                                                                and an update to
                                                                                                                                                                                the file on the
                                                                                                                                                                                claim
                                                                                                                                                                                investigation.

MPD_00000604                             12/20/18 10:37   Raymond James                             Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M                              Email containing Withhold -         Attorney Client
                                                          Financial, Inc. -:                        (rweeks@mpdlega (mkalin@travelers (kmekler@traveler                         link to encrypted Privileged        Communication
                                                          Attorney-                                 l.com)          .com)             s.com); Seth Mills                        message with link
                                                          Client/Work                                                                 (smills@mpdlegal.                         to MPD
                                                          Product Privileged                                                          com)                                      Memorandum.




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MPD_00000621                                          12/20/18 10:37   [redacted]                           Ryan Weeks         Kalin,Matthew C                          Email regarding Withhold -          Attorney Client
                                                                                                            (mail@sf-          (mkalin@travelers                        transmittal of  Privileged          Communication
                                                                                                            notifications.com) .com)                                    documents (MPD
                                                                                                                                                                        Memorandum) via
                                                                                                                                                                        ShareFile.

MPD_00000620                                          12/20/18 13:22   [redacted]                           ShareFile Support Kalin,Matthew C                           Email regarding   Withhold -        Attorney Client
                                                                                                            (mail@sf-          (mkalin@travelers                        ShareFile account Privileged        Communication
                                                                                                            notifications.com) .com)                                    setup for
                                                                                                                                                                        download of
                                                                                                                                                                        documents (MPD
                                                                                                                                                                        Memorandum).

MPD_00000663                  TRAVELERS_ TRAVELERS_0 12/23/18 12:29    FW: Raymond                          Kalin,Matthew C Ryan J. Weeks     Mekler,Kevin M            Email regarding   Produce - with    Attorney Client
                              00005117   0005119                       James: ESI                           (mkalin@travelers (rweeks@mpdlega (kmekler@traveler         ESI searches.     Redactions        Communication
                                                                       Searches                             .com)             l.com); Seth Mills
                                                                                                                                              s.com);
                                                                                                                              (smills@mpdlegal.
                                                                                                                                              Kalin,Matthew C
                                                                                                                              com)            (mkalin@travelers
                                                                                                                                              .com)
MPD_00000638                  TRAVELERS_ TRAVELERS_0 1/3/19 10:20      RE: Raymond                          Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M              Email discussing Produce - with     Attorney Client
                              00005077   0005079                       James Financial,                     (rweeks@mpdlega (mkalin@travelers (kmekler@traveler         Schmookler's     Redactions         Communication
                                                                       Inc. -: Raymond                      l.com)          .com); Seth Mills s.com); Cheryl L.         proposed ESI
                                                                       James: Proposed                                      (smills@mpdlegal. Soltis                    searches and the
                                                                       ESI Searches                                         com)              (csoltis@mpdlegal         upcoming
                                                                                                                                              .com)                     1/8/2020 meeting
                                                                                                                                                                        with insurers.

MPD_00000639                  TRAVELERS_ TRAVELERS_0 1/3/19 12:36      RE: Raymond                          Ryan J. Weeks   Kalin,Matthew C         Mekler,Kevin M      Email discussing Produce - with     Attorney Client
                              00005080   0005083                       James Financial,                     (rweeks@mpdlega (mkalin@travelers       (kmekler@traveler   Schmookler's     Redactions         Communication
                                                                       Inc. -: Raymond                      l.com)          .com); Seth Mills       s.com); Cheryl L.   proposed ESI
                                                                       James: Proposed                                      (smills@mpdlegal.       Soltis              searches and the
                                                                       ESI Searches                                         com)                    (csoltis@mpdlegal   upcoming
                                                                                                                                                    .com)               1/8/2020 meeting
                                                                                                                                                                        with insurers.

MPD_00000628   MPD_00000629   TRAVELERS_ TRAVELERS_0 1/29/19 15:25     FW: Raymond        Letter to Raymond Kalin,Matthew C     Seth Mills          Mekler,Kevin M      Email attaching    Produce - with   Attorney Client
                              00005048   0005052                       James: Draft       James re          (mkalin@travelers   (smills@mpdlegal.   (kmekler@traveler   and discussing     Redactions       Communication
                                                                       Letter with        Additional        .com)               com); Ryan J.       s.com);             Schmookler's draft
                                                                       Requests           Documents                             Weeks               Kalin,Matthew C     letter to Raymond
                                                                                          Requested (Jan                        (rweeks@mpdlega     (mkalin@travelers   James requesting
                                                                                          2019)(413....docx                     l.com)              .com)               additional
                                                                                                                                                                        information.

MPD_00000634                  TRAVELERS_ TRAVELERS_0 1/29/19 15:26     RE: Raymond                          Ryan J. Weeks   Kalin,Matthew C Mekler,Kevin M              Email discussing Produce - with     Attorney Client
                              00005065   0005066                       James Financial,                     (rweeks@mpdlega (mkalin@travelers (kmekler@traveler         Schmookler's         Redactions     Communication
                                                                       Inc. -: Raymond                      l.com)          .com); Seth Mills s.com)                    revised draft letter
                                                                       James: Draft                                         (smills@mpdlegal.                           to Raymond James
                                                                       Letter with                                          com)                                        requesting
                                                                       Requests                                                                                         additional
                                                                                                                                                                        information.




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MPD_00000635   MPD_00000636    TRAVELERS_ TRAVELERS_0 1/31/19 12:26   RE: Raymond          (MPD Redline)      Ryan J. Weeks    Kalin,Matthew C Mekler,Kevin M                            Email attaching      Produce - with   Attorney Client
                               00005067   0005072                     James Financial,     Letter to Raymond (rweeks@mpdlega   (mkalin@travelers (kmekler@traveler                       MPD redlined         Redactions       Communication
                                                                      Inc. -: Raymond      James re           l.com)           .com); Seth Mills s.com)                                  version of
                                                                      James: Draft         Additional                          (smills@mpdlegal.                                         Schmookler's
                                                                      Letter with          Documents                           com)                                                      revised draft letter
                                                                      Requests             Requested ....docx                                                                            to Raymond James
                                                                                                                                                                                         requesting
                                                                                                                                                                                         additional
                                                                                                                                                                                         information.

MPD_00000700   MPD_00000701    TRAVELERS_ TRAVELERS_0 4/3/19 20:23    [External] FW:       Proposed Tolling   Scott Schmookler Stephen Dratch       kenneth.west@ch Kathleen M. Shaw Email regarding    Produce - with         Common Interest
                               00005990   0005995                     Raymond James        Agreement.docx     (sschmookler@grs (sdratch@njcouns     ubb.com; Sarah                   tolling agreement. Redactions
                                                                                                              m.com)            el.com); O'Brien,   Riedl
                                                                                                                                Jason               (sriedl@grsm.com
                                                                                                                                (jobrien@wileyrei   )
                                                                                                                                n.com)
                                                                                                                                (jobrien@wileyrei
                                                                                                                                n.com);
                                                                                                                                Kalin,Matthew C
                                                                                                                                (mkalin@travelers
                                                                                                                                .com)
MPD_00000676   MPD_00000677    TRAVELERS_ TRAVELERS_0 4/4/19 8:16     FW: [External] FW: Proposed Tolling     Kalin,Matthew C Seth Mills            Mekler,Kevin M    Kathleen M. Shaw   Email regarding    Produce - with     Attorney Client
                               00005162   0005167                     Raymond James Agreement.docx            (mkalin@travelers (smills@mpdlegal.   (kmekler@traveler                    tolling agreement. Redactions         Communication;C
                                                                                                              .com)             com); Ryan J.       s.com);                                                                    ommon Interest
                                                                                                                                Weeks               Kalin,Matthew C
                                                                                                                                (rweeks@mpdlega     (mkalin@travelers
                                                                                                                                l.com)              .com)
MPD_00000671                   TRAVELERS_ TRAVELERS_0 4/4/19 10:43    [External] RE:                          Ryan J. Weeks     Kalin,Matthew C     Mekler,Kevin M                       Email regarding    Produce - with     Attorney Client
                               00005141   0005143                     Raymond James                           (rweeks@mpdlega (mkalin@travelers     (kmekler@traveler                    tolling agreement. Redactions         Communication;C
                                                                      Financial, Inc. -:                      l.com)            .com); Seth Mills   s.com)                                                                     ommon Interest
                                                                      FW: Raymond                                               (smills@mpdlegal.
                                                                      James                                                     com)

MPD_00000702   MPD_00000703    TRAVELERS_ TRAVELERS_0 4/4/19 11:37    [External]         TOLLING         Scott Schmookler O'Brien, Jason            Sarah Riedl                          Email regarding    Produce - with     Common Interest
                               00005996   0006005                     Raymond James:     AGREEMENT(4449 (sschmookler@grs (jobrien@wileyrei          (sriedl@grsm.com                     tolling agreement. Redactions
                                                                      Revised Tolling    8948.1).docx    m.com)            n.com);                  ); West, Kenneth
                                                                      Agreement                                            Kalin,Matthew C          M
                                                                                                                           (mkalin@travelers        (kwest@chubb.co
                                                                                                                           .com); Stephen           m)
                                                                                                                           Dratch
                                                                                                                           (sdratch@njcouns
                                                                                                                           el.com)
MPD_00000672                   TRAVELERS_ TRAVELERS_0 4/4/19 12:34    [External] RE:                     Seth Mills        Ryan J. Weeks            Mekler,Kevin M                       Email regarding    Produce - with     Attorney Client
                               00005144   0005146                     Raymond James                      (smills@mpdlegal. (rweeks@mpdlega          (kmekler@traveler                    tolling agreement. Redactions         Communication;C
                                                                      Financial, Inc. -:                 com)              l.com);                  s.com)                                                                     ommon Interest
                                                                      FW: Raymond                                          Kalin,Matthew C
                                                                      James                                                (mkalin@travelers
                                                                                                                           .com)
MPD_00000687   MPD_00000688;   TRAVELERS_ TRAVELERS_0 4/4/19 12:38    RE: [External] RE: [External]      Kalin,Matthew C Seth Mills                 Mekler,Kevin M    Scott Schmookler Email regarding   Produce - with        Attorney Client
               MPD_00000689    00005205   0005217                     Raymond James Raymond James: (mkalin@travelers (smills@mpdlegal.              (kmekler@traveler <sschmookler@gr tolling agreement. Redactions            Communication;C
                                                                      Financial, Inc. -: Revised Tolling .com)             com); Ryan J.            s.com);           sm.com>                                                  ommon Interest
                                                                      FW: Raymond        Agreement;                        Weeks                    Kalin,Matthew C
                                                                      James              TOLLING                           (rweeks@mpdlega          (mkalin@travelers
                                                                                         AGREEMENT(4449                    l.com)                   .com)
                                                                                         8948.1).docx




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MPD_00000708                  TRAVELERS_ TRAVELERS_0 4/4/19 13:49   RE: [External]                    Kalin,Matthew C Scott Schmookler      Sarah Riedl                    Email regarding    Produce - with   Common Interest
                              00006027   0006031                    Raymond James:                    (mkalin@travelers (sschmookler@grs    (sriedl@grsm.com               tolling agreement. Redactions
                                                                    Revised Tolling                   .com)             m.com); O'Brien,    ); West, Kenneth
                                                                    Agreement                                           Jason               M
                                                                                                                        (jobrien@wileyrei   (kwest@chubb.co
                                                                                                                        n.com); Stephen     m); Kalin,Matthew
                                                                                                                        Dratch              C
                                                                                                                        (sdratch@njcouns    (mkalin@travelers
                                                                                                                        el.com)             .com)

MPD_00000704                  TRAVELERS_ TRAVELERS_0 4/4/19 13:55   [External] RE:                  O'Brien, Jason    Kalin,Matthew C       Sarah Riedl                    Email regarding    Produce - with   Common Interest
                              00006006   0006010                    Raymond James:                  (jobrien@wileyrei (mkalin@travelers     (sriedl@grsm.com               tolling agreement. Redactions
                                                                    Revised Tolling                 n.com)            .com); Scott          ); West, Kenneth
                                                                    Agreement                                         Schmookler            M
                                                                                                                      (sschmookler@grs      (kwest@chubb.co
                                                                                                                      m.com); Stephen       m)
                                                                                                                      Dratch
                                                                                                                      (sdratch@njcouns
                                                                                                                      el.com)
MPD_00000705                  TRAVELERS_ TRAVELERS_0 4/4/19 14:33   [External] Re:                  Stephen Dratch    O'Brien, Jason        Sarah Riedl                    Email regarding    Produce - with   Common Interest
                              00006011   0006015                    Raymond James:                  (sdratch@njcouns (jobrien@wileyrei      (sriedl@grsm.com               tolling agreement. Redactions
                                                                    Revised Tolling                 el.com)           n.com);               ); West, Kenneth
                                                                    Agreement                                         Kalin,Matthew C       M
                                                                                                                      (mkalin@travelers     (kwest@chubb.co
                                                                                                                      .com); Scott          m)
                                                                                                                      Schmookler
                                                                                                                      (sschmookler@grs
                                                                                                                      m.com)
MPD_00000706   MPD_00000707   TRAVELERS_ TRAVELERS_0 4/4/19 14:35   [External] RE:     TOLLING      Scott Schmookler O'Brien, Jason         Sarah Riedl      Sarah Riedl   Email regarding    Produce - with   Common Interest
                              00006016   0006026                    Raymond James: AGREEMENT(4449 (sschmookler@grs (jobrien@wileyrei        (sriedl@grsm.com               tolling agreement. Redactions
                                                                    Revised Tolling    8948.1).docx m.com)            n.com);               ); West, Kenneth
                                                                    Agreement                                         Kalin,Matthew C       M
                                                                                                                      (mkalin@travelers     (kwest@chubb.co
                                                                                                                      .com); Stephen        m)
                                                                                                                      Dratch
                                                                                                                      (sdratch@njcouns
                                                                                                                      el.com)
MPD_00000684   MPD_00000685   TRAVELERS_ TRAVELERS_0 4/4/19 14:48   FW: [External] RE: TOLLING      Kalin,Matthew C Ryan J. Weeks         Mekler,Kevin M    Sarah Riedl    Email regarding    Produce - with   Attorney Client
                              00005189   0005199                    Raymond James: AGREEMENT(4449 (mkalin@travelers (rweeks@mpdlega       (kmekler@traveler                tolling agreement. Redactions       Communication;C
                                                                    Revised Tolling    8948.1).docx .com)             l.com); Seth Mills  s.com);                                                              ommon Interest
                                                                    Agreement                                         (smills@mpdlegal.   Kalin,Matthew C
                                                                                                                      com)                (mkalin@travelers
                                                                                                                                          .com)
MPD_00000675                  TRAVELERS_ TRAVELERS_0 4/4/19 15:01   [External] RE: RE:                Seth Mills        Kalin,Matthew C Mekler,Kevin M                     Email regarding    Produce - with   Attorney Client
                              00005156   0005161                    Raymond James                     (smills@mpdlegal. (mkalin@travelers (kmekler@traveler                tolling agreement. Redactions       Communication;C
                                                                    Financial, Inc. -:                com)              .com); Ryan J.    s.com)                                                               ommon Interest
                                                                    RE: Raymond                                         Weeks
                                                                    James: Revised                                      (rweeks@mpdlega
                                                                    Tolling Agreement                                   l.com)




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MPD_00000686                  TRAVELERS_ TRAVELERS_0 4/4/19 15:08     RE: [External] RE:                       Kalin,Matthew C Scott Schmookler       Sarah Riedl                     Email regarding    Produce - with    Attorney Client
                              00005200   0005204                      Raymond James:                           (mkalin@travelers (sschmookler@grs     (sriedl@grsm.com                tolling agreement. Redactions        Communication;C
                                                                      Revised Tolling                          .com)             m.com); O'Brien,     ); West, Kenneth                                                     ommon Interest
                                                                      Agreement                                                  Jason                M
                                                                                                                                 (jobrien@wileyrei    (kwest@chubb.co
                                                                                                                                 n.com); Stephen      m); Kalin,Matthew
                                                                                                                                 Dratch               C
                                                                                                                                 (sdratch@njcouns     (mkalin@travelers
                                                                                                                                 el.com)              .com)

MPD_00000709                  TRAVELERS_ TRAVELERS_0 4/4/19 19:48     RE: [External] Re:                       Kalin,Matthew C Scott Schmookler Sarah Riedl                           Email regarding    Produce - with    Common Interest
                              00006032   0006037                      Raymond James:                           (mkalin@travelers (sschmookler@grs (sriedl@grsm.com                    tolling agreement. Redactions
                                                                      Revised Tolling                          .com)             m.com)           ); Kalin,Matthew C
                                                                      Agreement                                                                   (mkalin@travelers
                                                                                                                                                  .com)

MPD_00000625   MPD_00000626   TRAVELERS_ TRAVELERS_0 4/29/19 16:37    FW: [External]       EXHIBIT A.pdf       Kalin,Matthew C Ryan J. Weeks       Kalin,Matthew C Kathleen M. Shaw   Email attaching    Produce - with    Attorney Client
                              00005043   0005046                      Raymond James:                           (mkalin@travelers (rweeks@mpdlega   (mkalin@travelers                  previously omitted Redactions        Communication
                                                                      Exhibit A                                .com)             l.com); Seth Mills.com);                             Exhibit A to RJ
                                                                                                                                 (smills@mpdlegal. Mekler,Kevin M                     letter.
                                                                                                                                 com)              (kmekler@traveler
                                                                                                                                                   s.com)
MPD_00000627                  TRAVELERS_ TRAVELERS_0 4/30/19 6:48     FW: [External]                           Kalin,Matthew C Seth Mills          Kalin,Matthew C                    Email chain         Produce - with   Attorney Client
                              00005047   0005047                      Raymond James                            (mkalin@travelers (smills@mpdlegal. (mkalin@travelers                  discussing          Redactions       Communication
                                                                                                               .com)             com); Ryan J.     .com);                             Raymond James'
                                                                                                                                 Weeks             Mekler,Kevin M                     production and
                                                                                                                                 (rweeks@mpdlega (kmekler@traveler                    the format of the
                                                                                                                                 l.com)            s.com)                             production.
MPD_00000623                  TRAVELERS_ TRAVELERS_0 4/30/19 8:24     [External] RE:                           Ryan J. Weeks     Kalin,Matthew C Mekler,Kevin M                       Email chain         Produce - with   Attorney Client
                              00005039   0005040                      Raymond James                            (rweeks@mpdlega (mkalin@travelers (kmekler@traveler                    discussing          Redactions       Communication;C
                                                                      Financial, Inc. -:                       l.com)            .com); Seth Mills s.com)                             Raymond James'                       ommon Interest
                                                                      Raymond James                                              (smills@mpdlegal.                                    production.
                                                                                                                                 com)

MPD_00000578   MPD_00000579                           4/30/19 10:36   [External] Fwd:      [redacted].pdf      Seth Mills        Kalin,Matthew C                                      Email conveying     Withhold -       Attorney Client
                                                                      [redacted] -:                            (smills@mpdlegal. (mkalin@travelers                                    technical aspects   Privileged       Communication
                                                                                                               com)              .com); Ryan J.                                       of document
                                                                                                                                 Weeks                                                production.
                                                                                                                                 (rweeks@mpdlega
                                                                                                                                 l.com);
                                                                                                                                 Mekler,Kevin M
                                                                                                                                 (kmekler@traveler
                                                                                                                                 s.com)
MPD_00000624                  TRAVELERS_ TRAVELERS_0 4/30/19 10:44    [External] RE:                           Ryan J. Weeks     Kalin,Matthew C                                      Email chain         Produce - with   Attorney Client
                              00005041   0005042                      Raymond James                            (rweeks@mpdlega (mkalin@travelers                                      discussing          Redactions       Communication;C
                                                                      Financial, Inc. -:                       l.com)            .com)                                                Raymond James'                       ommon Interest
                                                                      Raymond James                                                                                                   production.
MPD_00000583                                          5/2/19 16:31    [External]                               Cheryl L. Soltis  Kalin,Matthew C                                      Email regarding     Withhold -       Attorney Client
                                                                      Raymond James                            (csoltis@mpdlegal (mkalin@travelers                                    billing matter.     Privileged       Communication
                                                                      Financial, Inc. -:                       .com)             .com)
                                                                      [redacted] -
                                                                      Raymond James
                                                                      Financial, Inc. -
                                                                      Claim no.
                                                                      T1606665




                                                                                                              15 of 30
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MPD_00000600                                          5/6/19 8:43     FW: [External]                           Kalin,Matthew C Bond & SI Claim - Kalin,Matthew C          Email regarding      Withhold -       Attorney Client
                                                                      Raymond James                            (mkalin@travelers ML CSR            (mkalin@travelers      billing matter.      Privileged       Communication
                                                                      Financial, Inc. -:                       .com)             (bsiclaimmlcsr@tr .com)
                                                                      [redacted] -                                               avelers.com)
                                                                      Raymond James
                                                                      Financial, Inc. -
                                                                      Claim no.
                                                                      T1606665
MPD_00000614                                          5/7/19 12:58    RE: [redacted] -                         Otero,Lisandra     Kalin,Matthew C                         Email regarding      Withhold -       Attorney Client
                                                                      FW: [External]                           (lotero@travelers. (mkalin@travelers                       billing matter.      Privileged       Communication
                                                                      Raymond James                            com)               .com); Luong,Hung
                                                                      Financial, Inc. -:                                          T
                                                                      [redacted] -                                                (hluong@travelers
                                                                      Raymond James                                               .com)
                                                                      Financial, Inc. -
                                                                      Claim no.
                                                                      T1606665
MPD_00000601                                          5/7/19 13:02    FW: [redacted] -                         Kalin,Matthew C csoltis@mpdlegal. Kalin,Matthew C          Email regarding      Withhold -       Attorney Client
                                                                      FW: [External]                           (mkalin@travelers com             (mkalin@travelers        billing matter.      Privileged       Communication
                                                                      Raymond James                            .com)                             .com)
                                                                      Financial, Inc. -:
                                                                      [redacted] -
                                                                      Raymond James
                                                                      Financial, Inc. -
                                                                      Claim no.
                                                                      T1606665
MPD_00000678   MPD_00000679   TRAVELERS_ TRAVELERS_0 5/22/19 13:53    FW: [External] FW: Letter to Mr.         Kalin,Matthew C Seth Mills             Kalin,Matthew C     Email attaching a    Produce - with   Attorney Client
                              00005168   0005170                      Raymond James Schmookler and             (mkalin@travelers (smills@mpdlegal.    (mkalin@travelers   letter regarding     Redactions       Communication
                                                                                         Ms. Riedl 05-22-      .com)             com); Ryan J.        .com);              Raymond James'
                                                                                         2019.pdf                                Weeks                Mekler,Kevin M      supplemental
                                                                                                                                 (rweeks@mpdlega      (kmekler@traveler   production.
                                                                                                                                 l.com)               s.com)
MPD_00000131   MPD_00000132                           5/23/19 9:29    [External]           [redacted]          Ryan J. Weeks     Kalin,Matthew C      Seth Mills          Email regarding   Withhold -          Attorney Client
               thru                                                   Raymond James                            (rweeks@mpdlega (mkalin@travelers      (smills@mpdlegal.   the indictment    Privileged          Communication
               MPD_00000139                                           Financial, Inc. -:                       l.com)            .com);               com)                against Ariel
                                                                      [redacted]                                                 Mekler,Kevin M                           Quiros and others
                                                                                                                                 (kmekler@traveler                        along with MPD
                                                                                                                                 s.com)                                   impressions re
                                                                                                                                                                          same.

MPD_00000598                                          5/23/19 14:54   [External]                               Ryan Weeks         Kalin,Matthew C                         Email containing Withhold -           Attorney Client
                                                                      [redacted]                               (mail@sf-          (mkalin@travelers                       link to MPD        Privileged         Communication
                                                                                                               notifications.com) .com)                                   shared folder
                                                                                                                                                                          containing various
                                                                                                                                                                          documents from
                                                                                                                                                                          RJ.

MPD_00000081   MPD_00000082                           6/21/19 14:03   RE: [External] RE: [redacted]            Kalin,Matthew C Ryan J. Weeks     Kalin,Matthew C          Email providing      Withhold -       Attorney Client
                                                                      Raymond James                            (mkalin@travelers (rweeks@mpdlega (mkalin@travelers        Travelers' Billing   Privileged       Communication
                                                                      Financial, Inc. -:                       .com)             l.com)          .com)                    Guidelines..
                                                                      Raymond James




                                                                                                              16 of 30
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MPD_00000079   MPD_00000080                           6/24/19 12:42   [External] RE:       [redacted]        Ryan J. Weeks   Kalin,Matthew C                                        Email providing   Withhold -       Attorney Client
                                                                      Raymond James                          (rweeks@mpdlega (mkalin@travelers                                      MPD's case        Privileged       Communication
                                                                      Financial, Inc. -:                     l.com)          .com)                                                  assessment report                  Attorney Work
                                                                      Raymond James                                                                                                 to Travelers with                  Product
                                                                                                                                                                                    MPD's thoughts
                                                                                                                                                                                    on strategy for
                                                                                                                                                                                    impending
                                                                                                                                                                                    litigation.

MPD_00000680   MPD_00000681   TRAVELERS_ TRAVELERS_0 7/25/19 15:12    FW: [External] FW: Raymond James       Kalin,Matthew C Ryan J. Weeks     Mekler,Kevin M    Colette Carlisle   Email attaching   Produce - with   Attorney Client
                              00005171   0005180                      Raymond James - Organization           (mkalin@travelers (rweeks@mpdlega (kmekler@traveler                    Raymond James'    Redactions       Communication
                                                                      Organizational     Charts.pdf          .com)             l.com)          s.com);                              Organizational
                                                                      Charts                                                                   Kalin,Matthew C                      Charts.
                                                                                                                                               (mkalin@travelers
                                                                                                                                               .com); Seth Mills
                                                                                                                                               (smills@mpdlegal.
                                                                                                                                               com)

MPD_00000682   MPD_00000683   TRAVELERS_ TRAVELERS_0 9/24/19 8:35     FW: [External]       8.27.19 Letter to Kalin,Matthew C     Ryan J. Weeks        Kalin,Matthew C               Email discussing Produce - with    Attorney Client
                              00005181   0005188                      Raymond James:       RJA re May and    (mkalin@travelers   (rweeks@mpdlega      (mkalin@travelers             requests for     Redactions        Communication
                                                                      Follow Up Letter     July 2019         .com)               l.com); Seth Mills   .com);                        additional
                                                                                           Document                              (smills@mpdlegal.    Mekler,Kevin M                information from
                                                                                           Productions(4707                      com)                 (kmekler@traveler             Raymond James
                                                                                           3975.1).docx                                               s.com)                        and Schmookler's
                                                                                                                                                                                    draft letter re
                                                                                                                                                                                    same.

MPD_00000673                  TRAVELERS_ TRAVELERS_0 9/24/19 14:46    [External] RE:                         Seth Mills        Kalin,Matthew C Mekler,Kevin M                       Email discussing Produce - with    Attorney Client
                              00005147   0005150                      Raymond James                          (smills@mpdlegal. (mkalin@travelers (kmekler@traveler                  requests for     Redactions        Communication
                                                                      Financial, Inc.:                       com)              .com); Ryan J.    s.com)                             additional
                                                                      USA v. Quiros -                                          Weeks                                                information from
                                                                      5:19-CR-76 -:                                            (rweeks@mpdlega                                      Raymond James
                                                                      Raymond James:                                           l.com)                                               and Schmookler's
                                                                      Follow Up Letter                                                                                              draft letter re
                                                                                                                                                                                    same.

MPD_00000690                  TRAVELERS_ TRAVELERS_0 9/24/19 15:10    RE: [External] RE:                     Kalin,Matthew C Seth Mills               Mekler,Kevin M                Email discussing Produce - with    Attorney Client
                              00005218   0005222                      Raymond James                          (mkalin@travelers (smills@mpdlegal.      (kmekler@traveler             requests for       Redactions      Communication
                                                                      Financial, Inc.:                       .com)             com); Ryan J.          s.com);                       additional
                                                                      USA v. Quiros -                                          Weeks                  Kalin,Matthew C               information from
                                                                      5:19-CR-76 -:                                            (rweeks@mpdlega        (mkalin@travelers             Raymond James,
                                                                      Raymond James:                                           l.com)                 .com)                         Schmookler's draft
                                                                      Follow Up Letter                                                                                              letter re same,
                                                                                                                                                                                    and MPD advising
                                                                                                                                                                                    the parties of its
                                                                                                                                                                                    involvement.


MPD_00000674                  TRAVELERS_ TRAVELERS_0 9/24/19 15:16    [External] RE:                         Seth Mills        Kalin,Matthew C Mekler,Kevin M                       Email discussing Produce - with    Attorney Client
                              00005151   0005155                      Raymond James                          (smills@mpdlegal. (mkalin@travelers (kmekler@traveler                  requests for       Redactions      Communication
                                                                      Financial, Inc.:                       com)              .com); Ryan J.    s.com)                             additional
                                                                      USA v. Quiros -                                          Weeks                                                information from
                                                                      5:19-CR-76 -:                                            (rweeks@mpdlega                                      Raymond James,
                                                                      Raymond James:                                           l.com)                                               Schmookler's draft
                                                                      Follow Up Letter                                                                                              letter re same,
                                                                                                                                                                                    and MPD advising
                                                                                                                                                                                    the parties of its
                                                                                                                                                                                    involvement.




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                              TRAVELERS_ TRAVELERS_0                                                                                                                                Attorney/client     Produce - with
                              00004844   0004844                                                                                                                                    email               Redactions
                                                                                                                                                                                    communications
                                                                                                                                                                                    about
                                                                                                                                                                                    communications
                                                                                                                                                                                    with Federal's
                                                                           [External] FW:        [External] FW:          Ryan J. Weeks     "Kalin,Matthew C"   Seth Mills           counsel and
                                                                           Raymond James -       Raymond James -         <rweeks@mpdleg    <mkalin@traveler    <smills@mpdlegal.    revisions to the                     Attorney Client
MPD_00000200   MPD_00000200                                  9/25/19 20:00 Travelers             Travelers               al.com>           s.com>              com>                 draft letter.                        Communication
MPD_00000012   MPD_00000013                             10/1/19 16:52      [External] FW:        [External] FW:          Ryan J. Weeks     Kalin,Matthew C     Mekler,Kevin M       Email providing     Withhold -       Attorney Client
                                                                           Raymond James         Raymond James           (rweeks@mpdlega   (mkalin@travelers   (kmekler@traveler    September 30,       Privileged       Communication
                                                                           Financial, Inc. -:    Financial, Inc. -:      l.com)            .com)               s.com); Seth Mills   2019 letter that
                                                                           Raymond James         Raymond James                                                 (smills@mpdlegal.    Scott Schmooker
                                                                                                                                                               com)                 sent to Jason
                                                                                                                                                                                    Mazer.
MPD_00000014                                            10/30/19 14:25      Raymond James                                Kalin,Matthew C Ryan J. Weeks     Kalin,Matthew C          Email inquiring     Withhold -       Attorney Client
                                                                                                                         (mkalin@travelers (rweeks@mpdlega (mkalin@travelers        about update on     Privileged       Communication
                                                                                                                         .com)             l.com)          .com)                    Raymond James'
                                                                                                                                                                                    document
                                                                                                                                                                                    production.
MPD_00000632                  TRAVELERS_ TRAVELERS_0 11/14/19 10:14         RE: [External] RE:                           Kalin,Matthew C Ryan J. Weeks                              Email chain         Produce - with   Attorney Client
                              00005058   0005061                            FW: Raymond                                  (mkalin@travelers (rweeks@mpdlega                          regarding           Redactions       Communication
                                                                            James Financial,                             .com)             l.com)                                   scheduling an in-
                                                                            Inc. -: Raymond                                                                                         person meeting of
                                                                            James (Joel                                                                                             the market.
                                                                            Burstein)
MPD_00000194                                            12/3/19 18:38       RE: [External] FW:                           Kalin,Matthew C Ryan J. Weeks     Kalin,Matthew C          Email            Withhold -          Attorney Client
                                                                            Raymond James                                (mkalin@travelers (rweeks@mpdlega (mkalin@travelers        communications Privileged            Communication
                                                                            Financial, Inc. -:                           .com)             l.com)          .com)                    about scheduling
                                                                            Raymond James                                                                                           meeting between
                                                                            [redacted]                                                                                              insurers.


                              TRAVELERS_ TRAVELERS_0                                                                                                                                Email            Produce - with
                              00004838   0004843                                                                                                                                    communications Redactions
                                                                        [External] Fwd:          [External] Fwd:                                                                    about scheduling
                                                                        Raymond James            Raymond James                                                                      meeting between
                                                                        Financial, Inc. -:       Financial, Inc. -:      Ryan J. Weeks     "Kalin,Matthew C"                        insurers.
                                                                        Raymond James            Raymond James           <rweeks@mpdleg    <mkalin@traveler                                                              Attorney Client
MPD_00000088   MPD_00000088                               12/3/19 19:02 (Joel Burstein)          (Joel Burstein)         al.com>           s.com>                                                                        Communication
MPD_00000622                  TRAVELERS_ TRAVELERS_0 12/16/19 6:53      [External] Fwd:                                  Ryan J. Weeks     Kalin,Matthew C                          Email            Produce - with      Attorney Client
                              00005031   0005038                        Raymond James                                    (rweeks@mpdlega   (mkalin@travelers                        communications Redactions            Communication
                                                                        Financial, Inc. -:                               l.com)            .com)                                    about scheduling
                                                                        Raymond James                                                                                               meeting between
                                                                        (Joel Burstein)                                                                                             insurers.


                              TRAVELERS_ TRAVELERS_0                                                                                                                                Email            Produce - with
                              00004835   0004837                                                                                                                                    communications Redactions
                                                                                                                                                                                    about scheduling
                                                                                                                                                                                    meeting between
                                                                           [External] RE: FW:    [External] RE: FW:      Ryan J. Weeks     "Kalin,Matthew C"                        insurers.
                                                                           Raymond James:        Raymond James:          <rweeks@mpdleg    <mkalin@traveler                                                              Attorney Client
MPD_00000011   MPD_00000011                                 12/20/19 10:18 Market Meeting        Market Meeting          al.com>           s.com>                                                                        Communication
MPD_00000108   MPD_00000109                             12/26/19 20:39     [External] FW:        [redacted]              Ryan J. Weeks     Kalin,Matthew C                          Email regarding    Withhold -        Attorney Client
               thru                                                        Raymond James                                 (rweeks@mpdlega   (mkalin@travelers                        tolling agreement. Privileged        Communication
               MPD_00000114                                                Financial, Inc. -:                            l.com)            .com)
                                                                           Raymond James -
                                                                           [redacted]




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MPD_00000017                                           12/27/19 12:26   Raymond James -                      Kalin,Matthew C     Ryan J. Weeks     Kalin,Matthew C        Email regarding       Withhold -     Attorney Client
                                                                        [redacted]                           (mkalin@travelers   (rweeks@mpdlega (mkalin@travelers        MPD budget.           Privileged     Communication
                                                                                                             .com)               l.com)            .com)
MPD_00000179                                           12/27/19 12:36   [External] RE:                       Ryan J. Weeks       Kalin,Matthew C                          Email regarding       Withhold -     Attorney Client
                                                                        Raymond James                        (rweeks@mpdlega     (mkalin@travelers                        MPD budget.           Privileged     Communication
                                                                        Financial, Inc. -:                   l.com)              .com)
                                                                        Raymond James -
                                                                        [redacted]
MPD_00000124   MPD_00000125                            12/29/19 20:32   [External] RE:     [redacted]        Ryan J. Weeks   Kalin,Matthew C                              Email regarding    Withhold -        Attorney Client
                                                                        Fwd: Raymond                         (rweeks@mpdlega (mkalin@travelers                            tolling agreement. Privileged        Communication
                                                                        James Financial,                     l.com)          .com)
                                                                        Inc. -: Raymond
                                                                        James - [redacted]

MPD_00000018   MPD_00000019;                           12/30/19 8:36    [External] FW:       [redacted]      Ryan J. Weeks   Kalin,Matthew C                              Email forwarding Withhold -          Attorney Client
               MPD_00000020;                                            Raymond James                        (rweeks@mpdlega (mkalin@travelers                            communication    Privileged          Communication
               MPD_00000021                                             Financial, Inc. -:                   l.com)          .com)                                        from Jason Mazer
                                                                        Raymond James                                                                                     regarding
                                                                                                                                                                          additional
                                                                                                                                                                          document
                                                                                                                                                                          production.

MPD_00000007   MPD_00000008                            1/14/20 8:59     [External]           [redacted]      Ryan J. Weeks   Kalin,Matthew C Seth Mills          rweeks   Email regarding       Withhold -     Attorney Client
                                                                        Raymond James                        (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.          MPD budget.           Privileged     Communication
                                                                        Financial, Inc. -:                   l.com)          .com)             com); Cheryl L.                                                 Attorney Work
                                                                        [redacted]                                                             Soltis                                                          Product
                                                                                                                                               (csoltis@mpdlegal
                                                                                                                                               .com); BFP Budget
                                                                                                                                               Forms
                                                                                                                                               (bfpbudfm@travel
                                                                                                                                               ers.com)
MPD_00000009   MPD_00000010                            1/16/20 17:02    [External]           [redacted]      Ryan J. Weeks   Kalin,Matthew C                              Email regarding       Withhold -     Attorney Client
                                                                        Raymond James                        (rweeks@mpdlega (mkalin@travelers                            MPD's                 Privileged     Communication
                                                                        Financial, Inc. -:                   l.com)          .com)                                        memorandum                           Attorney Work
                                                                        [redacted]                                                                                        providing legal                      Product
                                                                                                                                                                          positions and
                                                                                                                                                                          defenses on
                                                                                                                                                                          strategy for
                                                                                                                                                                          impending
                                                                                                                                                                          litigation.
MPD_00000023                                           2/17/20 8:29     RayJay                               Kalin,Matthew C Ryan J. Weeks     Kalin,Matthew C            Email requesting      Withhold -     Attorney Client
                                                                                                             (mkalin@travelers (rweeks@mpdlega (mkalin@travelers          information about     Privileged     Communication
                                                                                                             .com)             l.com)          .com)                      status of Federal's
                                                                                                                                                                          position.


MPD_00000575                   TRAVELERS_ TRAVELERS_0 2/17/20 11:22     RE: [External] RE:                   Kalin,Matthew C Ryan J. Weeks     Kalin,Matthew C            Email regarding     Produce - with   Attorney Client
                               00004810   0004812                       FW: Raymond                          (mkalin@travelers (rweeks@mpdlega (mkalin@travelers          Raymond James' Redactions            Communication
                                                                        James Financial,                     .com)             l.com)          .com)                      request for claim
                                                                        Inc. -: Raymond                                                                                   determination and
                                                                        James: Privilege                                                                                  scheduling a
                                                                        Log Production                                                                                    further telephone
                                                                                                                                                                          call on the tolling
                                                                                                                                                                          agreement.




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                                                                                                 March 4, 2021

MPD_00000024   MPD_00000025                2/20/20 9:21   [External] FW:       [redacted]           Ryan J. Weeks   Kalin,Matthew C Cheryl L. Soltis                   Email regarding   Withhold -       Attorney Client
                                                          Raymond James                             (rweeks@mpdlega (mkalin@travelers (csoltis@mpdlegal                Jason Mazer's     Privileged       Communication
                                                          Financial, Inc. -:                        l.com)          .com)             .com)                            February 19, 2020
                                                          Raymond James:                                                                                               letter.
                                                          [redacted]

MPD_00000160   MPD_00000161;               3/2/20 13:39   [External] FW:     [redacted]             Ryan J. Weeks   Kalin,Matthew C                                    Email regarding   Withhold -       Attorney Client
               MPD_00000162                               Raymond James                             (rweeks@mpdlega (mkalin@travelers                                  Jason Mazer's     Privileged       Communication
                                                          Financial, Inc. -:                        l.com)          .com)                                              February 26, 2020
                                                          Raymond James -                                                                                              letter.
                                                          [redacted]
MPD_00000028   MPD_00000029                3/2/20 13:44   [External]         [redacted]             Ryan J. Weeks   Kalin,Matthew C                                    Email regarding       Withhold -   Attorney Client
                                                          Raymond James                             (rweeks@mpdlega (mkalin@travelers                                  MPD's                 Privileged   Communication
                                                          Financial, Inc. -:                        l.com)          .com)                                              memorandum                         Attorney Work
                                                          [redacted]                                                                                                   providing legal                    Product
                                                                                                                                                                       positions and
                                                                                                                                                                       defenses on
                                                                                                                                                                       strategy for
                                                                                                                                                                       impending
                                                                                                                                                                       litigation.
MPD_00000143   MPD_00000144                3/3/20 8:37    [External] RE:       [redacted]           Ryan J. Weeks   Kalin,Matthew C                                    Email regarding       Withhold -   Attorney Client
               thru                                       Raymond James                             (rweeks@mpdlega (mkalin@travelers                                  Raymond James'        Privileged   Communication
               MPD_00000147                               Financial, Inc. -:                        l.com)          .com)                                              request for claim
                                                          [redacted]                                                                                                   determination and
                                                                                                                                                                       scheduling a
                                                                                                                                                                       further telephone
                                                                                                                                                                       call on the tolling
                                                                                                                                                                       agreement and
                                                                                                                                                                       final coverage
                                                                                                                                                                       determination.


MPD_00000003                               3/3/20 8:56                         MPD Memo                                                                   Seth Mills   MPD's                 Withhold -   Attorney Client
                                                                               [redacted].docx                                                                         memorandum            Privileged   Communication
                                                                                                                                                                       providing legal                    Attorney Work
                                                                                                                                                                       positions and                      Product
                                                                                                                                                                       defenses for
                                                                                                                                                                       impending
                                                                                                                                                                       litigation.
MPD_00000030   MPD_00000031                3/3/20 15:46   Voice Mail (2        8132293500 (2        8132293500       Kalin,Matthew C                                   Voicemail from        Withhold -   Attorney Client
                                                          minutes and 29       minutes and 29                        (mkalin@travelers                                 Ryan Weeks to         Privileged   Communication
                                                          seconds)             seconds) Voice                        .com)                                             Mr. Kalin
                                                                               Mail.mp3                                                                                regarding update
                                                                                                                                                                       on status of
                                                                                                                                                                       communications
                                                                                                                                                                       with Jason Mazer.


MPD_00000193                               3/6/20 15:45   RE: [External] RE:                        Kalin,Matthew C Ryan J. Weeks     Kalin,Matthew C                  Email scheduling a Withhold -      Attorney Client
                                                          Raymond James                             (mkalin@travelers (rweeks@mpdlega (mkalin@travelers                telephone call     Privileged      Communication
                                                          Financial, Inc. -:                        .com)             l.com)          .com)                            between the
                                                          [redacted]                                                                                                   insurers and
                                                                                                                                                                       counsel.

MPD_00000026   MPD_00000027                3/9/20 14:40   [External] FW:       [redacted]           Ryan J. Weeks   Kalin,Matthew C                                    Email providing   Withhold -       Attorney Client
                                                          Raymond James                             (rweeks@mpdlega (mkalin@travelers                                  Raymond James' Privileged          Communication
                                                          Financial, Inc. -:                        l.com)          .com)                                              reporting chart
                                                          Raymond James                                                                                                provided by Jason
                                                                                                                                                                       Mazer.




                                                                                                   20 of 30
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MPD_00000599                                          3/10/20 13:29   [redacted]                           Kalin,Matthew C     Ryan J. Weeks     Kalin,Matthew C                     Email discussing     Withhold -    Attorney Client
                                                                                                           (mkalin@travelers   (rweeks@mpdlega (mkalin@travelers                     availability for     Privileged    Communication
                                                                                                           .com)               l.com)            .com)                               meeting.
MPD_00000582                                          3/20/20 16:36   [External]                           Ryan J. Weeks       Kalin,Matthew C                                       Email discussing     Withhold -    Attorney Client
                                                                      Raymond James                        (rweeks@mpdlega     (mkalin@travelers                                     anticipated          Privileged    Communication
                                                                      Financial, Inc. -:                   l.com)              .com)                                                 completion of
                                                                      [redacted]                                                                                                     draft coverage
                                                                                                                                                                                     letter and MPD's
                                                                                                                                                                                     revised
                                                                                                                                                                                     Memorandum.
MPD_00000153   MPD_00000154                           3/22/20 14:40   [External]           [redacted]      Ryan J. Weeks   Kalin,Matthew C                                           Email regarding      Withhold -    Attorney Client
                                                                      Raymond James                        (rweeks@mpdlega (mkalin@travelers                                         MPD's                Privileged    Communication
                                                                      Financial, Inc. -:                   l.com)          .com)                                                     memorandum                         Attorney Work
                                                                      [redacted]                                                                                                     providing legal                    Product
                                                                                                                                                                                     positions and
                                                                                                                                                                                     defenses on
                                                                                                                                                                                     strategy for
                                                                                                                                                                                     impending
                                                                                                                                                                                     litigation.
MPD_00000022                                          3/26/20 11:56   [External] RE: FW:                   Ryan J. Weeks   Kalin,Matthew C                                           Email regarding      Withhold -    Attorney Client
                                                                      Raymond James                        (rweeks@mpdlega (mkalin@travelers                                         tolling agreement.   Privileged    Communication
                                                                      Financial, Inc. -:                   l.com)          .com)
                                                                      Raymond James

MPD_00000659   MPD_00000660   TRAVELERS_ TRAVELERS_0 3/26/20 13:24    [External] FW:       CMM Redline    Ryan J. Weeks   Kalin,Matthew C                          Kathleen M. Shaw Email regarding    Produce - with   Attorney Client
                              0000510    0005114                      Raymond James        Changes and    (rweeks@mpdlega (mkalin@travelers                                         tolling agreement. Redactions       Communication
                                                                      Financial, Inc. -:   Addition of    l.com)          .com)
                                                                      Raymond James        Exhibits A to
                                                                                           Second Amended
                                                                                           Tolling
                                                                                           Agreement.docx


MPD_00000032   MPD_00000033                           3/29/20 20:38   [External] Fwd:    [redacted]        Ryan J. Weeks   Kalin,Matthew C                                           Email regarding    Withhold -      Attorney Client
                                                                      Raymond James                        (rweeks@mpdlega (mkalin@travelers                                         tolling agreement. Privileged      Communication
                                                                      Financial, Inc. -:                   l.com)          .com)
                                                                      Raymond James
MPD_00000196                                          3/30/20 9:25    RE: [External] RE:                   Kalin, Matthew C Ryan J. Weeks                                            Email regarding    Withhold -      Attorney Client
                                                                      Fwd: Raymond                         (mkalin@travelers (rweeks@mpdlega                                         tolling agreement. Privileged      Communication
                                                                      James Financial,                     .com)             l.com)
                                                                      Inc. -: Raymond
                                                                      James
MPD_00000126   MPD_00000127                           3/30/20 16:25   [External] FW:     [redacted]        Ryan J. Weeks   Kalin,Matthew C                                           Email regarding    Withhold -      Attorney Client
                                                                      Raymond James                        (rweeks@mpdlega (mkalin@travelers                                         tolling agreement. Privileged      Communication
                                                                      Financial, Inc. -:                   l.com)          .com)
                                                                      Raymond James
MPD_00000155                                          3/31/20 20:46   [External] FW:                       Ryan J. Weeks   Kalin, Matthew C                                          Email regarding    Withhold -      Attorney Client
                                                                      Raymond James                        (rweeks@mpdlega (mkalin@travelers                                         tolling agreement. Privileged      Communication
                                                                      Financial, Inc. -:                   l.com)          .com)
                                                                      Raymond James
MPD_00000038   MPD_00000039                           4/8/20 17:22    [External] FW:     [redacted]        Ryan J. Weeks   Kalin, Matthew C                                          Email regarding    Withhold -      Attorney Client
                                                                      Raymond James                        (rweeks@mpdlega (mkalin@travelers                                         tolling agreement. Privileged      Communication
                                                                      Financial, Inc. -:                   l.com)          .com)
                                                                      Raymond James
MPD_00000195                                          4/8/20 17:26    Re: [External] FW:                   Kalin, Matthew C Ryan J. Weeks    Kalin, Matthew C                        Email regarding    Withhold -      Attorney Client
                                                                      Raymond James                        (mkalin@travelers (rweeks@mpdlega (mkalin@travelers                       tolling agreement. Privileged      Communication
                                                                      Financial, Inc. -:                   .com)             l.com)          .com)
                                                                      Raymond James




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MPD_00000191   MPD_00000192                            4/13/20 21:15   [External] FW:       [redacted]          Ryan J. Weeks   Kalin, Matthew C                                        Email regarding    Withhold -         Attorney Client
                                                                       Raymond James                            (rweeks@mpdlega (mkalin@travelers                                       tolling agreement. Privileged         Communication
                                                                       Financial, Inc. -:                       l.com)          .com)
                                                                       Raymond James
                                                                       Financial Inc.:
                                                                       [redacted]
MPD_00000099   MPD_00000100                            4/16/20 16:28   [External] FW:       [redacted]          Ryan J. Weeks   Kalin, Matthew C Seth Mills                             Email regarding   Withhold -          Attorney Client
                                                                       Raymond James                            (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.                     Federal's draft   Privileged          Communication
                                                                       Financial, Inc. -:                       l.com)          .com)             com)                                  common interest                       Common Interest
                                                                       Raymond James:                                                                                                   coverage position
                                                                       [redacted]                                                                                                       letter.

MPD_00000586   MPD_00000587                            4/20/20 15:07   [External]           [redacted].docx     Ryan J. Weeks   Kalin, Matthew C Seth Mills         Ryan J. Weeks       Email discussing     Withhold -       Attorney Client
                                                                       Raymond James                            (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.                     Travelers' draft     Privileged       Communication
                                                                       Financial, Inc. -                        l.com)          .com)             com)                                  Coverage Position
                                                                       [redacted]                                                                                                       Letter.
MPD_00000034   MPD_00000035                            4/20/20 17:43   [External] FW:       [redacted]          Ryan J. Weeks   Kalin, Matthew C Seth Mills                             Email regarding      Withhold -       Attorney Client
                                                                       Raymond James                            (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.                     Federal's coverage   Privileged       Communication
                                                                       Financial, Inc. -:                       l.com)          .com)             com)                                  position letter.
                                                                       [redacted]
MPD_00000665                   TRAVELERS_ TRAVELERS_0 4/20/20 17:47    RE: [External] FW:                       Kalin, Matthew C Ryan J. Weeks     Seth Mills                           Email regarding      Produce - with   Attorney Client
                               00005122   0005123                      Raymond James                            (mkalin@travelers (rweeks@mpdlega (smills@mpdlegal.                     Federal's 4-20-      Redactions       Communication
                                                                       Financial, Inc. -:                       .com)             l.com)           com); Kalin,                         2020 letter and
                                                                       Raymond James:                                                              Matthew C                            Traveler's letter.
                                                                       April 20, 2020                                                              (mkalin@travelers
                                                                       Letter                                                                      .com)
MPD_00000036   MPD_00000037                            4/20/20 20:55   [External] RE: FW:   [redacted]          Ryan J. Weeks     Kalin, Matthew C Seth Mills                           Email regarding      Withhold -       Attorney Client
                                                                       Raymond James                            (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.                     Travelers'           Privileged       Communication
                                                                       Financial, Inc. -:                       l.com)            .com)            com)                                 coverage position                     Attorney Work
                                                                       [redacted]                                                                                                       letter.                               Product
MPD_00000640   MPD_00000641;                           4/21/20 7:21    FW: [External]       [redacted].pdf      Kalin, Matthew C Flowers, Robert M Kalin, Matthew C Ryan J. Weeks       Email attaching      Withhold -       Attorney Client
               MPD_00000642                                            Raymond James                            (mkalin@travelers (rflowers@travele (mkalin@travelers                   and discussing       Privileged       Communication;
                                                                       Financial, Inc. -                        .com)             rs.com)           .com)                               Traveler's draft                      Work Product
                                                                       [redacted]                                                                                                       coverage position
                                                                                                                                                                                        letter.
MPD_00000653   MPD_00000654                            4/21/20 9:06    [redacted]           [redacted].docx;    Flowers, Robert M Kalin, Matthew C                      Ryan J. Weeks   Email attaching      Withhold -       Work Product
                                                                                                                (rflowers@travele (mkalin@travelers                                     Traveler's draft     Privileged
                                                                                                                rs.com)           .com)                                                 coverage position
                                                                                                                                                                                        letter.
MPD_00000608   MPD_00000609                            4/21/20 9:19    RE: [External]       [redacted].docx     Kalin, Matthew C Ryan J. Weeks      Seth Mills                          Email attaching      Withhold -       Attorney Client
                                                                       Raymond James                            (mkalin@travelers (rweeks@mpdlega (smills@mpdlegal.                     draft coverage       Privileged       Communication
                                                                       Financial, Inc. -                        .com)             l.com)            com); Kalin,                        position letter
                                                                       [redacted]                                                                   Matthew C
                                                                                                                                                    (mkalin@travelers
                                                                                                                                                    .com)
MPD_00000655   MPD_00000656                            4/21/20 13:22   [redacted]           [redacted].pdf      Kalin, Matthew C Santor, Tracey     Kalin, Matthew C                    Email attaching  Withhold -           Work Product
                                                                                                                (mkalin@travelers (tsantor@traveler (mkalin@travelers                   Chubb's coverage Privileged
                                                                                                                .com)             s.com)            .com)                               letter.

MPD_00000610                                           4/21/20 14:57   RE: [External]                           Kalin, Matthew C Ryan J. Weeks    Seth Mills                            Email attaching      Withhold -       Attorney Client
                                                                       Raymond James                            (mkalin@travelers (rweeks@mpdlega (smills@mpdlegal.                     draft coverage       Privileged       Communication
                                                                       Financial, Inc. -                        .com)             l.com)          com); Kalin,                          position letter
                                                                       [redacted]                                                                 Matthew C
                                                                                                                                                  (mkalin@travelers
                                                                                                                                                  .com)




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MPD_00000085   MPD_00000086                           4/23/20 20:54   [External] FW:       [redacted]          Ryan J. Weeks   Kalin, Matthew C Seth Mills                                Email regarding     Withhold -       Attorney Client
                                                                      Raymond James                            (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.                        Raymond James'      Privileged       Communication
                                                                      Financial, Inc. -:                       l.com)          .com)             com)                                     Complaint.
                                                                      Raymond James v.
                                                                      Federal, et al. -
                                                                      Case No. 1:20-cv-
                                                                      21707
MPD_00000691   MPD_00000692   TRAVELERS_ TRAVELERS_0 4/24/20 9:08     FW: [External] FW:   Raymond James v. Kalin, Matthew C       Flowers, Robert M Kalin, Matthew C Joshua R. Alhalel   Email attaching     Produce - with   Attorney Client
                              00005223   0005597                      Raymond James        Federal, et al.     (mkalin@travelers   (rflowers@travele (mkalin@travelers                    and discussing      Redactions       Communication;
                                                                      Financial, Inc. -:   Complaint Filed 04- .com)               rs.com); Sondak, .com)                                 service of the                       Work Product
                                                                      Raymond James v.     23-2020.pdf                             Robyn                                                  Complaint.
                                                                      Federal, et al. -                                            (rsondak@traveler
                                                                      Case No. 1:20-cv-                                            s.com)
                                                                      21707

MPD_00000643                                          4/24/20 9:23    RE: [External] FW:                       Sondak, Robyn     Kalin, Matthew C                                         Email regarding     Withhold -       Attorney Client
                                                                      Raymond James                            (rsondak@traveler (mkalin@travelers                                        Raymond James'      Privileged       Communication;
                                                                      Financial, Inc. -:                       s.com)            .com); Flowers,                                          complaint and                        Work Product
                                                                      Raymond James v.                                           Robert M                                                 acceptance of
                                                                      Federal, et al. -                                          (rflowers@travele                                        service.
                                                                      Case No. 1:20-cv-                                          rs.com)
                                                                      21707

MPD_00000644                                          4/24/20 9:49    RE: [External] FW:                       Flowers, Robert M Kalin, Matthew C                                         Email regarding     Withhold -       Attorney Client
                                                                      Raymond James                            (rflowers@travele (mkalin@travelers                                        Raymond James'      Privileged       Communication;
                                                                      Financial, Inc. -:                       rs.com)           .com); Sondak,                                           complaint and                        Work Product
                                                                      Raymond James v.                                           Robyn                                                    acceptance of
                                                                      Federal, et al. -                                          (rsondak@traveler                                        service and
                                                                      Case No. 1:20-cv-                                          s.com)                                                   drafting a
                                                                      21707                                                                                                               response.

MPD_00000693   MPD_00000694   TRAVELERS_ TRAVELERS_0 4/24/20 9:50     FW: [External] FW:   Raymond James v. Kalin, Matthew C Wilson, Aileen R        Kalin, Matthew C Joshua R. Alhalel   Email attaching     Produce - with   Attorney Client
                              00005598   0005972                      Raymond James        Federal, et al.     (mkalin@travelers (arwilson@travele   (mkalin@travelers                    and discussing      Redactions       Communication;
                                                                      Financial, Inc. -:   Complaint Filed 04- .com)             rs.com)             .com); Sondak,                       service of the                       Work Product
                                                                      Raymond James v.     23-2020.pdf                                               Robyn                                Complaint.
                                                                      Federal, et al. -                                                              (rsondak@traveler
                                                                      Case No. 1:20-cv-                                                              s.com)
                                                                      21707

MPD_00000198   MPD_00000199                           4/26/20 13:59   [External] FW: FW: [redacted]            Ryan J. Weeks   Kalin, Matthew C      Seth Mills                           Email regarding     Withhold -       Attorney Client
                                                                      Raymond James                            (rweeks@mpdlega (mkalin@travelers     (smills@mpdlegal.                    Travelers' waiver   Privileged       Communication
                                                                      Financial, Inc. -:                       l.com)          .com); Sondak,        com); Cheryl L.                      of service.
                                                                      Raymond James v.                                         Robyn                 Soltis
                                                                      Federal, et al. -                                        (rsondak@traveler     (csoltis@mpdlegal
                                                                      Case No. 1:20-cv-                                        s.com)                .com)
                                                                      21707

MPD_00000591   MPD_00000592                           4/27/20 20:32   [External] RE:       [redacted].pdf      Ryan J. Weeks   Kalin, Matthew C                                           Email chain        Withhold -        Attorney Client
                                                                      Raymond James                            (rweeks@mpdlega (mkalin@travelers                                          conveying pre-suit Privileged        Communication
                                                                      Financial, Inc. -:                       l.com)          .com)                                                      claim assessment
                                                                      [redacted]                                                                                                          and discussing
                                                                                                                                                                                          pending criminal
                                                                                                                                                                                          matters related to
                                                                                                                                                                                          the claim.




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MPD_00000140   MPD_00000141;               4/27/20 20:39   [External] FW:     [redacted]              Ryan J. Weeks   Kalin, Matthew C Seth Mills                            Email regarding   Withhold -    Attorney Client
               MPD_00000142                                Raymond James                              (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.                    the Order Setting Privileged    Communication
                                                           Financial, Inc. -:                         l.com)          .com); Sondak,    com)                                 Initial Planning
                                                           Raymond James v.                                           Robyn                                                  and Scheduling
                                                           Federal, et al. -                                          (rsondak@traveler                                      Conference.
                                                           Case No. 1:20-cv-                                          s.com)
                                                           21707
MPD_00000593   MPD_00000594;               4/28/20 8:46    [External] RE:      [redacted].pdf         Ryan J. Weeks   Kalin, Matthew C                                       Email chain        Withhold -   Attorney Client
               MPD_00000595                                Raymond James                              (rweeks@mpdlega (mkalin@travelers                                      conveying pre-suit Privileged   Communication
                                                           Financial, Inc. -:                         l.com)          .com)                                                  claim assessment
                                                           [redacted]                                                                                                        and discussing
                                                                                                                                                                             pending criminal
                                                                                                                                                                             matters and the
                                                                                                                                                                             SEC matter related
                                                                                                                                                                             to the claim.


MPD_00000040                               4/28/20 9:14    RE: [External] FW:                         Kalin, Matthew C Ryan J. Weeks           Seth Mills                    Email regarding   Withhold -    Attorney Client
                                                           Raymond James                              (mkalin@travelers (rweeks@mpdlega        (smills@mpdlegal.             the Order Setting Privileged    Communication
                                                           Financial, Inc. -:                         .com)             l.com); Sondak,        com); Kalin,                  Initial Planning
                                                           Raymond James v.                                             Robyn                  Matthew C                     and Scheduling
                                                           Federal, et al. -                                            (rsondak@traveler      (mkalin@travelers             Conference.
                                                           Case No. 1:20-cv-                                            s.com)                 .com)
                                                           21707

MPD_00000291   MPD_00000292                4/28/20 14:06   Raymond James         [redacted].docx      Kalin, Matthew C Ward, Brenda E    Kalin, Matthew C Kalin, Matthew C   Email regarding    Withhold -   Work Product
                                                           Financial, Inc -                           (mkalin@travelers (beward@traveler (mkalin@travelers                   Travelers'         Privileged
                                                           T1606665                                   .com)             s.com)           .com)                               litigation hold.

MPD_00000290                               4/29/20 9:00    Legal Hold Notice-                         Travelers Legal   Kalin, Matthew C                                     Email regarding    Withhold -   Work Product
                                                           Raymond James                              Services          (mkalin@travelers                                    Travelers'         Privileged
                                                           Financial, Inc. v.                         (legalholdpro@tra .com)                                                litigation hold.
                                                           Travelers Casualty                         velers.com)
                                                           & Surety Company
                                                           of America, et al.
                                                           Case 1:20-cv-
                                                           21707 (T1606665)




MPD_00000041                               4/30/20 20:14   RE: Raymond                                Ryan J. Weeks   Kalin, Matthew C                                       Email regarding    Withhold -   Attorney Client
                                                           James Financial,                           (rweeks@mpdlega (mkalin@travelers                                      strategy for       Privileged   Communication
                                                           Inc. -: Fwd:                               l.com)          .com)                                                  nonparties to
                                                           [External]                                                                                                        subpoena.
                                                           [redacted]
MPD_00000284   MPD_00000285;               5/1/20 7:42     Summons/Compla        Summons             Blotniski, Sheila A   Kalin, Matthew C    Flowers, Robert M             Email regarding    Withhold -   Work Product
               MPD_00000286;                               int - T1606665        Complaint.pdf;      (sblotnis@traveler    (mkalin@travelers   (rflowers@travele             Raymond James'     Privileged
               MPD_00000287                                Raymond James         Exhibit part 1 of   s.com)                .com); Sondak,      rs.com); Wilson,              Complaint.
                                                           Financial, Inc. vs.   2.pdf; Exhibit part                       Robyn               Aileen R
                                                           Federal Insurance     2 of 2.pdf                                (rsondak@traveler   (arwilson@travele
                                                           Company                                                         s.com)              rs.com)




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MPD_00000645                               5/1/20 8:52     RE: [redacted] -                          Sondak, Robyn     Kalin, Matthew C                         Email regarding   Withhold -      Attorney Client
                                                           T1606665                                  (rsondak@traveler (mkalin@travelers                        Raymond James' Privileged         Communication;
                                                           Raymond James                             s.com)            .com); Ryan J.                           complaint and                     Work Product
                                                           Financial, Inc. vs.                                         Weeks                                    acceptance of
                                                           Federal Insurance                                           (rweeks@mpdlega                          service and
                                                           Company                                                     l.com); Seth Mills                       response deadline
                                                                                                                       (smills@mpdlegal.                        extension.
                                                                                                                       com)


MPD_00000597                               5/1/20 9:08     [External] RE:                            Ryan J. Weeks   Sondak, Robyn                              Email discussing Withhold -       Attorney Client
                                                           Raymond James                             (rweeks@mpdlega (rsondak@traveler                          the Amended         Privileged    Communication
                                                           Financial, Inc. -:                        l.com)          s.com); Kalin,                             Complaint served
                                                           [redacted] -                                              Matthew C                                  Travelers and St.
                                                           T1606665                                                  (mkalin@travelers                          Paul and deadlines
                                                           Raymond James                                             .com); Seth Mills                          for filing answers.
                                                           Financial, Inc. vs.                                       (smills@mpdlegal.
                                                           Federal Insurance                                         com)
                                                           Company

MPD_00000046   MPD_00000047                5/4/20 11:36    Voice Mail (1         8133902814 (1       8133902814        Kalin, Matthew C                         Voicemail from     Withhold -     Attorney Client
                                                           minute and 35         minute and 35                         (mkalin@travelers                        Ryan Weeks to      Privileged     Communication
                                                           seconds)              seconds) Voice                        .com)                                    Mr. Kalin
                                                                                 Mail.mp3                                                                       regarding strategy
                                                                                                                                                                for litigation.

MPD_00000045                               5/4/20 15:27    RE: [External]                            Kalin, Matthew C Sondak, Robyn         Seth Mills          Email regarding     Withhold -    Attorney Client
                                                           Raymond James                             (mkalin@travelers (rsondak@traveler    (smills@mpdlegal.   strategy for        Privileged    Communication
                                                           Financial, Inc. -                         .com)             s.com); Ryan J.      com); Kalin,        litigation.                       Attorney Work
                                                           [redacted]                                                  Weeks                Matthew C                                             Product
                                                                                                                       (rweeks@mpdlega      (mkalin@travelers
                                                                                                                       l.com)               .com)
MPD_00000580   MPD_00000581                5/12/20 21:18   [External]            [redacted].doc      Ryan J. Weeks     Kalin, Matthew C     Seth Mills          Email discussing Withhold -       Attorney Client
                                                           Raymond James                             (rweeks@mpdlega (mkalin@travelers      (smills@mpdlegal.   Travelers' draft     Privileged   Communication
                                                           Financial, Inc. -:                        l.com)            .com); Sondak,       com)                Rule 26(a)(1)
                                                           [redacted]                                                  Robyn                                    Initial Disclosures.
                                                                                                                       (rsondak@traveler
                                                                                                                       s.com)

MPD_00000588                               5/13/20 9:41    [External] RE:                            Ryan J. Weeks   Kalin, Matthew C Seth Mills                Email discussing Withhold -       Attorney Client
                                                           Raymond James                             (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.        Travelers' draft    Privileged    Communication
                                                           Financial, Inc. -:                        l.com)          .com); Sondak,    com)                     Rule 26(a)(1)
                                                           [redacted]                                                Robyn                                      Initial Disclosures
                                                                                                                     (rsondak@traveler                          and moving the
                                                                                                                     s.com)                                     matter to another
                                                                                                                                                                court.

MPD_00000612                               5/13/20 12:44   RE: [External] RE:                        Kalin, Matthew C Ryan J. Weeks         Seth Mills          Email discussing    Withhold -    Attorney Client
                                                           Raymond James                             (mkalin@travelers (rweeks@mpdlega      (smills@mpdlegal.   draft initial       Privileged    Communication
                                                           Financial, Inc. -:                        .com)             l.com); Sondak,      com); Kalin,        disclosures.
                                                           [redacted]                                                  Robyn                Matthew C
                                                                                                                       (rsondak@traveler    (mkalin@travelers
                                                                                                                       s.com)               .com)
MPD_00000613                               5/13/20 13:32   RE: [External] RE:                        Sondak, Robyn     Kalin, Matthew C     Seth Mills          Email discussing    Withhold -    Attorney Client
                                                           Raymond James                             (rsondak@traveler (mkalin@travelers    (smills@mpdlegal.   draft initial       Privileged    Communication
                                                           Financial, Inc. -:                        s.com)            .com); Ryan J.       com)                disclosures.
                                                           [redacted]                                                  Weeks
                                                                                                                       (rweeks@mpdlega
                                                                                                                       l.com)




                                                                                                    25 of 30
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                                                                                            March 4, 2021

MPD_00000128   MPD_00000129;               5/13/20 14:34   [External]          [redacted]      Cheryl L. Soltis  Sondak, Robyn     Ryan J. Weeks     Email regarding   Withhold -   Attorney Client
               MPD_00000130                                Raymond James                       (csoltis@mpdlegal (rsondak@traveler (rweeks@mpdlega   court filings.    Privileged   Communication
                                                           Financial, Inc. -                   .com)             s.com); Kalin,    l.com)
                                                           Raymond James                                         Matthew C
                                                           Financial, Inc. v.                                    (mkalin@travelers
                                                           Federal Insurance                                     .com)
                                                           Company,
                                                           Travelers Casualty
                                                           and Surety, Great
                                                           American, and
                                                           Beazley Insurance -
                                                           Case no. 1:20-cv-
                                                           21707




MPD_00000158   MPD_00000159                5/14/20 14:55   [External]          [redacted]      Cheryl L. Soltis  Sondak, Robyn     Ryan J. Weeks     Email regarding   Withhold -   Attorney Client
                                                           Raymond James                       (csoltis@mpdlegal (rsondak@traveler (rweeks@mpdlega   court filings.    Privileged   Communication
                                                           Financial, Inc. -                   .com)             s.com); Kalin,    l.com)
                                                           Raymond James                                         Matthew C
                                                           Financial, Inc. v.                                    (mkalin@travelers
                                                           Federal Insurance                                     .com)
                                                           Company,
                                                           Travelers Casualty
                                                           and Surety, Great
                                                           American, and
                                                           Beazley Insurance -
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                                                           21707




MPD_00000163   MPD_00000164                5/15/20 8:59    [External]          [redacted]      Cheryl L. Soltis  Sondak, Robyn     Ryan J. Weeks     Email regarding   Withhold -   Attorney Client
               thru                                        Raymond James                       (csoltis@mpdlegal (rsondak@traveler (rweeks@mpdlega   court filings.    Privileged   Communication
               MPD_00000167                                Financial, Inc. -                   .com)             s.com); Kalin,    l.com)
                                                           Raymond James                                         Matthew C
                                                           Financial, Inc. v.                                    (mkalin@travelers
                                                           Federal Insurance                                     .com)
                                                           Company,
                                                           Travelers Casualty
                                                           and Surety, Great
                                                           American, and
                                                           Beazley Insurance -
                                                           Case no. 1:20-cv-
                                                           21707




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MPD_00000104   MPD_00000105;               5/18/20 9:04    [External] FW:      [redacted]           Cheryl L. Soltis  Sondak, Robyn     Ryan J. Weeks              Email regarding     Withhold -    Attorney Client
               MPD_00000106;                               Raymond James                            (csoltis@mpdlegal (rsondak@traveler (rweeks@mpdlega            court filings.      Privileged    Communication
               MPD_00000107                                Financial, Inc. -                        .com)             s.com); Kalin,    l.com)
                                                           Raymond James                                              Matthew C
                                                           Financial, Inc. v.                                         (mkalin@travelers
                                                           Federal Insurance                                          .com)
                                                           Company,
                                                           Travelers Casualty
                                                           and Surety, Great
                                                           American, and
                                                           Beazley Insurance -
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                                                           21707




MPD_00000589   MPD_00000590                5/18/20 14:56   [External] RE:       [redacted].doc   Ryan J. Weeks     Sondak, Robyn      Seth Mills                   Email discussing Withhold -       Attorney Client
                                                           Raymond James                         (rweeks@mpdlega (rsondak@traveler (smills@mpdlegal.               Travelers' draft     Privileged   Communication
                                                           Financial, Inc. -:                    l.com)            s.com); Kalin,     com)                         Rule 26(a)(1)
                                                           [redacted]                                              Matthew C                                       Initial Disclosures.
                                                                                                                   (mkalin@travelers
                                                                                                                   .com)
MPD_00000293   MPD_00000294;               6/8/20 13:44    Notice of Lawsuit Summons             Flowers, Robert M Houston, Marci                                  Email regarding     Withhold -    Work Product
               MPD_00000295;                               | Insured:        Complaint.pdf;      (rflowers@travele (mhouston@trave                                 Raymond James'      Privileged
               MPD_00000296                                Raymond James Exhibit part 1 of       rs.com)           lers.com); Karp,                                Complaint.
                                                           Financial | Claim 2.pdf; Exhibit part                   Jay S
                                                           No. T1606665      2 of 2.pdf                            (jskarp@travelers.
                                                                                                                   com); Wilson,
                                                                                                                   Aileen R
                                                                                                                   (arwilson@travele
                                                                                                                   rs.com); Kalin,
                                                                                                                   Matthew C
                                                                                                                   (mkalin@travelers
                                                                                                                   .com); Sondak,
                                                                                                                   Robyn
                                                                                                                   (rsondak@traveler
                                                                                                                   s.com)

MPD_00000054   MPD_00000055;               6/8/20 17:30    [External] RE:       [redacted]          Ryan J. Weeks   Sondak, Robyn     Seth Mills                   Email regarding     Withhold -    Attorney Client
               MPD_00000056;                               Raymond James                            (rweeks@mpdlega (rsondak@traveler (smills@mpdlegal.            the Court's         Privileged    Communication
               MPD_00000057                                Financial, Inc. -:                       l.com)          s.com); Kalin,    com)                         scheduling
                                                           [redacted]                                               Matthew C                                      conference, other
                                                                                                                    (mkalin@travelers                              court filings, case
                                                                                                                    .com)                                          assessment
                                                                                                                                                                   report, and
                                                                                                                                                                   answer.

MPD_00000002                               6/8/20 18:44                         [redacted] Report                                                         rweeks   MPD's case         Withhold -     Attorney Client
                                                                                [redacted].pdf                                                                     assessment report Privileged      Communication
                                                                                                                                                                   providing strategy                Attorney Work
                                                                                                                                                                   for litigation.                   Product

MPD_00000089   MPD_00000090;               6/12/20 16:36   [External] RE:       [redacted]          Ryan J. Weeks   Kalin, Matthew C Seth Mills                    Email regarding     Withhold -    Attorney Client
               MPD_00000091                                Raymond James                            (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.            Travelers' draft    Privileged    Communication
                                                           Financial, Inc. -:                       l.com)          .com); Sondak,    com)                         answer.                           Attorney Work
                                                           [redacted]                                               Robyn                                                                            Product
                                                                                                                    (rsondak@traveler
                                                                                                                    s.com)




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MPD_00000152                               6/15/20 9:23    RE: [External] RE:                       Kalin, Matthew C Ryan J. Weeks        Seth Mills               Email regarding    Withhold -    Attorney Client
                                                           Raymond James                            (mkalin@travelers (rweeks@mpdlega     (smills@mpdlegal.        Travelers' draft   Privileged    Communication
                                                           Financial, Inc. -:                       .com)             l.com); Sondak,     com); Kalin,             answer.
                                                           [redacted]                                                 Robyn               Matthew C
                                                                                                                      (rsondak@traveler   (mkalin@travelers
                                                                                                                      s.com)              .com)
MPD_00000177   MPD_00000178                6/15/20 15:48   [External] RE:       [redacted]          Ryan J. Weeks     Kalin, Matthew C    Seth Mills               Email regarding    Withhold -    Attorney Client
                                                           Raymond James                            (rweeks@mpdlega (mkalin@travelers     (smills@mpdlegal.        Travelers' draft   Privileged    Communication
                                                           Financial, Inc. -:                       l.com)            .com); Sondak,      com)                     answer.                          Attorney Work
                                                           [redacted]                                                 Robyn                                                                         Product
                                                                                                                      (rsondak@traveler
                                                                                                                      s.com)

MPD_00000070   MPD_00000071                6/23/20 12:47   [External]           [redacted]          Ryan J. Weeks   Kalin, Matthew C                               Email regarding    Withhold -    Attorney Client
               thru                                        Raymond James                            (rweeks@mpdlega (mkalin@travelers                              Travelers' filed   Privileged    Communication
               MPD_00000074                                Financial, Inc. -:                       l.com)          .com); Sondak,                                 answer and
                                                           [redacted]                                               Robyn                                          Federal's
                                                                                                                    (rsondak@traveler                              discovery requests
                                                                                                                    s.com)                                         to Raymond
                                                                                                                                                                   James.

MPD_00000611                               6/29/20 11:14   RE: [External]                           Sondak, Robyn     Cheryl L. Soltis  Ryan J. Weeks              Email discussing   Withhold -    Attorney Client
                                                           Raymond James                            (rsondak@traveler (csoltis@mpdlegal (rweeks@mpdlega            responses to       Privileged    Communication
                                                           Financial, Inc. -                        s.com)            .com); Kalin,     l.com)                     requests for
                                                           Raymond James                                              Matthew C                                    production to
                                                           Financial, Inc. v.                                         (mkalin@travelers                            Travelers
                                                           Federal Insurance                                          .com)
                                                           Company et al. -
                                                           Case no. 1:20-cv-
                                                           21707-UU -
                                                           [redacted]

MPD_00000117   MPD_00000118                7/8/20 15:44    [External]         [redacted]            Cheryl L. Soltis  Sondak, Robyn     Ryan J. Weeks              Email regarding    Withhold -    Attorney Client
               thru                                        Raymond James                            (csoltis@mpdlegal (rsondak@traveler (rweeks@mpdlega            court filings.     Privileged    Communication
               MPD_00000121                                Financial, Inc. -:                       .com)             s.com); Kalin,    l.com)
                                                           Raymond James                                              Matthew C
                                                           Financial, Inc. v.                                         (mkalin@travelers
                                                           Federal Insurance                                          .com)
                                                           Company et al. -
                                                           [redacted]

MPD_00000059   MPD_00000060                7/8/20 20:06    RE: [External] RE: [redacted]            Kalin, Matthew C Ryan J. Weeks        Seth Mills               Email regarding   Withhold -     Attorney Client
                                                           Raymond James                            (mkalin@travelers (rweeks@mpdlega     (smills@mpdlegal.        the various bonds Privileged     Communication
                                                           Financial, Inc. -:                       .com)             l.com); Sondak,     com); Kalin,             issued by
                                                           Raymond James                                              Robyn               Matthew C                Travelers and St.
                                                           Financial, Inc. v.                                         (rsondak@traveler   (mkalin@travelers        Paul to Raymond
                                                           Federal Insurance                                          s.com)              .com)                    James.
                                                           Company et al. -
                                                           [redacted]

MPD_00000288   MPD_00000289                7/8/20 20:12    RE: [redacted] --    Raymond James       Kalin, Matthew C Feurer, Deborah A Kalin, Matthew C ksoppela   Email regarding     Withhold -   Work Product
                                                           July 2020            [redacted].doc      (mkalin@travelers (dfeurer@traveler (mkalin@travelers          Travelers' internal Privileged
                                                                                                    .com)             s.com)            .com)                      report on the
                                                                                                                                                                   litigation.




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MPD_00000156   MPD_00000157                7/9/20 9:00     [External]         [redacted]        Cheryl L. Soltis  Sondak, Robyn     Ryan J. Weeks         Email regarding      Withhold -   Attorney Client
                                                           Raymond James                        (csoltis@mpdlegal (rsondak@traveler (rweeks@mpdlega       court filings.       Privileged   Communication
                                                           Financial, Inc. -:                   .com)             s.com); Kalin,    l.com)
                                                           Raymond James                                          Matthew C
                                                           Financial, Inc. v.                                     (mkalin@travelers
                                                           Federal Insurance                                      .com)
                                                           Company et al. -
                                                           [redacted]

MPD_00000657                               7/9/20 13:52    RE: [redacted]                       Feurer, Deborah A Kalin, Matthew C                        Email regarding     Withhold -    Work Product
                                                                                                (dfeurer@traveler (mkalin@travelers                       Significant         Privileged
                                                                                                s.com)            .com)                                   Litigation Reports.

MPD_00000658                               7/10/20 6:30    RE: [redacted]                       Kalin, Matthew C Cunningham,          Kalin, Matthew C    Email regarding     Withhold -    Work Product
                                                                                                (mkalin@travelers Melissa A           (mkalin@travelers   Significant         Privileged
                                                                                                .com)             (macunnin@travel    .com)               Litigation Reports.
                                                                                                                  ers.com)
MPD_00000188   MPD_00000189;               7/10/20 10:30   [External]         [redacted]        Cheryl L. Soltis  Sondak, Robyn       Ryan J. Weeks       Email regarding      Withhold -   Attorney Client
               MPD_00000190                                Raymond James                        (csoltis@mpdlegal (rsondak@traveler   (rweeks@mpdlega     court filings.       Privileged   Communication
                                                           Financial, Inc. -:                   .com)             s.com); Kalin,      l.com)
                                                           Raymond James                                          Matthew C
                                                           Financial, Inc. v.                                     (mkalin@travelers
                                                           Federal Insurance                                      .com)
                                                           Company et al. -
                                                           [redacted]

MPD_00000606                               7/10/20 14:58   RE: [External]                       Kalin, Matthew C Ryan J. Weeks    Sondak, Robyn           Email regarding   Withhold -      Attorney Client
                                                           Raymond James                        (mkalin@travelers (rweeks@mpdlega (rsondak@traveler       pleadings and and Privileged      Communication
                                                           Financial, Inc. -:                   .com)             l.com)          s.com); Kalin,          answer deadline.
                                                           Raymond James                                                          Matthew C
                                                           Financial, Inc. v.                                                     (mkalin@travelers
                                                           Federal Insurance                                                      .com)
                                                           Company et al. -
                                                           Court filings

MPD_00000596                               7/10/20 16:51   [External] RE:                       Ryan J. Weeks   Kalin, Matthew C Sondak, Robyn            Email discussing Withhold -       Attorney Client
                                                           Raymond James                        (rweeks@mpdlega (mkalin@travelers (rsondak@traveler       the Amended         Privileged    Communication
                                                           Financial, Inc. -:                   l.com)          .com)             s.com); Cheryl L.       Complaint served
                                                           Raymond James                                                          Soltis                  Travelers and St.
                                                           Financial, Inc. v.                                                     (csoltis@mpdlegal       Paul and deadlines
                                                           Federal Insurance                                                      .com)                   for filing answers.
                                                           Company et al. -
                                                           Court filings

MPD_00000185   MPD_00000186;               7/15/20 8:59    [External]         [redacted]        Cheryl L. Soltis  Sondak, Robyn     Ryan J. Weeks         Email regarding      Withhold -   Attorney Client
               MPD_00000187                                Raymond James                        (csoltis@mpdlegal (rsondak@traveler (rweeks@mpdlega       court filings.       Privileged   Communication
                                                           Financial, Inc. -:                   .com)             s.com); Kalin,    l.com)
                                                           Raymond James                                          Matthew C
                                                           Financial, Inc. v.                                     (mkalin@travelers
                                                           Federal Insurance                                      .com)
                                                           Company et al. -
                                                           [redacted]

MPD_00000092   MPD_00000093                7/15/20 11:29   [External]           [redacted]      Ryan J. Weeks   Kalin, Matthew C Seth Mills               Email regarding      Withhold -   Attorney Client
               thru                                        Raymond James                        (rweeks@mpdlega (mkalin@travelers (smills@mpdlegal.       Travelers' and St.   Privileged   Communication
               MPD_00000098                                Financial, Inc. -:                   l.com)          .com); Sondak,    com)                    Paul's draft                      Attorney Work
                                                           [redacted]                                           Robyn                                     answers to                        Product
                                                                                                                (rsondak@traveler                         amended
                                                                                                                s.com)                                    complaint.




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MPD_00000076                                          7/20/20 6:56     RE: [External]                            Kalin, Matthew C Ryan J. Weeks        Seth Mills                       Email regarding   Withhold -        Attorney Client
                                                                       Raymond James                             (mkalin@travelers (rweeks@mpdlega     (smills@mpdlegal.                the various bonds Privileged        Communication
                                                                       Financial, Inc. -:                        .com)             l.com); Sondak,     com); Kalin,                     issued by
                                                                       [redacted]                                                  Robyn               Matthew C                        Travelers and St.
                                                                                                                                   (rsondak@traveler   (mkalin@travelers                Paul to Raymond
                                                                                                                                   s.com)              .com)                            James.

MPD_00000058                                          7/20/20 7:26     Raymond James                             Kalin, Matthew C Bond & SI Claim -    Kalin, Matthew C                 Email regarding    Withhold -       Attorney Client
                                                                       Financial, Inc -                          (mkalin@travelers ML CSR              (mkalin@travelers                Travelers'         Privileged       Communication
                                                                       T1606665                                  .com)             (bsiclaimmlcsr@tr   .com); Ryan J.                   document
                                                                                                                                   avelers.com)        Weeks                            production.
                                                                                                                                                       (rweeks@mpdlega
                                                                                                                                                       l.com)

MPD_00000584   MPD_00000585                           8/4/20 10:01     [External]           [redacted].docx      Ryan J. Weeks     Sondak, Robyn                           Adam Cooke   Email regarding St. Withhold -      Attorney Client
                                                                       Raymond James                             (rweeks@mpdlega (rsondak@traveler                                      Paul's Corporate Privileged         Communication
                                                                       Financial, Inc. -:                        l.com)            s.com); Kalin,                                       Disclosure
                                                                       [redacted]                                                  Matthew C                                            Statement.
                                                                                                                                   (mkalin@travelers
                                                                                                                                   .com)
MPD_00000607                                          8/4/20 10:39     RE: [External]                            Sondak, Robyn     Ryan J. Weeks                                        Email regarding    Withhold -       Attorney Client
                                                                       Raymond James                             (rsondak@traveler (rweeks@mpdlega                                      corporate          Privileged       Communication
                                                                       Financial, Inc. -:                        s.com)            l.com); Kalin,                                       disclosure
                                                                       [redacted]                                                  Matthew C                                            statement
                                                                                                                                   (mkalin@travelers
                                                                                                                                   .com)

MPD_00000577                  TRAVELERS_ TRAVELERS_0 8/11/20 15:32                          Claim Notes.pdf                                                                Travelers    Various entries    Produce - with   Attorney Client
                              00004817   0004834                                                                                                                                        addressing         Redactions       Communication
                                                                                                                                                                                        communications                      Work Product
                                                                                                                                                                                        with counsel,                       Common Interest
                                                                                                                                                                                        confidentiality
                                                                                                                                                                                        agreement, tolling
                                                                                                                                                                                        agreement, and
                                                                                                                                                                                        common interest
                                                                                                                                                                                        communications.




MPD_00000710                                          10/29/20 14:25                        20201028140238.                                                                             Handwritten notes Withhold -        Common Interest;
                                                                                            pdf                                                                                                           Privileged        Work Product

MPD_00000711                                          10/29/20 14:25                        20201028140251.                                                                             Handwritten notes Withhold -        Attorney Client
                                                                                            pdf                                                                                                           Privileged        Communication
MPD_00000712                                          10/29/20 14:25                        20201028144006.                                                                             Handwritten notes Withhold -        Common
                                                                                            pdf                                                                                                           Privileged        Interest;Work
                                                                                                                                                                                                                            Product




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                                             UNITED STATES DISTRICT COURT
                                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                    MIAMI DIVISION


RAYMOND JAMES FINANCIAL, INC.,
                                                                                         CASE NO. 1:20-cv-21707-JEM
         Plaintiff,

v.

FEDERAL INSURANCE COMPANY, TRAVELERS
CASUALTY AND SURETY COMPANY OF AMERICA,
GREAT AMERICAN INSURANCE COMPANY,
BEAZLEY INSURANCE COMPANY, INC., and ST.
PAUL MERCURY INSURANCE COMPANY,

         Defendants.



                                         BEAZLEY INSURANCE COMPANY, INC.’S
                                    LOG OF PRIVILEGED AND PROTECTED DOCUMENTS

                                                                                                                                   Privilege
 Privileged                                                                                                                           or
 Document                                                                                                                         Exemption
  Number              Date      Author(s)           Recipient(s)            Copies                    Description                  Claimed
     1          05/16/2016   Shawna Stump,       Marc Rindner,         Katherine          Email requesting that Wiley Rein        Attorney-
                             Underwriting and    Partner, Wiley Rein   Vierkorn,          LLP serve as coverage counsel for         Client
                             Claims              LLP (“WR”)            Specialty Lines    Beazley in connection with a fidelity   Privilege
                             Operations,                               Claims, Beazley    bond claim (the “Claim”) by              (“AC”)
                                                 Leslie Platt,
                             Beazley Insurance                                            Raymond James Financial, Inc.
                                                 Partner, WR
                                                                                          (“Raymond James”)

                                                                       1
Beazley’s Privilege Log
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                          Company              Parker Levin,        Henri-Errol
                          (“Beazley”)          Partner, WR          Smith, Group
                                                                    Claims –
                          Beazley Claims       Jason O’Brien,
                                                                    TMB/BBR,
                          Department           Special Counsel,
                                                                    Beazley
                                               WR
     2       05/16/2016   Leslie Platt, WR     Beazley Claims       Katherine        Emails concerning request that Wiley   AC
                                               Department           Vierkorn,        Rein LLP serve as coverage counsel
                                                                    Beazley          for Beazley in connection with the
                                               Marc Rindner, WR
                                                                                     Claim
                                                                    Henri-Errol
                                               Parker Levin, WR
                                                                    Smith, Beazley
                                               Jason O’Brien, WR

             05/16/2016   Shawna Stump,        Marc Rindner, WR     Katherine
                          Beazley                                   Vierkorn,
                                               Leslie Platt, WR
                          Beazley Claims                            Beazley
                                               Parker Levin, WR
                          Department                                Henri-Errol
                                               Jason O’Brien, WR    Smith, Beazley
     3       05/16/2016   Jason O’Brien,       Henri-Errol Smith,                    Emails concerning request that Wiley   AC
                          WR                   Beazley                               Rein LLP serve as coverage counsel
                                                                                     for Beazley in connection with the
             05/16/2016   Shawna Stump,        Marc Rindner, WR     Katherine        Claim and requesting information
                          Beazley                                   Vierkorn,        needed to serve as coverage counsel
                                               Leslie Platt, WR
                                                                    Beazley          in connection with the Claim
                          Beazley Claims
                                               Parker Levin, WR
                          Department                                Henri-Errol
                                               Jason O’Brien, WR    Smith, Beazley
     4       05/16/2016   Henri-Errol Smith,   Jason O’Brien, WR                     Email providing information needed     AC
                          Beazley                                                    by WR to serve as coverage counsel
                                                                                     in connection with the Claim




                                                                    2
Beazley’s Privilege Log
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                                                   109



     5       05/17/2016   Jason O’Brien,       Katherine            Henri-Errol        Email with legal analysis by             AC
                          WR                   Vierkorn, Beazley    Smith, Beazley     Jason O’Brien of coverage issues
                                                                                       relating to the Claim, legal advice by
                                                                    Leslie Platt, WR
                                                                                       Mr. O’Brien, and proposed email to
                                                                                       Raymond James acknowledging
                                                                                       receipt of the Claim and reserving all
                                                                                       rights
     6       05/17/2016   Jason O’Brien,       Henri-Errol Smith,                      Emails requesting and providing          AC
                          WR                   Beazley                                 information needed by WR to serve
                                                                                       as coverage counsel in connection
             05/16/2016   Henri-Errol Smith,   Jason O’Brien, WR
                                                                                       with the Raymond James’ Claim
                          Beazley
     7       05/18/2016   Jason O’Brien,       Katherine            Henri-Errol        Email with legal analysis by             AC
                          WR                   Vierkorn, Beazley    Smith, Beazley     Jason O’Brien of coverage issues
                                                                                       relating to the Claim, legal advice by
                                                                    Leslie Platt, WR
                                                                                       Mr. O’Brien, and proposed email to
             05/17/2016   Jason O’Brien,       Katherine            Henri-Errol        Raymond James acknowledging
                          WR                   Vierkorn, Beazley    Smith, Beazley     receipt of the Claim and reserving all
                                                                    Leslie Platt, WR   rights

     8       05/18/2016   Katherine            Jason O’Brien, WR    Leslie Platt, WR   Emails requesting and providing          AC
                          Vierkorn, Beazley                                            information needed by WR to serve
                                                                                       as coverage counsel in connection
             05/18/2016   Jason O’Brien,       Katherine            Leslie Platt, WR   with the Raymond James’ Claim and
                          WR                   Vierkorn, Beazley                       containing legal analysis by
             05/18/2016   Katherine            Jason O’Brien, WR    Leslie Platt, WR   Jason O’Brien of coverage issues
                                                                                       relating to the Claim, legal advice by
                          Vierkorn, Beazley
                                                                                       Mr. O’Brien, and proposed email to
             05/18/2016   Jason O’Brien,       Katherine            Henri-Errol        Raymond James acknowledging
                          WR                   Vierkorn, Beazley    Smith, Beazley     receipt of the Claim and reserving all
                                                                                       rights
                                                                    Leslie Platt, WR
             05/17/2016   Jason O’Brien,       Katherine            Henri-Errol
                          WR                   Vierkorn, Beazley    Smith, Beazley
                                                                    Leslie Platt, WR

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     9       05/18/2016   Katherine           Jason O’Brien, WR   Leslie Platt, WR   Emails requesting and providing          AC
                          Vierkorn, Beazley                                          information needed by WR to serve
                                                                                     as coverage counsel in connection
                                                                                     with the Raymond James’ Claim and
             05/18/2016   Jason O’Brien,      Katherine           Henri-Errol        containing legal analysis by
                          WR                  Vierkorn, Beazley   Smith, Beazley     Jason O’Brien of coverage issues
                                                                  Leslie Platt, WR   relating to the Claim, legal advice by
                                                                                     Mr. O’Brien, and proposed email to
             05/17/2016   Jason O’Brien,      Katherine           Henri-Errol        Raymond James acknowledging
                          WR                  Vierkorn, Beazley   Smith, Beazley     receipt of the Claim and reserving all
                                                                  Leslie Platt, WR   rights

     10      05/18/2016   Jason O’Brien,      Katherine           Leslie Platt, WR   Emails requesting and providing          AC
                          WR                  Vierkorn, Beazley                      information needed by WR to serve
             05/18/2016                                                              as coverage counsel in connection
                          Katherine           Jason O’Brien, WR   Leslie Platt, WR
                                                                                     with the Raymond James’ Claim and
                          Vierkorn, Beazley
                                                                                     containing legal analysis by
                                                                                     Jason O’Brien of coverage issues
             05/18/2016   Jason O’Brien,      Katherine           Henri-Errol        relating to the Claim, legal advice by
                          WR                  Vierkorn, Beazley   Smith, Beazley     Mr. O’Brien, and proposed email to
                                                                                     Raymond James acknowledging
                                                                  Leslie Platt, WR   receipt of the Claim and reserving all
             05/17/2016   Jason O’Brien,      Katherine           Henri-Errol        rights
                          WR                  Vierkorn, Beazley   Smith, Beazley
                                                                  Leslie Platt, WR
     11      05/18/2016   Jason O’Brien,      William Jennings,   Katherine          Emails requesting and providing          AC
                          WR                  Crime Policy        Vierkorn,          information needed by WR to serve
                                              Manager, Beazley    Beazley            as coverage counsel in connection
                                                                                     with the Raymond James’ Claim and
                                                                  Leslie Platt, WR
                                                                                     containing legal analysis by
             05/18/2016   William Jennings,   Katherine                              Jason O’Brien of coverage issues
                                                                                     relating to the Claim, legal advice by
                          Beazley             Vierkorn, Beazley
                                                                                     Mr. O’Brien, and proposed email to
                                                                                     Raymond James acknowledging


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             05/18/2016   Katherine           William Jennings,   Mark Rinder, WR    receipt of the Claim and reserving all
                          Vierkorn, Beazley   Beazley                                rights
                                                                  Jason O’Brien,
                                              John Souphanya,     WR
                                              Risk Analyst,
             05/17/2016                       Beazley             Henri-Errol
                          Jason O’Brien,      Katherine           Smith, Beazley
                          WR                  Vierkorn, Beazley   Leslie Platt, WR

     12      05/18/2016   William Jennings,   Jason O’Brien,      Katherine          Emails requesting and providing          AC
                          Beazley             Beazley             Vierkorn,          information needed by WR to serve
                                                                  Beazley            as coverage counsel in connection
                                                                                     with the Raymond James’ Claim and
                                                                  Leslie Platt, WR
                                                                                     containing legal analysis by
             05/18/2016   Jason O’Brien,      William Jennings,   Katherine          Jason O’Brien of coverage issues
                          WR                  Beazley             Vierkorn,          relating to the Claim, legal advice by
                                                                  Beazley            Mr. O’Brien, and proposed email to
                                                                                     Raymond James acknowledging
                                                                  Leslie Platt, WR
                                                                                     receipt of the Claim and reserving all
             05/18/2016   William Jennings,   Katherine                              rights
                          Beazley             Vierkorn, Beazley


             05/18/2016   Katherine           William Jennings,   Mark Rinder, WR
                          Vierkorn, Beazley   Beazley
                                                                  Jason O’Brien,
                                              John Souphanya,     WR
                                              Beazley

             05/17/2016   Jason O’Brien,      Katherine           Henri-Errol
                          WR                  Vierkorn, Beazley   Smith, Beazley
                                                                  Leslie Platt, WR
     13      05/19/2016   Jason O’Brien,      William Jennings,                      Emails requesting and providing          AC
                          WR                  Beazley                                information needed by WR to serve
                                                                                     as coverage counsel in connection

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             05/18/2016   William Jennings,    Jason O’Brien,      Katherine          with the Raymond James’ Claim and
                          Beazley              Beazley             Vierkorn,          containing legal analysis by
                                                                   Beazley            Jason O’Brien of coverage issues
                                                                                      relating to the Claim, legal advice by
                                                                   Leslie Platt, WR
                                                                                      Mr. O’Brien, and proposed email to
             05/18/2016   Jason O’Brien,       William Jennings,   Katherine          Raymond James acknowledging
                          WR                   Beazley             Vierkorn,          receipt of the Claim and reserving all
                                                                   Beazley            rights
                                                                   Leslie Platt, WR

             05/18/2016   William Jennings,    Katherine
                          Beazley              Vierkorn, Beazley


                          Katherine            William Jennings,   Mark Rinder, WR
             05/18/2016
                          Vierkorn, Beazley    Beazley
                                                                   Jason O’Brien,
                                               John Souphanya,     WR
                                               Beazley

             05/17/2016   Jason O’Brien,       Katherine           Henri-Errol
                          WR                   Vierkorn, Beazley   Smith, Beazley
                                                                   Leslie Platt, WR
     14      05/19/2016   Katherine            Jason O’Brien, WR                      Emails providing information needed      AC
                          Vierkorn, Beazley                                           by WR to serve as coverage counsel
                                                                                      in connection with the Raymond
                                                                                      James’ Claim
     15      05/19/2016   Jason O’Brien,       Katherine                              Emails concerning information            AC
                          WR                   Vierkorn, Beazley                      needed by WR to serve as coverage
                                                                                      counsel in connection with the
             05/19/2016   Katherine            Jason O’Brien, WR                      Raymond James’ Claim
                          Vierkorn, Beazley
     16      05/19/2016   Henri-Errol Smith,   Jason O’Brien, WR                      Email providing information needed       AC
                          Beazley                                                     by WR to serve as coverage counsel


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                                                                                       in connection with the Raymond
                                                                                       James’ Claim
     17      05/19/2016   Jason O’Brien,       Henri-Errol Smith,                      Emails concerning information            AC
                          WR                   Beazley                                 needed by WR to serve as coverage
                                                                                       counsel in connection with the
             05/19/2016   Henri-Errol Smith,   Jason O’Brien, WR
                                                                                       Raymond James’ Claim
                          Beazley


     18      05/23/2016   Jason O’Brien,       Katherine            Henri-Errol        Email with legal analysis by             AC
                          WR                   Vierkorn, Beazley    Smith, Beazley     Jason O’Brien of coverage issues
                                                                                       relating to the Claim and legal advice
                                                                    Leslie Platt, WR
                                                                                       by Mr. O’Brien
     19      05/24/2016   Katherine            Jason O’Brien, WR    Henri-Errol        Emails concerning legal analysis by      AC
                          Vierkorn, Beazley                         Smith, Beazley     Jason O’Brien of coverage issues
                                                                                       relating to the Claim and legal advice
                                                                    Leslie Platt, WR
                                                                                       by Mr. O’Brien
             05/23/2016   Jason O’Brien,       Katherine            Henri-Errol
                          WR                   Vierkorn, Beazley    Smith, Beazley
                                                                    Leslie Platt, WR
     20      05/31/2016   Jason O’Brien,       Katherine            Henri-Errol        Email with legal analysis by             AC
                          WR                   Vierkorn, Beazley    Smith, Beazley     Jason O’Brien of coverage issues
                                                                                       relating to the Claim, legal advice by
                                                                    Leslie Platt, WR
                                                                                       Mr. O’Brien, and draft email
                                                                                       correspondence to Raymond James’
                                                                                       broker
     21      06/01/2016   Katherine            Jason O’Brien, WR    Leslie Platt, WR   Emails regarding legal analysis by       AC
                          Vierkorn, Beazley                                            Jason O’Brien of coverage issues
                                                                                       relating to the Claim and legal advice
             05/31/2016   Jason O’Brien,       Katherine            Henri-Errol        by Mr. O’Brien, and concerning draft
                          WR                   Vierkorn, Beazley    Smith, Beazley     email correspondence to Raymond
                                                                    Leslie Platt, WR   James’ broker



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     22      06/30/2016   Jason O’Brien,      Katherine           Henri-Errol        Email with legal analysis by             AC
                          WR                  Vierkorn, Beazley   Smith, Beazley     Jason O’Brien of coverage issues
                                                                                     relating to the Claim, legal advice by
                                                                  Leslie Platt, WR
                                                                                     Mr. O’Brien, and draft email
                                                                                     correspondence to Raymond James’
                                                                                     broker
     23      07/01/2016   Katherine           Jason O’Brien, WR   Henri-Errol        Email regarding legal analysis by        AC
                          Vierkorn, Beazley                       Smith, Beazley     Jason O’Brien of coverage issues
                                                                                     relating to the Claim and legal advice
                                                                  Leslie Platt, WR
                                                                                     by Mr. O’Brien, and concerning draft
                          Jason O’Brien,      Katherine                              email correspondence to Raymond
             06/30/2016                                           Leslie Platt, WR
                          WR                  Vierkorn, Beazley                      James’ broker


     24      01/16/2017   Kevin Walker,       Jason O’Brien, WR                      Email concerning status of the Claim     AC
                          Claims Manager,
                          Specialty Lines—
                          Group Claims,
                          Beazley
     25      01/16/2017   Jason O’Brien,      Kevin Walker,                          Emails concerning status of the Claim    AC
                          WR                  Beazley

             01/16/2017   Kevin Walker,       Jason O’Brien, WR
                          Claims Manager,
                          Specialty Lines—
                          Group Claims,
                          Beazley
     26      01/26/2017   Jason O’Brien,      Kevin Walker,       Leslie Platt, WR   Emails regarding legal analysis by       AC
                          WR                  Beazley                                Jason O’Brien of coverage issues
                                                                                     relating to the Claim and legal advice
             07/01/2016   Katherine           Jason O’Brien, WR   Henri-Errol        by Mr. O’Brien, and concerning draft
                          Vierkorn, Beazley                       Smith, Beazley     email correspondence to Raymond
                                                                  Leslie Platt, WR   James’ broker



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             06/30/2016   Jason O’Brien,      Katherine           Leslie Platt, WR
                          WR                  Vierkorn, Beazley


     27      01/27/2017   Kevin Walker,       Jason O’Brien, WR   Leslie Platt, WR   Emails regarding legal analysis by       AC
                          Beazley                                                    Jason O’Brien of coverage issues
                                                                                     relating to the Claim, legal advice by
             01/26/2017   Jason O’Brien,      Kevin Walker,       Leslie Platt, WR   Mr. O’Brien, and draft email
                          WR                  Beazley                                correspondence to Raymond James’
                                                                                     broker
             07/01/2016   Katherine           Jason O’Brien, WR   Henri-Errol
                          Vierkorn, Beazley                       Smith, Beazley
                                                                  Leslie Platt, WR

             06/30/2016   Jason O’Brien,      Katherine           Leslie Platt, WR
                          WR                  Vierkorn, Beazley


     28      03/20/2017   Jason O’Brien,      Kevin Walker,       Leslie Platt, WR   Email with legal analysis by             AC
                          WR                  Beazley                                Jason O’Brien of coverage issues
                                                                                     relating to the Claim and legal advice
                                                                                     by Mr. O’Brien
                                                                                     Attachment: Privileged Document
                                                                                     No. 26
     29      03/27/2017   Kevin Walker,       Jason O’Brien, WR   Leslie Platt, WR   Emails regarding legal analysis by       AC
                          Beazley                                                    Jason O’Brien of coverage issues
                                                                                     relating to the Claim and legal advice
             03/20/2017   Jason O’Brien,      Kevin Walker,       Leslie Platt, WR   by Mr. O’Brien
                          WR                  Beazley
                                                                                     Attachment: Privileged Document
                                                                                     No. 26
     30      05/09/2017   Jason O’Brien,      Kevin Walker,       Leslie Platt, WR   Email with legal analysis by             AC
                          WR                  Beazley                                Jason O’Brien of coverage issues
                                                                                     relating to the Claim and legal advice
                                                                                     by Mr. O’Brien

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                                                                                   Attachments: Privileged Document
                                                                                   Nos. 5 and 28
     31      05/12/2017   Kevin Walker,    Jason O’Brien, WR    Leslie Platt, WR   Emails concerning legal analysis by      AC
                          Beazley                                                  Jason O’Brien of coverage issues
                                                                                   relating to the Claim and legal advice
             05/12/2017   Jason O’Brien,   Kevin Walker,        Leslie Platt, WR   by Mr. O’Brien
                          WR               Beazley


     32      07/26/2017   Jason O’Brien,   Kevin Walker,        Leslie Platt, WR   Emails concerning legal analysis by      AC
                          WR               Beazley                                 Jason O’Brien of coverage issues
                                                                Laura Pietrucha,
                                                                                   relating to the Claim, legal advice by
                                                                Legal Secretary,
                                                                                   Mr. O’Brien, and draft email
                                                                WR
                                                                                   correspondence to Raymond James’
                                                                                   counsel
             05/12/2017   Kevin Walker,    Jason O’Brien, WR    Leslie Platt, WR
                          Beazley

             05/12/2017   Jason O’Brien,   Kevin Walker,        Leslie Platt, WR
                          WR               Beazley


     33      07/28/2017   Kevin Walker,    Jason O’Brien, WR    Leslie Platt, WR   Emails concerning legal analysis by      AC
                          Beazley                                                  Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             07/26/2017   Jason O’Brien,   Kevin Walker,        Leslie Platt, WR   Mr. O’Brien, and draft email
                          WR               Beazley                                 correspondence to Raymond James’
                                                                Laura Pietrucha,
                                                                WR                 counsel



             05/12/2017   Kevin Walker,    Jason O’Brien, WR    Leslie Platt, WR
                          Beazley




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             05/12/2017   Jason O’Brien,   Kevin Walker,        Leslie Platt, WR
                          WR               Beazley


     34      07/28/2017   Jason O’Brien,   Kevin Walker,        Leslie Platt, WR   Emails concerning legal analysis by      AC
                          WR               Beazley                                 Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             07/28/2017   Kevin Walker,    Jason O’Brien, WR    Leslie Platt, WR
                                                                                   Mr. O’Brien, and draft email
                          Beazley
                                                                                   correspondence to Raymond James’
             07/26/2017   Jason O’Brien,   Kevin Walker,        Leslie Platt, WR   counsel
                          WR               Beazley              Laura Pietrucha,
                                                                WR


             05/12/2017   Kevin Walker,    Jason O’Brien, WR    Leslie Platt, WR
                          Beazley

             05/12/2017   Jason O’Brien,   Kevin Walker,        Leslie Platt, WR
                          WR               Beazley

     35      07/31/2017   Kevin Walker,    Jason O’Brien, WR    Leslie Platt, WR   Emails concerning legal analysis by      AC
                          Beazley                                                  Jason O’Brien of coverage issues
                                           Kevin Walker,        Leslie Platt, WR   relating to the Claim, legal advice by
             07/28/2017   Jason O’Brien,
                                           Beazley                                 Mr. O’Brien, and draft email
                          WR
                                                                Leslie Platt, WR   correspondence to Raymond James’
             07/28/2017                    Jason O’Brien, WR
                          Kevin Walker,                                            counsel
                          Beazley

             07/26/2017   Jason O’Brien,   Kevin Walker,        Leslie Platt, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR


                                                                Leslie Platt, WR

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             05/12/2017   Kevin Walker,    Jason O’Brien, WR
                          Beazley
                                                                Leslie Platt, WR
             05/12/2017   Jason O’Brien,   Kevin Walker,
                          WR               Beazley

     36      02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Email with legal analysis by             AC
                          WR               Beazley                                 Jason O’Brien of coverage issues
                                                                Laura Pietrucha,
                                                                                   relating to the Claim and legal advice
                                                                WR
                                                                                   by Mr. O’Brien, and concerning draft
                                                                                   Confidentiality and Non-Waiver
                                                                                   Agreement
                                                                                   Attachment: draft Confidentiality and
                                                                                   Non-Waiver Agreement with Mr.
                                                                                   O’Brien’s suggested revisions
     37      03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Emails with legal analysis by            AC
                          WR               Beazley                                 Jason O’Brien of coverage issues
                                                                                   relating to the Claim and legal advice
             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    by Mr. O’Brien, and concerning draft
                          WR               Beazley                                 Confidentiality and Non-Waiver
                                                                Laura Pietrucha,
                                                                WR                 Agreement
                                                                                   Attachment: draft Confidentiality and
                                                                                   Non-Waiver Agreement with Mr.
                                                                                   O’Brien’s suggested revisions
     38      03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Emails concerning legal analysis by      AC
                          Beazley                                                  Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Mr. O’Brien, and draft
                          WR               Beazley                                 Confidentiality and Non-Waiver
                                                                                   Agreement
             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                                                                                   Attachment: draft Confidentiality and
                          WR               Beazley
                                                                Laura Pietrucha,   Non-Waiver Agreement with Mr.
                                                                WR                 O’Brien’s suggested revisions


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     39      03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Emails concerning legal analysis by      AC
                          WR               Beazley                                 Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Mr. O’Brien, and draft
                          Beazley                                                  Confidentiality and Non-Waiver
                                                                                   Agreement
             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                                                                                   Attachment: draft Confidentiality and
                          WR               Beazley
                                                                                   Non-Waiver Agreement with Mr.
             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    O’Brien’s suggested revisions
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR


     40      03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Emails concerning legal analysis by      AC
                          WR               Beazley                                 Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Mr. O’Brien, and draft
                          WR               Beazley                                 Confidentiality and Non-Waiver
                                                                                   Agreement
             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley                                                  Attachment: revised draft of
                                                                                   Confidentiality and Non-Waiver
             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Agreement
                          WR               Beazley

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR
     41      03/28/2018   Jason O’Brien,   Kevin Walker,                           Emails concerning legal analysis by      AC
                          WR               Beazley                                 Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by

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             03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Mr. O’Brien, and draft
                          WR               Beazley                                 Confidentiality and Non-Waiver
                                                                                   Agreement
             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                                                                                   Attachment: revised draft of
                          WR               Beazley
                                                                                   Confidentiality and Non-Waiver
             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Agreement
                          Beazley

             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR
     42      03/29/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Emails concerning legal analysis by      AC
                          Beazley                                                  Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             03/28/2018   Jason O’Brien,   Kevin Walker,                           Mr. O’Brien, and draft
                          WR               Beazley                                 Confidentiality and Non-Waiver
                                                                                   Agreement
             03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                                                                                   Attachment: revised draft of
                          WR               Beazley
                                                                                   Confidentiality and Non-Waiver
             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Agreement
                          WR               Beazley

             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley


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                                                                Laura Pietrucha,
                                                                WR
     43      04/04/2018   Jason O’Brien,   Kevin Walker,                           Email with Mr. O’Brien’s comments        AC
                          WR               Beazley                                 concerning provisions in the primary
                                                                                   policy under which Raymond James
                                                                                   seeks coverage for the Claim
     44      04/10/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Emails concerning legal analysis by      AC
                          WR               Beazley                                 Jason O’Brien of coverage issues
                                                                Laura Pietrucha,
                                                                                   relating to the Claim, legal advice by
                                                                WR
                                                                                   Mr. O’Brien, revised draft of
             03/29/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Confidentiality and Non-Waiver
                                                                                   Agreement, and draft email
                          Beazley
                                                                                   correspondence to Raymond James’
             03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    counsel
                          WR               Beazley                                 Attachments: revised draft of
                                                                                   Confidentiality and Non-Waiver
             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Agreement
                          WR               Beazley

             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR
     45      04/11/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Emails concerning legal analysis by      AC
                          Beazley                                                  Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             04/10/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Mr. O’Brien, revised draft of
                          WR               Beazley                                 Confidentiality and Non-Waiver
                                                                                   Agreement, and draft email

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                                                                                   correspondence to Raymond James’
                                                                                   counsel
             03/29/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley                                                  Attachment: revised draft of
                                                                                   Confidentiality and Non-Waiver
             03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Agreement
                          WR               Beazley

             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR
     46      04/23/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Emails concerning legal analysis by
                          WR               Beazley                                 Jason O’Brien of coverage issues
                                                                Laura Pietrucha,
                                                                                   relating to the Claim, legal advice by
                                                                WR
                                                                                   Mr. O’Brien, revised draft of
             04/11/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Confidentiality and Non-Waiver
                          Beazley                                                  Agreement, and draft email
                                                                                   correspondence to Raymond James’
             04/10/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    counsel
                          WR               Beazley
                                                                                   Attachment: revised draft of
                                                                                   Confidentiality and Non-Waiver
                                                                                   Agreement
             03/29/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley




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             03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR
     47      04/24/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Emails concerning legal analysis by      AC
                          Beazley                                                  Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             04/23/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Mr. O’Brien, revised draft of
                          WR               Beazley                                 Confidentiality and Non-Waiver
                                                                Laura Pietrucha,
                                                                WR                 Agreement, and draft email
                                                                                   correspondence to Raymond James’
             04/11/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    counsel
                          Beazley
                                                                                   Attachment: revised draft of
             04/10/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Confidentiality and Non-Waiver
                          WR               Beazley                                 Agreement

             03/29/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                          Jason O’Brien,
                          WR


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             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/07/2018   Kevin Walker,    Kevin Walker,        Marc Rinder, WR
                          Beazley          Beazley

             03/06/2018   Jason O’Brien,   Jason O’Brien, WR    Marc Rinder, WR
                          WR

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

                                           Kevin Walker,        Marc Rinder, WR
                                           Beazley
                                                                Laura Pietrucha,
                                                                WR
     48      04/24/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Email concerning revised draft of        AC
                          WR               Beazley                                 Confidentiality and Non-Waiver
                                                                                   Agreement
                                                                                   Attachment: revised draft of
                                                                                   Confidentiality and Non-Waiver
                                                                                   Agreement
     49      04/30/2018   Jason O’Brien,   Kevin Walker, WR     Marc Rinder, WR    Emails concerning legal analysis by      AC
                          WR                                                       Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             04/24/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Mr. O’Brien, revised draft of
                          Beazley                                                  Confidentiality and Non-Waiver
                                                                                   Agreement, and draft email
             04/23/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    correspondence to Raymond James’
                          WR               Beazley                                 counsel
                                                                Laura Pietrucha,
                                                                WR
             04/11/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley



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             04/10/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/29/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley


             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR
     50      05/02/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    Emails concerning legal analysis by      AC
                          Beazley                                                  Jason O’Brien of coverage issues
                                                                                   relating to the Claim, legal advice by
             04/30/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Mr. O’Brien, revised draft of
                          WR               Beazley                                 Confidentiality and Non-Waiver
                                                                                   Agreement, and draft email
             04/24/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    correspondence to Raymond James’
                          Beazley                                                  counsel

             04/23/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR


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             04/11/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             04/10/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/29/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley


             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR
     51      05/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Emails concerning Proof of Loss and      AC
                          WR               Beazley                                 accounting report submitted in
                                                                                   support of the Claim, legal analysis
             05/02/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR    by Jason O’Brien of coverage issues
                          Beazley                                                  relating to the Claim, legal advice by
                                                                                   Mr. O’Brien, revised draft of
             04/30/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR    Confidentiality and Non-Waiver
                          WR               Beazley                                 Agreement, and draft email
                                                                                   correspondence to Raymond James’
                                                                                   counsel

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             04/24/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             04/23/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR
             04/11/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             04/10/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/29/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/26/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley


             03/07/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             03/07/2018   Kevin Walker,    Jason O’Brien, WR    Marc Rinder, WR
                          Beazley

             03/06/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley

             02/27/2018   Jason O’Brien,   Kevin Walker,        Marc Rinder, WR
                          WR               Beazley
                                                                Laura Pietrucha,
                                                                WR
     52      06/29/2018   Jason O’Brien,   Angela Lee,                             Email concerning draft letter to   AC
                          WR               Specialty Lines –                       Raymond James’ counsel regarding



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                                           Group Claims,            Proof of Loss and accounting report
                                           Beazley                  submitted in support of the Claim
                                                                    Attachment: draft letter to Raymond
                                                                    James’ counsel
     53      07/02/2018   Jason O’Brien,   Angela Lee,              Emails concerning draft letter to     AC
                          WR               Beazley                  Raymond James’ counsel regarding
                                                                    Proof of Loss and accounting report
             06/29/2018   Jason O’Brien,   Angela Lee,              submitted in support of the Claim
                          WR               Beazley                  Attachment: draft letter to Raymond
                                                                    James’ counsel
     54      07/02/2018   Angela Lee,      Jason O’Brien, WR        Emails concerning draft letter to     AC
                          Beazley                                   Raymond James’ counsel regarding
                                                                    Proof of Loss and accounting report
             07/02/2018   Jason O’Brien,   Angela Lee,              submitted in support of the Claim
                          WR               Beazley
                                                                    Attachment: draft letter to Raymond
                          Jason O’Brien,   Angela Lee,              James’ counsel
             06/29/2018
                          WR               Beazley
     55      07/02/2018   Jason O’Brien,   Angela Lee,              Emails concerning draft letter to     AC
                          WR               Beazley                  Raymond James’ counsel regarding
                                                                    Proof of Loss and accounting report
             07/02/2018   Angela Lee,      Jason O’Brien, WR        submitted in support of the Claim
                          Beazley

             07/02/2018   Jason O’Brien,   Angela Lee,
                          WR               Beazley
             06/29/2018   Jason O’Brien,   Angela Lee,
                          WR               Beazley
     56      07/02/2018   Jason O’Brien,   Angela Lee,              Emails concerning draft letter to     AC
                          WR               Beazley                  Raymond James’ counsel regarding
                                                                    Proof of Loss and accounting report
                          Angela Lee,                               submitted in support of the Claim
                          Beazley
             07/02/2018                    Jason O’Brien, WR

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                          Jason O’Brien,
                          WR
             07/02/2018                    Angela Lee,
                          Jason O’Brien,   Beazley
                          WR
             06/29/2018                    Angela Lee,
                                           Beazley
     57      08/07/2018   Jason O’Brien,   Angela Lee,    Marc Rinder, WR   Email concerning upcoming              AC
                          WR               Beazley                          discussion with Raymond James’
                                                                            counsel regarding the Claim
     58      10/04/2018   Jason O’Brien,   Angela Lee,    Marc Rinder, WR   Email concerning discussion with       AC
                          WR               Beazley                          Raymond James’ counsel regarding
                                                                            the Claim and request for documents
                                                                            supporting the Claim
     59      10/15/2018   Jason O’Brien,   Angela Lee,    Marc Rinder, WR   Email concerning communications        AC
                          WR               Beazley                          with Raymond James’ counsel
                                                                            regarding the Claim and request for
                                                                            documents supporting the Claim
     60      10/24/2018   Jason O’Brien,   Angela Lee,    Marc Rinder, WR   Emails concerning communications       AC
                          WR               Beazley                          with Raymond James’ counsel
                                                                            regarding the Claim and request for
                                                                            documents supporting the Claim
     61      12/12/2018   Jason O’Brien,   Angela Lee,    Marc Rinder, WR   Emails concerning communications       AC
                          WR               Beazley                          with Raymond James’ counsel
                                                                            concerning the Claim and request for
                                           Angela Lee,    Marc Rinder, WR
             10/15/2018   Jason O’Brien,                                    documents supporting the Claim, and
                          WR               Beazley                          containing legal advice by Mr.
                                                                            O’Brien
     62      12/19/2018   Jason O’Brien,   Angela Lee,    Marc Rinder, WR   Email concerning communications        AC
                          WR               Beazley                          with Raymond James’ counsel
                                                                            regarding the Claim, request for
                                                                            documents supporting the Claim and
                                                                            draft email to Raymond James’



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                                                                                  counsel, and containing legal advice
                                                                                  by Mr. O’Brien
     63      12/21/2018   Angela Lee,      Jason O’Brien, WR    Marc Rinder, WR   Emails concerning communications       AC
                          Beazley                                                 with Raymond James’ counsel
                                                                                  regarding the Claim, request for
             12/19/2018   Jason O’Brien,   Angela Lee,          Marc Rinder, WR   documents supporting the Claim and
                          WR               Beazley                                draft email to Raymond James’
                                                                                  counsel, and containing legal advice
                                                                                  by Mr. O’Brien
     64      12/21/2018   Jason O’Brien,   Angela Lee,          Marc Rinder, WR   Emails concerning communications       AC
                          WR               Beazley                                with Raymond James’ counsel
                                                                                  regarding the Claim, request for
                          Angela Lee,      Jason O’Brien, WR    Marc Rinder, WR
             12/21/2018                                                           documents supporting the Claim and
                          Beazley                                                 draft email to Raymond James’
                                                                                  counsel, and containing legal advice
                          Jason O’Brien,   Angela Lee,          Marc Rinder, WR
             12/19/2018                                                           by Mr. O’Brien
                          WR               Beazley

     65      02/01/2019   Jason O’Brien,   Angela Lee,          Marc Rinder, WR   Email concerning draft                 AC
                          WR               Beazley                                correspondence to Raymond James’
                                                                                  counsel regarding the Claim
                                                                                  Attachment: draft correspondence to
                                                                                  Raymond James’ counsel
     66      02/04/2019   Angela Lee,      Jason O’Brien, WR    Marc Rinder, WR   Emails concerning draft                AC
                          Beazley                                                 correspondence to Raymond James’
                                                                                  counsel regarding the Claim
             02/01/2019   Jason O’Brien,   Angela Lee,          Marc Rinder, WR
                                                                                  Attachment: draft correspondence to
                          WR               Beazley
                                                                                  Raymond James’ counsel
     67      02/05/2019   Jason O’Brien,   Angela Lee,          Marc Rinder, WR   Email concerning correspondence to     AC
                          WR               Beazley                                Raymond James’ counsel regarding
                                                                                  the Claim




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     68      04/04/2019   Jason O’Brien,   Angela Lee,          Marc Rinder, WR   Email concerning communications           AC
                          WR               Beazley                                with Raymond James’ counsel
                                                                                  regarding the Claim and Raymond
                                                                                  James’ request for a tolling
                                                                                  agreement
     69      04/04/2019   Angela Lee,      Jason O’Brien, WR    Marc Rinder, WR   Emails concerning communications          AC
                          Beazley                                                 with Raymond James’ counsel
                                                                                  regarding the Claim and Raymond
             04/04/2019   Jason O’Brien,   Angela Lee,          Marc Rinder, WR   James’ request for a tolling
                          WR               Beazley                                agreement

     70      04/04/2019   Jason O’Brien,   Angela Lee,          Marc Rinder, WR   Emails concerning communications          AC
                          WR               Beazley                                with Raymond James’ counsel
                                                                                  regarding the Claim and Raymond
             04/04/2019   Angela Lee,      Jason O’Brien, WR    Marc Rinder, WR   James’ request for a tolling
                          Beazley                                                 agreement

             04/04/2019   Jason O’Brien,   Angela Lee,          Marc Rinder, WR
                          WR               Beazley

     71      04/04/2019   Jason O’Brien,   Angela Lee,                            Email concerning Raymond James’           AC
                          WR               Beazley                                request for a tolling agreement and
                                                                                  draft Tolling Agreement
                                                                                  Attachment: draft Tolling Agreement
     72      04/04/2019   Jason O’Brien,   Angela Lee,                            Email concerning communications        AC, WP, T-
                          WR               Beazley                                Raymond James’ request for a tolling      PM
                                                                                  agreement and revised draft of
                                                                                  Tolling Agreement, and containing
                                                                                  legal advice by Mr. O’Brien
                                                                                  Attachment: revised draft of Tolling
                                                                                  Agreement
     73      04/04/2019   Angela Lee,      Jason O’Brien,                         Email concerning Raymond James’
                          Beazley          Beazley                                request for a tolling agreement,


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             04/04/2019   Jason O’Brien,   Angela Lee,                            revised draft of Tolling Agreement,
                          WR               Beazley                                and legal advice by Mr. O’Brien
                                                                                  Attachment: revised draft of Tolling
                                                                                  Agreement
     74      04/05/2019   Jason O’Brien,   Angela Lee,          Marc Rinder, WR   Email concerning draft of Tolling      AC
                          WR               Beazley                                Agreement

     75      04/05/2019   Angela Lee,      Jason O’Brien, WR                      Emails concerning draft of Tolling     AC
                          Beazley                                                 Agreement

             04/05/2019   Jason O’Brien,   Angela Lee,
                          WR               Beazley

     76      04/09/2019   Jason O’Brien,   Angela Lee,                            Email concerning Tolling Agreement     AC
                          WR               Beazley                                as approved by Raymond James

     77      04/11/2019   Jason O’Brien,   Angela Lee,                            Emails concerning Tolling              AC
                          WR               Beazley                                Agreement as approved by Raymond
                                                                                  James
             04/09/2019   Jason O’Brien,   Angela Lee,
                          WR               Beazley

     78      04/11/2019   Angela Lee,      Jason O’Brien, WR                      Emails concerning Tolling              AC
                          Beazley                                                 Agreement as approved by Raymond
                                                                                  James
             04/11/2019   Jason O’Brien,   Angela Lee,
                          WR               Beazley

             04/09/2019   Jason O’Brien,   Angela Lee,
                          WR               Beazley




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     79      04/11/2019   Jason O’Brien,      Angela Lee,                             Emails concerning Tolling                AC
                          WR                  Beazley                                 Agreement as approved by Raymond
                                                                                      James
             04/11/2019   Angela Lee,         Jason O’Brien, WR
                          Beazley

             04/11/2019   Jason O’Brien,      Angela Lee,
                          WR                  Beazley

             04/09/2019   Jason O’Brien,      Angela Lee,
                          WR                  Beazley

     80      04/11/2019   Angela Lee,         Jason O’Brien, WR                       Email concerning Tolling Agreement       AC
                          Beazley                                                     as approved by Raymond James
     81      04/11/2019   Jason O’Brien,      Angela Lee,                             Emails concerning Tolling                AC
                          WR                  Beazley                                 Agreement as approved by Raymond
                                                                                      James
                          Angela Lee,
             04/11/2019   Beazley             Jason O’Brien, WR

     82      07/02/2019   Angela Lee,         Jason O’Brien, WR     Marc Rinder, WR   Email concerning Beazley’s retention     AC
                          Beazley                                                     of new coverage counsel (Gordon
                                                                                      Rees Scully Mansukhani, LLP) in
                                                                                      connection with the Claim
     83      07/02/2019   Marc Rinder, WR     Angela Lee,           Jason O’Brien,    Emails concerning Beazley’s              AC
                                              Beazley               WR                retention of Gordon Rees as new
                                                                                      coverage counsel in connection with
             07/02/2019   Angela Lee,         Jason O’Brien, WR     Marc Rinder, WR   the Claim
                          Beazley
     84      09/22/2019   Scott Schmookler,   Angela Lee,           Sarah Clark,      Email with legal analysis by Scott       AC
                          Partner, Gordon     Beazley               Partner, GR       Schmookler of coverage issues
                          Rees Scully                                                 relating to the Claim and legal advice
                                              Kenneth West,
                          Mansukhani, LLP                                             by Mr. Schmookler, and concerning
                                              Chief Technical
                          (“GR”)                                                      draft letter to Raymond James’
                                              Officer, North
                                                                                      counsel
                                              American Financial
                                              Lines Claims,

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                                              Federal Insurance                      Attachments: draft letter to Raymond
                                              Company                                James’ counsel and case law
                                              (“Federal”)
     85      09/25/2019   Scott Schmookler,   Angela Lee,                            Emails with legal analysis by Scott      AC
                          GR                  Beazley                                Schmookler of coverage issues
                                                                                     relating to the Claim and legal advice
                                              Kenneth West,
                                                                                     by Mr. Schmookler, and concerning
                                              Federal
                                                                                     draft letter to Raymond James’
             09/22/2019   Scott Schmookler,   Angela Lee,          Sarah Clark, GR   counsel
                          GR                  Beazley
                                                                                     Attachment: draft letter to Raymond
                                              Kenneth West,                          James’ counsel
                                              Federal
     86      09/26/2019   Kenneth West,       Scott Schmookler,                      Emails concerning legal analysis by      AC
                          Federal             GR                                     Scott Schmookler of coverage issues
                                                                                     relating to the Claim, legal advice by
                                              Angela Lee,
                                                                                     Mr. Schmookler, and draft letter to
                                              Beazley
                                                                                     Raymond James’ counsel


             09/25/2019   Scott Schmookler,   Angela Lee,
                          GR                  Beazley
                                              Kenneth West,
                                              Federal
             09/22/2019   Scott Schmookler,   Angela Lee,          Sarah Clark, GR
                          GR                  Beazley
                                              Kenneth West,
                                              Federal
     87      09/30/2019   Angela Lee,         Scott Schmookler,                      Emails concerning legal analysis by      AC
                          Beazley             GR                                     Scott Schmookler of coverage issues
                                                                                     relating to the Claim, legal advice by
                                              Kenneth West,
                                                                                     Mr. Schmookler, and draft letter to
                                              Federal
                                                                                     Raymond James’ counsel


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             09/26/2019   Kenneth West,       Scott Schmookler,
                          Federal             GR
                                              Angela Lee,
                                              Beazley


             09/25/2019   Scott Schmookler,   Angela Lee,
                          GR                  Beazley
                                              Kenneth West,
                                              Federal
             09/22/2019   Scott Schmookler,   Angela Lee,          Sarah Clark, GR
                          GR                  Beazley
                                              Kenneth West,
                                              Federal
     88      09/30/2019   Scott Schmookler,   Angela Lee,                            Emails concerning legal analysis by      AC
                          GR                  Beazley                                Scott Schmookler of coverage issues
                                                                                     relating to the Claim, legal advice by
                                              Kenneth West,
                                                                                     Mr. Schmookler, and draft letter to
                                              Federal
                                                                                     Raymond James’ counsel

             09/30/2019   Angela Lee,         Scott Schmookler,
                          Beazley             GR
                                              Kenneth West,
                                              Federal

             09/26/2019   Kenneth West,       Scott Schmookler,
                          Federal             GR
                                              Angela Lee,
                                              Beazley




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             09/25/2019   Scott Schmookler,   Angela Lee,
                          GR                  Beazley
                                              Kenneth West,
                                              Federal
                                                                   Sarah Clark, GR
             09/22/2019   Scott Schmookler,   Angela Lee,
                          GR                  Beazley
                                              Kenneth West,
                                              Federal
     89      12/23/2019   Scott Schmookler,   Angela Lee,          Kelly Collins,    Email concerning Raymond James’         AC
                          GR                  Beazley              Paralegal, GR     request for extension of Tolling       Work
                                                                                     Agreement and containing legal        Product
                                              Kenneth West,
                                                                                     advice by Mr. Schmookler              Doctrine
                                              Federal
                                                                                                                           (“WP”)
     90      12/26/2019   Scott Schmookler,   Angela Lee,          Sarah Clark, GR   Email concerning Raymond James’         AC
                          GR                  Beazley                                request for extension of Tolling        WP
                                                                                     Agreement and containing legal
                                              Kenneth West,
                                                                                     advice by Mr. Schmookler
                                              Federal
     91      01/17/2020   Scott Schmookler,   Antonio Trotta,                        Email concerning coverage analysis      AC
                          GR                  Group Claims –                         by GR                                   WP
                                              Cyber & Executive
                                                                                     Attachment: coverage analysis by GR
                                              Risk, Beazley
     92      03/10/2020   Scott Schmookler,   Antonio Trotta,                        Email concerning coverage analysis      AC
                          GR                  Beazley                                by GR                                   WP
                                              Kenneth West,
                                              Federal
     93      03/13/2020   Scott Schmookler,   Antonio Trotta,      Sarah Clark, GR   Email with coverage analysis by GR      AC
                          GR                  Beazley                                and containing legal advice by GR       WP
                                              Kenneth West,                          Attachment: legal opinion by GR
                                              Federal




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     94      03/13/2020   Scott Schmookler,   Antonio Trotta,                        Email concerning coverage analysis       AC
                          GR                  Beazley                                and legal opinion by GR                  WP
                                              Kenneth West,
                                              Federal
     95      03/18/2020   Scott Schmookler,   Antonio Trotta,      Sarah Clark, GR   Email with coverage analysis by GR       AC
                          GR                  Beazley                                and containing legal advice by GR,       WP
                                                                                     and regarding draft coverage letter to
                                              Kenneth West,
                                                                                     Raymond James
                                              Federal
                                                                                     Attachments: coverage analysis and
             03/13/2020   Scott Schmookler,   Antonio Trotta,      Sarah Clark, GR   legal opinion by GR; draft coverage
                          GR                  Beazley                                letter to Raymond James; and
                                              Kenneth West,
                                              Federal
     96      03/30/2020   Scott Schmookler,   Antonio Trotta,                        Emails concerning Raymond James’         AC
                          GR                  Beazley                                request for extension of Tolling         WP
                                                                                     Agreement and legal advice by Mr.
                                                                                     Schmookler
             03/30/2020   Antonio Trotta,     Scott Schmookler,
                          Beazley             GR

             03/30/2020   Scott Schmookler,   Antonio Trotta,
                          GR                  Beazley


             03/29/2020   Scott Schmookler,   Antonio Trotta,
                          GR                  Beazley
                                              Kenneth West,
                                              Federal

             03/27/2020   Antonio Trotta,     Scott Schmookler,
                          Beazley             GR




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                                              Kenneth West,
                                              Federal

             03/27/2020   Scott Schmookler,   Antonio Trotta,       Sarah Clark, GR
                          GR                  Beazley
                                              Kenneth West,
                                              Federal
     97      04/06/2020   Scott Schmookler,   Antonio Trotta,       Sarah Clark, GR   Email regarding revised draft of        AC
                          GR                  Beazley                                 coverage letter to Raymond James        WP
                                              Kenneth West,                           Attachment: revised draft of coverage
                                              Federal                                 letter to Raymond James
     98      04/10/2020   Scott Schmookler,   Antonio Trotta,                         Emails regarding primary bond           AC
                          GR                  Beazley                                                                         WP

             04/10/2020   Antonio Trotta,     Scott Schmookler,
                          Beazley             GR


     99      04/10/2020   Antonio Trotta,     William Jennings,                       Email concerning coverage analysis,     AC
                          Beazley             Beazley                                 legal opinion, and legal advice by GR   WP
                                                                                      and draft coverage letter to Raymond
                                              William Clarke,
                                                                                      James
                                              Claims Team
                                              Leader – Executive                      Attachments: draft coverage letter to
                                              Risk, Beazley                           Raymond James; coverage analysis
                                                                                      and legal opinion by GR;
                                              Steven Chang,
                                                                                      memorandum discussing coverage
                                              Global Head of
                                                                                      analysis and legal opinion by GR and
                                              Complex Claims,
                                                                                      potential litigation involving the
                                              Beazley
                                                                                      Claim
                                              Eric Ross, Head of
                                              Portfolio Claims,
                                              Beazley




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    100       04/16/2020   Scott Schmookler,   Ryan Weeks,           Antonio Trotta,   Email regarding draft coverage letter   AC
                           GR                  Partner, Mills        Beazley           to Raymond James                        WP
                                               Paskert Divers -
                                                                     Kenneth West,     Attachment: draft coverage letter to
                                               counsel for
                                                                     Federal           Raymond James
                                               Travelers Casualty
                                               and Surety            Sarah Clark, GR
                                               Company of
                                               America
                                               Stephen Dratch,
                                               Shareholder,
                                               Franzblau Dratch,
                                               P.C. - counsel for
                                               Great American
                                               Insurance
                                               Company
    101       04/20/2020   Scott Schmookler,   Kenneth West,         Antonio Trotta,   Email regarding revised draft of        AC
                           GR                  Federal               Beazley           coverage letter to Raymond James        WP
                                                                     Sarah Clark, GR   Attachment: revised draft of coverage
                                                                                       letter to Raymond James


The omission of a document from this Privilege Log is not intended as a waiver of any applicable privilege or exemption. Beazley has
not included on this privilege log documents relating to this matter that were created after Beazley’s co-surety, Federal Insurance
Company, issued its written denial of Raymond James’ claim on April 20, 2020. Beazley reserves the right to supplement or amend this
Privilege Log to list additional documents or to further describe the documents being withheld.




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                             Great American Insurance Company’s Privilege Log
                                         Case No.: 8-20-cv-21707

Control        Date        Document       Author          Recipient(s)     Privilege Basis   Narrative
Number/Bates               Type
Number
327            3/19/2018   Email          Tracey          Matthew Kalin;   CI                Email chain
                                          Archbold        Kenneth West;                      discussing legal
                                                          Jason O’Brien                      advice relating
                                                                                             to
                                                                                             confidentiality
                                                                                             agreement.
432            3/25/2018   Email          Matthew Kalin   Tracey          CI                 Email chain
                                                          Archbold; Scott                    containing legal
                                                          Schmookler;                        advice relating
                                                          Jason O’Brien;                     to
                                                          Kenneth West;                      confidentiality
                                                          Sarah Reidl                        agreement.
303            3/26/2018   Email          Tracey          Kenneth West;   AC                 Discussion of
                                          Archbold        Scott                              potential joint
                                                          Schmookler                         representation.
328            3/28/2018   Email          Tracey          Matthew Kalin   CI                 Email chain
                                          Archbold                                           regarding
                                                                                             confidentiality
                                                                                             agreement.
321            3/27/2018   Email          Matthew Kalin   Tracey           CI                Email chain
                                                          Archbold                           regarding
                                                                                             confidentiality
                                                                                             agreement.
130            3/29/2018   Email          Scott           Kenneth West;    CI                Email chain
                                          Schmookler      Jason O’Brien;                     regarding
                                                          Matthew Kalin;                     confidentiality
                                                          Sarah Riedl                        agreement.


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246       4/5/2018    Email          Tom Maloney     Tracey            AC            Request for legal
                                                     Archbold;                       advice regarding
                                                     Timothy                         proof of loss.
                                                     Markey;
                                                     Stephen Dratch
243       4/6/2018    Email          Tracey          Stephen Dratch    AC            Providing
                                     Archbold                                        information for
                                                                                     purposes of
                                                                                     obtaining legal
                                                                                     advice regarding
                                                                                     proof of loss.
201       4/9/2018    Email          Tracey          Stephen Dratch    AC            Providing
                                     Archbold                                        information for
                                                                                     purposes of
                                                                                     obtaining legal
                                                                                     advice regarding
                                                                                     proof of loss.
293       4/9/2018    Email          Matthew Kalin   Scott             CI            Email chain
                                                     Schmookler;                     regarding
                                                     Jason O’Brien;                  confidentiality
                                                     Stephen Dratch;                 agreement.
                                                     Tracey
                                                     Archbold;
                                                     Kenneth West;
                                                     Sarah Riedl
228       4/9/2018    Email          Scott           Jason O’Brien;    CI            Email chain
                                     Schmookler      Stephen Dratch;                 regarding
                                                     Tracey                          confidentiality
                                                     Archbold;                       agreement.
                                                     Matthew Kalin;
                                                     Kenneth West




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260       4/9/2018    Email          Tracey           Stephen Dratch    AC           Providing
                                     Archbold                                        information for
                                                                                     purposes of
                                                                                     obtaining legal
                                                                                     advice regarding
                                                                                     proof of loss and
                                                                                     policy.
192       4/9/2018    Email          Tracey           Stephen Dratch    AC           Providing
                                     Archbold                                        information for
                                                                                     purposes of
                                                                                     obtaining legal
                                                                                     advice regarding
                                                                                     proof of loss.
269       4/10/2018   Email          Stephen Dratch   Tracey            AC           Legal advice
                                                      Archbold                       regarding proof
                                                                                     of loss.
62        4/10/2018   Email          Stephen Dratch   Scott             CI           Email chain
                                                      Schmookler;                    regarding
                                                      Jason O’Brien;                 confidentiality
                                                      Matthew Kalin;                 agreement.
                                                      Kenneth West
75        4/10/2018   Email          Jason O’Brien    Scott             CI           Email chain
                                                      Schmookler;                    regarding
                                                      Stephen Dratch;                confidentiality
                                                      Tracey                         agreement.
                                                      Archbold;
                                                      Matthew Kalin;
                                                      Sarah Riedl




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207       4/18/2018   Email          Scott           Matthew Kalin;    CI            Email regarding
                                     Schmookler      Jason O’Brien;                  confidentiality
                                                     Stephen Dratch;                 agreement.
                                                     Tracey
                                                     Archbold;
                                                     Kenneth West;
                                                     Sarah Riedl
440       4/23/2018   Email          Matthew Kalin   Scott             CI            Email chain
                                                     Schmookler;                     regarding
                                                     Jason O’Brien;                  confidentiality
                                                     Stephen Dratch;                 agreement.
                                                     Tracey
                                                     Archbold;
                                                     Kenneth West
482       4/24/2018   Email          Jason O’Brien   Scott             CI            Email chain
                                                     Schmookler;                     regarding
                                                     Matthew Kalin;                  confidentiality
                                                     Stephen Dratch;                 agreement.
                                                     Tracey
                                                     Archbold;
                                                     Kenneth West;
                                                     Sarah Riedl
2         5/4/2018    Email          Tom Maloney     Tracey            AC            Discussion of
                                                     Archbold                        legal advice
                                                                                     received from
                                                                                     outside counsel
                                                                                     relating to proof
                                                                                     of loss.




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151       5/22/2018   Memorandum     Tracey           N/A             AC             Discussion of
                                     Archbold                                        legal advice
                                                                                     from outside
                                                                                     counsel
                                                                                     regarding
                                                                                     assessment of
                                                                                     proof of loss and
                                                                                     insured’s claim.
138       8/22/2018   Email          Stephen Dratch   Tracey          AC             Email
                                                      Archbold                       containing legal
                                                                                     advice and
                                                                                     attaching
                                                                                     memorandum
                                                                                     containing legal
                                                                                     advice regarding
                                                                                     insured’s claim
                                                                                     and
                                                                                     investigation.
453       8/23/2018   Memorandum     Stephen Dratch   File; Tracey    AC             Memorandum
                                                      Archbold                       containing legal
                                                                                     advice regarding
                                                                                     insured’s claim
                                                                                     and
                                                                                     investigation.
437       9/7/2018    Email          Stephen Dratch   Tracey          AC             Email attaching
                                                      Archbold; Tom                  letter containing
                                                      Maloney                        legal advice
                                                                                     relating to
                                                                                     developments
                                                                                     relating to Joel
                                                                                     Burstein.




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58        8/7/2018     Letter        Stephen Dratch   Tracey           AC            Letter
                                                      Archbold; Tom                  containing legal
                                                      Maloney                        advice relating
                                                                                     to developments
                                                                                     with Joel
                                                                                     Burstein.
46        12/19/2018   Email         Matthew Kalin    Scott           CI             Discussion of
                                                      Schmookler;                    proposed search
                                                      Stephen Dratch;                terms among
                                                      Tracey                         market counsel.
                                                      Archbold; Sarah
                                                      Riedl; Kenneth
                                                      West
146       12/19/2018   Email         Tracey           Scott           CI             Discussion of
                                     Archbold         Schmookler;                    proposed search
                                                      Stephen Dratch;                terms among
                                                      Matthew Kalin;                 market counsel.
                                                      Sarah Riedl;
                                                      Kenneth West
162       1/9/2019     Email         Tracey           Stephen Dratch AC              Information for
                                     Archbold                                        purposes of
                                                                                     obtaining legal
                                                                                     advice relating
                                                                                     to investigation
                                                                                     of claim.
186       1/9/2019     Email         Tracey           Stephen Dratch   AC            Information for
                                     Archbold                                        purposes of
                                                                                     obtaining legal
                                                                                     advice relating
                                                                                     to investigation
                                                                                     of claim.




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44        1/29/2019   Email          Tracey           Stephen Dratch    AC           Request for legal
                                     Archbold                                        advice relating
                                                                                     to requests for
                                                                                     information
                                                                                     from insured.
93        4/29/2019   Email          Stephen Dratch   Tracey            AC           Forwarding
                                                      Archbold                       communication
                                                                                     from insured for
                                                                                     purposes of
                                                                                     providing legal
                                                                                     advice.
346       5/28/2019   Email          Stephen Dratch   Tracey            AC           Email
                                                      Archbold                       forwarding
                                                                                     article regarding
                                                                                     Quiros
                                                                                     indictment for
                                                                                     purposes of
                                                                                     providing legal
                                                                                     advice.
229       5/28/2019   Email          Stephen Dratch   Tracey            AC           Email
                                                      Archbold                       forwarding
                                                                                     Quiros
                                                                                     indictment for
                                                                                     purposes of
                                                                                     providing legal
                                                                                     advice.
219       5/29/2019   Email          Stephen Dratch   Kenneth Colins;   CI           Email conveying
                                                      Tracey                         Quiros
                                                      Archbold;                      indictment.
                                                      Matthew Kalin;
                                                      Jason O’Brien;
                                                      Scott
                                                      Schmookler


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392       7/28/2019   Email          Stephen Dratch   Tracey           AC            Forwarding
                                                      Archbold                       information
                                                                                     received from
                                                                                     insured for
                                                                                     purposes of
                                                                                     providing legal
                                                                                     advice.
85        9/24/2019   Email          Stephen Dratch   Tracey           AC            Forwarding
                                                      Archbold                       communication
                                                                                     from insured for
                                                                                     purposes of
                                                                                     providing legal
                                                                                     advice.
406       9/24/2019   Email          Tracey           Stephen Dratch   AC            Providing
                                     Archbold                                        information to
                                                                                     counsel for
                                                                                     purposes of
                                                                                     obtaining legal
                                                                                     advice relating
                                                                                     to investigation
                                                                                     of insured’s
                                                                                     claim.
502       12/2/2019   Email          Stephen Dratch   Tracey           AC            Email attaching
                                                      Archbold                       letter containing
                                                                                     legal advice
                                                                                     relating to
                                                                                     Quiros criminal
                                                                                     case.
223       12/2/2019   Letter         Stephen Dratch   Tracey           AC            Legal advice
                                                      Archbold                       relating to
                                                                                     Quiros criminal
                                                                                     case.



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276       12/19/2019   Email         Stephen Dratch   Tracey            AC           Legal advice
                                                      Archbold                       relating to
                                                                                     investigation of
                                                                                     insured’s claim.
212       12/24/2019   Email         Tracey           Stephen Dratch;   AC           Request for legal
                                     Archbold         Daniel                         advice relating
                                                      Lebersfeld                     to insured’s
                                                                                     request for
                                                                                     extension of
                                                                                     tolling
                                                                                     agreement.
305       12/24/2019   Email         Stephen Dratch   Tracey            AC           Legal advice
                                                      Archbold;                      relating to
                                                      Daniel                         insured’s request
                                                      Lebersfeld                     for extension of
                                                                                     tolling
                                                                                     agreement.
233       12/24/2019   Email         Stephen Dratch   Scott             CI           Discussion of
                                                      Schmookler;                    consent to
                                                      Tracey                         requested
                                                      Archbold                       extension of
                                                                                     tolling
                                                                                     agreement.
433       12/24/2019   Email         Daniel           Tracey            AC           Legal advice
                                     Lebersfeld       Archbold;                      relating to
                                                      Stephen Dratch                 insured’s request
                                                                                     for extension of
                                                                                     tolling
                                                                                     agreement.




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382       12/26/2019   Email         Tracey           Daniel           AC            Request for legal
                                     Archbold         Lebersfeld;                    advice relating
                                                      Stephen Dratch                 to insured’s
                                                                                     request for
                                                                                     extension of
                                                                                     tolling
                                                                                     agreement.
120       12/26/2019   Email         Tracey           Daniel           AC            Request for legal
                                     Archbold         Lebersfeld;                    advice relating
                                                      Stephen Dratch                 to insured’s
                                                                                     request for
                                                                                     extension of
                                                                                     tolling
                                                                                     agreement.
176       2/17/2020    Email         Stephen Dratch   Tracey           AC            Forwarding
                                                      Archbold;                      information for
                                                      Daniel                         purposes of
                                                      Lebersfeld                     obtaining legal
                                                                                     advice relating
                                                                                     to insured
                                                                                     privilege log.
290       2/20/2020    Email         Stephen Dratch   Daniel           AC            Legal advice
                                                      Lebersfeld;                    relating to
                                                      Tracey                         insured privilege
                                                      Archbold                       log.
126       3/2/2020     Email         Stephen Dratch   Tracey           AC            Legal advice
                                                      Archbold;                      relating to
                                                      Daniel                         insured demand
                                                      Lebersfeld                     for coverage
                                                                                     determination.




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210       3/2/2020     Email         Stephen Dratch   Tracey           AC/CI         Forwarding
                                                      Archbold;                      communication
                                                      Daniel                         from market
                                                      Lebersfeld                     counsel relating
                                                                                     to tolling
                                                                                     agreement for
                                                                                     purpose of
                                                                                     providing legal
                                                                                     advice.
121       3/6/2020     Email         Stephen Dratch   Tracey           AC/CI         Forwarding
                                                      Archbold;                      communication
                                                      Daniel                         from market
                                                      Lebersfeld                     counsel relating
                                                                                     to tolling
                                                                                     agreement for
                                                                                     purpose of
                                                                                     providing legal
                                                                                     advice.
450       3/10/2020    Email         Tracey           Stephen Dratch   AC            Providing
                                     Archbold                                        information for
                                                                                     purposes of legal
                                                                                     advice relating
                                                                                     to investigation
                                                                                     of insured’s
                                                                                     claim.
388       3/10/2020    Email         Stephen Dratch   Tracey           AC/CI         Forwarding
                                                      Archbold;                      communication
                                                      Daniel                         from counsel for
                                                      Lebersfeld                     market
                                                                                     regarding
                                                                                     coverage
                                                                                     determination.




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239       3/11/2020    Email         Stephen Dratch   Tracey           AC/WP         Email attaching
                                                      Arcbhold                       memorandum
                                                                                     (control number
                                                                                     247).
247       3/10/2020    Memorandum    Stephen Dratch   Tracey           AC/WP         Outside counsel
                                                      Archbold; File                 mental
                                                                                     impressions
                                                                                     communicated
                                                                                     to client
                                                                                     regarding March
                                                                                     10 conference
                                                                                     call with
                                                                                     insured.
469       3/16/2020    Email         Stephen Dratch   Tracey           AC            Legal advice
                                                      Archbold                       relating to
                                                                                     potential
                                                                                     coverage
                                                                                     determination.
372       3/23/2020    Email         Stephen Dratch   Tracey           AC/CI         Forwarding
                                                      Archbold;                      communication
                                                      Daniel                         from counsel for
                                                      Lebersfeld                     market
                                                                                     regarding
                                                                                     potential
                                                                                     coverage
                                                                                     determination
                                                                                     for purposes of
                                                                                     providing legal
                                                                                     advice.




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29        3/24/2020    Email         Tracey           Stephen Dratch,   AC/CI        Communication
                                     Archbold         Scott                          with counsel for
                                                      Schmookler;                    market relating
                                                      Ryan Weeks;                    to potential
                                                      Daniel                         extension of
                                                      Lebersfeld                     tolling
                                                                                     agreement.
499       3/26/2020    Email         Tracey           Stephen Dratch;   AC           Communication
                                     Archbold         Daniel                         with counsel
                                                      Lebersfeld                     regarding
                                                                                     extension of
                                                                                     tolling
                                                                                     agreement for
                                                                                     purposes of
                                                                                     obtaining legal
                                                                                     advice.
422       3/27/2020    Email         Stephen Dratch   Ryan Weeks;       AC/CI        Communication
                                                      Scott                          with counsel for
                                                      Schmookler;                    market
                                                      Antonio Trotta                 regarding
                                                                                     extension of
                                                                                     tolling
                                                                                     agreement.
145       3/28/2020    Email         Stephen Dratch   Tracey            AC/CI        Forwarding
                                                      Archbold;                      communication
                                                      Daniel                         from market
                                                      Lebersfeld                     relating to
                                                                                     tolling
                                                                                     agreement.




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15        4/6/2020     Email         Tracey           Stephen Dratch;   AC/CI        Communication
                                     Archbold         Sarah Riedl;                   with counsel for
                                                      Ryan Weeks;                    market
                                                      Scott                          regarding claim
                                                      Schmookler                     analysis.
119       4/16/2020    Email         Stephen Dratch   Daniel            AC/CI        Forwarding
                                                      Lebersfeld;                    email with
                                                      Tracey                         market
                                                      Archbold                       regarding claim
                                                                                     analysis with
                                                                                     counsel’s draft.
241       4/24/2020    Email         Daniel           Tracey            AC           Legal advice
                                     Lebersfeld       Archbold;                      relating to
                                                      Stephen Dratch                 excess insurance
                                                                                     issues.
194       4/24/2020    Email         Timothy          Tracey            AC           Discussion of
                                     Markey           Archbold; Joe                  legal advice
                                                      Szary                          relating to legal
                                                                                     advice received
                                                                                     from ouside
                                                                                     counsel
                                                                                     regarding claim
                                                                                     analysis.
216       4/27/2020    Email         Timothy          Tracey            AC           Discussion of
                                     Markey           Archbold                       legal advice
                                                                                     received from
                                                                                     outside counsel
                                                                                     regarding claim
                                                                                     analysis.




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443       4/28/2020    Email         Stephen Dratch   Tracey         AC/WP           Counsel
                                                      Archbold;                      communicating
                                                      Daniel                         mental
                                                      Lebersfeld                     impression
                                                                                     regarding
                                                                                     lawsuit.
364       4/29/2020    Email         Tracey           Dennis Burns   AC/WP           Discussion of
                                     Archbold                                        legal advice and
                                                                                     mental
                                                                                     impressions
                                                                                     received from
                                                                                     outside counsel
                                                                                     regarding
                                                                                     lawsuit.
56        4/29/2020    Email         Dennis Burns     Olga Torres;   AC/WP           Discussion of
                                                      Tracey                         legal advice and
                                                      Archbold                       mental
                                                                                     impressions
                                                                                     received from
                                                                                     outside counsel
                                                                                     regarding
                                                                                     lawsuit.
448       4/30/2020    Email         Olga Torres      Tracey         AC/WP           Discussion of
                                                      Archbold                       legal advice and
                                                                                     mental
                                                                                     impressions
                                                                                     received from
                                                                                     outside counsel
                                                                                     regarding
                                                                                     lawsuit.




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160            4/30/2020   Email        Tracey        Stephen Dratch;   AC                    Providing
                                        Archbold      Daniel                                  information
                                                      Lebersfeld                              regarding
                                                                                              account history
                                                                                              for purposes of
                                                                                              obtaining legal
                                                                                              advice relating
                                                                                              to lawsuit.
273            5/6/2020    Email        Tracey        Stephen Dratch;   AC                    Providing
                                        Archbold      Daniel                                  information for
                                                      Lebersfeld                              legal advice
                                                                                              relating to prior
                                                                                              policies.
225            5/15/2020   Email        Pam Kobin     Timothy           AC                    Discussion of
                                                      Markey                                  legal advice
                                                                                              relating to claim
                                                                                              and lawsuit.
GAIC0001661    5/26/2017   Internal     Tracey        N/A               Relevance/Proprietary Information
                           Memorandum   Archbold                        Information/AC        regarding
                                                                                              reserve levels.
GAIC0001932    3/22/2018   Email        Timothy       Tracey            AC                    Discussion of
                                        Markey        Archbold                                request for legal
                                                                                              advice regarding
                                                                                              representation
                                                                                              by outside
                                                                                              counsel.
GAIC0001937-   3/22/2018   Email        Timothy       Tracey            AC                    Discussion of
38                                      Markey        Archbold                                request for legal
                                                                                              advice regarding
                                                                                              representation
                                                                                              by outside
                                                                                              counsel.



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GAIC0001949   3/28/2018   Email         Tracey        Timothy        AC                 Discussion of
                                        Archbold      Markey                            legal advice
                                                                                        received from
                                                                                        outside counsel
                                                                                        regarding
                                                                                        confidentiality
                                                                                        agreement.
GAIC0003302   4/29/2020   Email         Timothy       Tracey         AC                 Discussion of
                                        Markey        Archbold                          request for legal
                                                                                        advice from
                                                                                        outside counsel
                                                                                        regarding
                                                                                        complaint.
GAIC0004356   5/5/2020    Memorandum    T. Archbold   N/A            AC                 Discussion of
                                                                                        legal advice in
                                                                                        connection with
                                                                                        litigation.
GAIC0004356   4/30/2020   Memorandum    T. Archbold   N/A            AC                 Discussion of
                                                                                        legal advice
                                                                                        received from
                                                                                        outside counsel
                                                                                        regarding
                                                                                        complaint.
GAIC0004356   4/24/2020   Memorandum    T. Archbold   N/A            AC                 Discussion of
                                                                                        legal advice
                                                                                        received from
                                                                                        outside counsel
                                                                                        regarding
                                                                                        declination
                                                                                        letter.




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GAIC0004356   4/23/2020    Memorandum   T. Archbold   N/A            AC                    Discussion of
                                                                                           legal advice
                                                                                           received from
                                                                                           outside counsel
                                                                                           regarding
                                                                                           declination
                                                                                           letter.
GAIC0004356   3/20/2020    Memorandum   T. Archbold   N/A            AC/CI                 Discussion of
                                                                                           communications
                                                                                           from market
                                                                                           outside counsel
                                                                                           coverage
                                                                                           analysis.
GAIC0004356   3/11/2020    Memorandum   T. Archbold   N/A            AC                    Discussion of
                                                                                           legal advice
                                                                                           from outside
                                                                                           counsel
                                                                                           regarding
                                                                                           coverage
                                                                                           analysis and
                                                                                           documents
                                                                                           requested from
                                                                                           insured.
GAIC0004356   11/20/2019   Memorandum   T. Archbold   N/A            Relevance/Proprietary Discussion of
                                                                     Information/AC        reserve levels.
GAIC0004356   5/23/2019    Memorandum   T. Archbold   N/A            Relevance/Proprietary Discussion of
                                                                     Information/AC        reserve levels.
GAIC0004356   1/29/2019    Memorandum   T. Archbold   N/A            AC                    Discussion of
                                                                                           legal advice
                                                                                           from outside
                                                                                           counsel relating
                                                                                           to investigation
                                                                                           of claim.


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GAIC0004356   11/20/2018   Memorandum   T. Archbold      N/A              Relevance/Proprietary   Discussion of
                                                                          Information/AC          reserve levels.
GAIC0004357   6/14/2018    Memorandum   T. Archbold      N/A              Relevance/Proprietary   Discussion of
                                                                          Information/AC          reserve levels.
GAIC0004357   3/22/2018    Memorandum   T. Archbold      N/A              AC                      Discussion of
                                                                                                  legal advice
                                                                                                  regarding
                                                                                                  representation
                                                                                                  by separate
                                                                                                  counsel.
GAIC0004357   3/16/2018    Memorandum   T. Archbold      N/A              AC/CI                   Discussion of
                                                                                                  legal advice
                                                                                                  received from
                                                                                                  tower outside
                                                                                                  counsel
                                                                                                  regarding
                                                                                                  confidentiality
                                                                                                  agreement.
GAIC0004544   4/22/2020    Email        Stephen Dratch   T. Archbold;     AC/CI                   Forwarding
                                                         Daniel                                   communication
                                                         Lebersfeld                               from counsel for
                                                                                                  tower regarding
                                                                                                  complaint.
GAIC0004550   4/25/2020    Email        Stephen Dratch   Daniel           AC                      Legal advice
                                                         Lebersfeld; T.                           regarding
                                                         Archbold                                 litigation.
GAIC0004553   4/25/2020    Email        Stephen Dratch   Daniel           AC                      Legal advice
                                                         Lebersfeld; T.                           regarding
                                                         Archbold                                 litigation.
GAIC0004556   4/25/2020    Email        Stephen Dratch   Daniel           AC                      Legal advice
                                                         Lebersfeld; T.                           regarding
                                                         Archbold                                 litigation.



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